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                                                                                       APPEAL,TYPE-L
                                  U.S. District Court
                      District of Columbia {Washington, DC)
                CIVIL DOCKET FOR CASE#: 1:17-cv-01154-EGS

BLUMENTHAL et al v. TRUMP                                       Date Filed: 06/14/2017
Assigned to: Judge Emmet G. Sullivan                            Jury Demand: None
Cause: 28: 1331 Federal Question: Other Civil Rights            Nature of Suit: 440 Civil Rights: Other
                                                                Jurisdiction: U.S. Government Defendant
Plaintiff
RICHARD BLUMENTHAL                               represented by Brian Rene Frazelle
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Plaintiff
JOHN CONYERS, JR.                                represented by Brian Rene Frazelle
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                                                                LEAD ATTORNEY
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Plaintiff
RICHARD J. DURBIN                    represented by Brian Rene Frazelle
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                                                 Brianne Jenna Gorod
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                                                 Elizabeth Bonnie Wydra
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Plaintiff
PATTY MURRAY                         represented by Brian Rene Frazelle
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Plaintiff
ELIZABETH WARREN                     represented by Brian Rene Frazelle
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                                                 Brianne Jenna Gorod
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      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 3 of 150


                                                 ATTORNEY TO BE NOTICED

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Plaintiff
AMY KLOBUCHAR                        represented by Brian Rene Frazelle
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Plaintiff
BERNARD SANDERS                      represented by Brian Rene Frazelle
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Plaintiff
PATRICK LEAHY                        represented by Brian Rene Frazelle
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                                                 Elizabeth Bonnie Wydra
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Plaintiff
SHELDON WHITEHOUSE                   represented by Brian Rene Frazelle
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Plaintiff
AL FRANKEN                           represented by Brian Rene Frazelle
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Plaintiff
CHRISTOPHER A. COONS                 represented by Brian Rene Frazelle
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Plaintiff
MAZIE K. HIRONO                      represented by Brian Rene Frazelle
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Plaintiff
MICHAEL F. BENNET                    represented by Brian Rene Frazelle
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Plaintiff
CORY A. BOOKER                       represented by Brian Rene Frazelle
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Plaintiff
MARIA CANTWELL                       represented by
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Plaintiff
BENJAMIN L. CARDIN                   represented by Brian Rene Frazelle
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Plaintiff
TOM CARPER                           represented by Brian Rene Frazelle
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Plaintiff
CATHERINE CORTEZ MASTO               represented by Brian Rene Frazelle
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Plaintiff
TAMMY DUCKWORTH                      represented by Brian Rene Frazelle
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Plaintiff
KIRSTEN E. GILLIBRAND                represented by Brian Rene Frazelle
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Plaintiff
KAMALA D. HARRIS                     represented by Brian Rene Frazelle
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                                                  Brianne Jenna Gorod
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      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 8 of 150


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Plaintiff
MARTIN HEINRICH                      represented by Brian Rene Frazelle
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Plaintiff
TIM KAINE                            represented by Brian Rene Frazelle
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Plaintiff
EDWARD J. MARKEY                     represented by Brian Rene Frazelle
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                                                 Brianne Jenna Gorod
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      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 9 of 150



                                                 Elizabeth Bonnie Wydra
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Plaintiff
JEFF MERKLEY                         represented by Brian Rene Frazelle
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Plaintiff
CHRIS MURPHY                         represented by Brian Rene Frazelle
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Plaintiff
JACK REED                            represented by Brian Rene Frazelle
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      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 10 of 150


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Plaintiff
BRIAN SCHATZ                         represented by Brian Rene Frazelle
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Plaintiff
TOM UDALL                            represented by Brian Rene Frazelle
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Plaintiff
CHRIS VAN HOLLEN                     represented by Brian Rene Frazelle
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      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 11 of 150



Plaintiff
RONWYDEN                             represented by Brian Rene Frazelle
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Plaintiff
NANCY PELOSI                         represented by Brian Rene Frazelle
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                                                      Brianne Jenna Gorod
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Plaintiff
STENY H. HOYER                       represented by Brian Rene Frazelle
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Plaintiff
JAMES E. CLYBURN                     represented by
                                                                                11
      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 12 of 150


                                                    Brian Rene Frazelle
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                                                    Elizabeth Bonnie Wydra
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Plaintiff
JOSEPH CROWLEY                       represented by Brian Rene Frazelle
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                                                    Brianne Jenna Gorod
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                                                    Elizabeth Bonnie Wydra
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Plaintiff
LINDA T. SANCHEZ                     represented by Brian Rene Frazelle
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                                                    Brianne Jenna Gorod
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                                                    Elizabeth Bonnie Wydra
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Plaintiff
JERROLD NADLER                       represented by Brian Rene Frazelle
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                                                                              12
      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 13 of 150


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Plaintiff
ZOE LOFGREN                          represented by Brian Rene Frazelle
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Plaintiff
SHEILA JACKSON LEE                   represented by Brian Rene Frazelle
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Plaintiff
STEVE COHEN                          represented by Brian Rene Frazelle
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                                                 Brianne Jenna Gorod
                                                                              13
      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 14 of 150


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Plaintiff
HENRY C. HANK JOHNSON, JR.           represented by Brian Rene Frazelle
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Plaintiff
TED DEUTCH                           represented by Brian Rene Frazelle
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                                                 Elizabeth Bonnie Wydra
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Plaintiff
LUIS V. GUTIERREZ                    represented by Brian Rene Frazelle
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                                                                              14
      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 15 of 150



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Plaintiff
KAREN BASS                           represented by Brian Rene Frazelle
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                                                 Elizabeth Bonnie Wydra
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Plaintiff
CEDRIC L. RICHMOND                   represented by Brian Rene Frazelle
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                                                 Elizabeth Bonnie Wydra
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Plaintiff
HAKEEM JEFFRIES                      represented by Brian Rene Frazelle
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                                                 Elizabeth Bonnie Wydra
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                                                                              15
      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 16 of 150


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Plaintiff
DAVID N.CICILLINE                    represented by Brian Rene Frazelle
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                                                 Elizabeth Bonnie Wydra
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Plaintiff
ERIC SW ALWELL                       represented by Brian Rene Frazelle
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Plaintiff
TEDW.LIEU                            represented by Brian Rene Frazelle
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      Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 17 of 150



Plaintiff
JAMIE RASKIN                                   represented by Brian Rene Frazelle
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                                                           Brianne Jenna Gorod
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                                                           Elizabeth Bonnie Wydra
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Plaintiff
ALL PLAINTIFFS                                 represented by Brianne Jenna Gorod
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V.
Defendant
DONALD J. TRUMP                                represented by Jean Lin
in his official capacity as President of the                  U.S. DEPARTMENT OF JUSTICE,
United States ofAmerica                                       CIVIL DMSION
                                                              FEDERAL PROGRAMS BRANCH
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                                                                                                     17
    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 18 of 150


                                                 51 Louisiana Avenue, N.W.
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Amicus
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                                                                                    19
    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 20 of 150


                                               Sean Hoe Donahue
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Amicus
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Amicus

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    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 21 of 150


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Amicus
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    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 22 of 150


CONSTITUTIONAL LAW                                AKIN GUMP STRAUSS HAUER &
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                                                ATTORNEY TO BE NOTICED

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                                                                                   23
    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 24 of 150



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Amicus
SIMON STERN                                   represented by Melissa H. Maxman
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED


Date Filed    #     Page Docket Text
06/14/2017    l          COMPLAINT against DONALD J. TRUMP ( Filing fee $ 400 receipt number
                         0090-4989810) filed by NANCY PELOSI, STENY H. HOYER, KAMALA D.
                         HARRIS, BERNARD SANDERS, CHRIS MURPHY, JOHN CONYERS, JR,
                         TOM CARPER, RICHARD BLUMENTHAL, CATHERINE CORTEZ
                         MASTO, CHRIS VAN HOLLEN, BENJAMIN L. CARDIN, KAREN BASS,
                         JACK REED, JEFF MERKLEY, BRIAN SCHATZ, STEVE COHEN,
                         KIRSTEN E. GILLIBRAND, CORY A. BOOKER, TED W. LIEU, EDWARD
                         J. MARKEY, AL FRANKEN, RON WYDEN, JOSEPH CROWLEY,
                         CHRISTOPHER A. COONS, ERIC SWALWELL, TED DEUTCH, MARTIN
                         HEINRICH, HAKEEM JEFFRIES, MICHAEL F. BENNET, TIM KAINE,
                         TOM UDALL, AMY KLOBUCHAR, JAMIE RASKIN, SHEILA JACKSON
                         LEE, LINDA T. SANCHEZ, RICHARD J. DURBIN, SHELDON
                         WHITEHOUSE, MAZIE K. HIRONO, HENRY C. HANK JOHNSON, JR,
                         DAVID N. CICILLINE, MARIA CANTWELL, PATRICK LEAHY, ZOE
                         LOFGREN, PATTY MURRAY, JAMES E. CLYBURN, CEDRIC L.
                         RICHMOND, JERROLD NADLER, TAMMY DUCKWORTH, LUIS V.
                         GUTIERREZ, ELIZABETH WARREN. (Attachments: # l Civil Cover Sheet,
                         # 2. Summons)(Gorod, Brianne) (Entered: 06/14/2017)
06/14/2017    2.         NOTICE of Appearance by Elizabeth Bonnie Wydra on behalf of All Plaintiffs
                         (Wydra, Elizabeth) (Entered: 06/14/2017)
06/14/2017    .3.        NOTICE of Appearance by Brian Rene Frazelle on behalf of All Plaintiffs
                         (Frazelle, Brian) (Entered: 06/14/2017)
06/14/2017    i          NOTICE of Appearance by Brianne Jenna Gorod on behalf of All Plaintiffs
                         (Gorod, Brianne) (Entered: 06/14/2017)
06/14/2017               Case Assigned to Judge Emmet G. Sullivan. (id) (Entered: 06/14/2017)
06/14/2017    j_         SUMMONS (1) Issued Electronically as to DONALD J. TRUMP. (Attachment:
                         # l Consent Forms)(jd) (Entered: 06/14/2017)
06/14/2017               SUMMONS Not Issued as to U.S. Attorney General, and U.S. Attorney for the
                         District of Columbia (id) (Entered: 06/14/2017)
06/14/2017    �          REQUEST FOR SUMMONS TO ISSUE as to US. Attorney General filed by
                         NANCY PELOSI, STENY H. HOYER, KAMALA D. HARRIS, BERNARD
                         SANDERS, CHRIS MURPHY, JOHN CONYERS, JR, TOM CARPER,
                         RICHARD BLUMENTHAL, CATHERINE CORTEZ MASTO, CHRIS VAN
                         HOLLEN, BENJAMIN L. CARDIN, KAREN BASS, JACK REED, JEFF
                         MERKLEY, BRIAN SCHATZ, STEVE COHEN, KIRSTEN E.
                         GILLIBRAND, CORY A. BOOKER, TED W. LIEU, EDWARD J. MARKEY,
                         AL FRANKEN, RON WYDEN, JOSEPH CROWLEY, CHRISTOPHER A.
                         COONS, ERIC SWALWELL, TED DEUTCH, MARTIN HEINRICH,
                                                                                                      25
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                   HAKEEM JEFFRIES, MICHAEL F. BENNET, TIM KAINE, TOM UDALL,
                   AMY KLOBUCHAR, JAMIE RASKIN, SHEILA JACKSON LEE, LINDA T.
                   SANCHEZ, RICHARD J. DURBIN, SHELDON WHITEHOUSE, MAZIE K.
                   HIRONO, HENRY C. HANK JOHNSON, JR, DAVID N. CICILLINE,
                   MARIA CANTWELL, PATRICK LEAHY, ZOE LOFGREN, PATTY
                   MURRAY, JAMES E. CLYBURN, CEDRIC L. RICHMOND, JERROLD
                   NADLER, TAMMY DUCKWORTH, LUIS V. GUTIERREZ, ELIZABETH
                   WARREN.(Frazelle, Brian) (Entered: 06/14/2017)
06/14/2017   1     REQUEST FOR SUMMONS TO ISSUE as to US. Attorney for the District of
                   Columbia filed by NANCY PELOSI, STENY H. HOYER, KAMALA D.
                   HARRIS, BERNARD SANDERS, CHRIS MURPHY, JOHN CONYERS, JR,
                   TOM CARPER, RICHARD BLUMENTHAL, CATHERINE CORTEZ
                   MASTO, CHRIS VAN HOLLEN, BENJAMIN L. CARDIN, KAREN BASS,
                   JACK REED, JEFF MERKLEY, BRIAN SCHATZ, STEVE COHEN,
                   KIRSTEN E. GILLIBRAND, CORY A. BOOKER, TED W. LIEU, EDWARD
                   J. MARKEY, AL FRANKEN, RON WYDEN, JOSEPH CROWLEY,
                   CHRISTOPHER A. COONS, ERIC SWALWELL, TED DEUTCH, MARTIN
                   HEINRICH, HAKEEM JEFFRIES, MICHAEL F. BENNET, TIM KAINE,
                   TOM UDALL, AMY KLOBUCHAR, JAMIE RASKIN, SHEILA JACKSON
                   LEE, LINDA T. SANCHEZ, RICHARD J. DURBIN, SHELDON
                   WHITEHOUSE, MAZIE K. HIRONO, HENRY C. HANK JOHNSON, JR,
                   DAVID N. CICILLINE, MARIA CANTWELL, PATRICK LEAHY, ZOE
                   LOFGREN, PATTY MURRAY, JAMES E. CLYBURN, CEDRIC L.
                   RICHMOND, JERROLD NADLER, TAMMY DUCKWORTH, LUIS V.
                   GUTIERREZ, ELIZABETH WARREN.(Frazelle, Brian) (Entered: 06/14/2017)
06/14/2017   �     SUMMONS (2) Issued Electronically as to U.S. Attorney and U.S. Attorney
                   General (Attachment:# l Consent Forms)Gd) (Entered: 06/14/2017)
07/10/2017   2     RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                   DONALD J. TRUMP served on 6/19/2017, RETURN OF
                   SERVICE/AFFIDAVIT of Summons and Complaint Executed on United States
                   Attorney General. Date of Service Upon United States Attorney General
                   06/19/2017., RETURN OF SERVICE/AFFIDAVIT of Summons and
                   Complaint Executed as to the United States Attorney. Date of Service Upon
                   United States Attorney on 6/19/2017. ( Answer due for ALL FEDERAL
                   DEFENDANTS by 8/18/2017.) (Attachments:# l Exhibit,# 2. Exhibit,# l
                   Exhibit)(Frazelle, Brian) (Entered: 07/10/2017)
07/12/2017   10    NOTICE of Appearance by Jean Lin on behalf of DONALD J. TRUMP (Lin,
                   Jean) (Entered: 07/12/2017)
07/12/2017   11    Joint MOTION for Extension of Time to Respond to the Complaint and for
                   Entry of Scheduling Order by DONALD J. TRUMP (Attachments:# l Text of
                   Proposed Order)(Lin, Jean). Added MOTION for Scheduling Order on
                   7/13/2017 (znmw). (Entered: 07/12/2017)
07/14/2017   12    STANDING ORDER: The parties are directed to read the attached Standing
                   Order Governing Civil Cases Before Judge Emmet G. Sullivan in its entirety
                   upon receipt. The parties are hereby ORDERED to comply with the directives
                   in the attached Standing Order. Signed by Judge Emmet G. Sullivan on
                   7/14/2017.(Attachments:# l Appendix) (kegs1) (Entered: 07/14/2017)


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07/14/2017         MINUTE ORDER granting 11 Joint Motion for Extensions of Time and for
                   Entry of Scheduling Order. The following schedule shall govern proceedings in
                   this case: plaintiffs' first amended complaint shall be filed by no later than
                   August 15, 2017; defendant's response to the complaint shall be filed by no later
                   than September 15, 2017; any motion seeking leave to file an amicus curiae
                   brief in support of defendant, with the brief attached as an exhibit, shall be filed
                   by no later than September 22, 2017; plaintiffs' opposition to the motion to
                   dismiss shall be filed by no later than October 26, 2017; any motion seeking
                   leave to file an amicus curiae brief in support of plaintiffs, with the brief
                   attached as an exhibit, shall be filed by no later than November 2, 2017;
                   defendant's reply in support of the motion to dismiss shall be filed by no later
                   than November 21, 2017.lt is FURTHER ORDERED that the parties may file
                   non-hyperlinked briefs in accordance with this schedule. By no later than
                   November 28, 2017, the parties, including those seeking leave to file an amicus
                   curiae brief, shall file E-Briefs containing hyperlinks to any cited exhibits and
                   points and authorities. By no later than November 28, 2017, the parties,
                   including those seeking leave to file an amicus curiae brief, shall submit to the
                   Court two hard copies and one USB drive containing all submissions to the
                   Court governed by this scheduling order, including points and authorities. All
                   paper copy submissions to the Court shall include the headers added by the
                   Case Management/Electronic Case Files (CM/ECF) System and shall be
                   single-sided, double-spaced, use 12-point Times New Roman font, and use
                   one inch page margins. Each set of hard copies shall be in three-ring binders,
                   with appropriate tables of contents and tabs, and the binders shall be clearly
                   labeled to identify the pleading therein. It is FURTHER ORDERED that by no
                   later than November 28, 2017, the parties shall jointly submit one copy of each
                   principal case or authority cited by any party. The points and authorities shall be
                   in three-ring binders, with appropriate tables of contents and tabs, and the
                   binders shall be clearly labeled to identify the contents therein. Plaintiffs'
                   counsel is HEREBY REMINDED of Local Civil Rule 5.l(c)(l) requiring
                   documents signed by an attorney to include the D.C. Bar identification number
                   of the attorney, as appropriate. Signed by Judge Emmet G. Sullivan on
                   7/14/2017. (leegs1) (Entered: 07/14/2017)
07/14/2017   ll    ORDER GOVERNING THE FILING OF AMICUS CURIAE BRIEFS. Signed
                   by Judge Emmet G. Sullivan on 7/14/2017. (lcegsl) (Entered: 07/14/2017)
07/16/2017         Set/Reset Deadlines: Plaintiffs' First Amended Complaint due by 8/15/2017.
                   Defendant's Response To The Complaint due by 09/15/2017. Motion Seeking
                   Leave To File An Amicus Curiae Briefln Support Of Defendant, With The
                   Brief Attached As An Exhibit due by 9/22/2017. Plaintiffs' Opposition To The
                   Motion To Dismiss due by 10/26/2017. Motion Seeking Leave To File An
                   Amicus Curiae Brief In Support Of Plaintiffs, With The Brief Attached As An
                   Exhibit due by 11/02/2017. Defendant's Reply In Support Of The Motion To
                   Dismiss due by 11/21/2017. Parties, Including Those Seeking Leave To File An
                   Amicus Curiae Brief, Shall File E-Briefs, Containing Hyperlinks To Any cited
                   Exhibits and Points And Authorities due by 11/28/2017. (mac) (Entered:
                   07/16/2017)
08/15/2017   .li   AMENDED COMPLAINT against DONALD J. TRUMP filed by NANCY
                   PELOSI, STENY H. HOYER, KAMALA D. HARRIS, BERNARD
                   SANDERS, CHRIS MURPHY, JOHN CONYERS, JR, TOM CARPER,
                   RICHARD BLUMENTHAL, CATHERINE CORTEZ MASTO, CHRIS VAN
                                                                                                          27
    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 28 of 150



                   HOLLEN, BENJAMIN L. CARDIN, KAREN BASS, JACK REED, JEFF
                   MERKLEY, BRIAN SCHATZ, STEVE COHEN, KIRSTEN E.
                   GILLIBRAND, CORY A. BOOKER, TED W. LIEU, EDWARD J. MARKEY,
                   AL FRANKEN, RON WYDEN, JOSEPH CROWLEY, CHRISTOPHER A.
                   COONS, ERIC SWALWELL, TED DEUTCH, MARTIN HEINRICH,
                   HAKEEM JEFFRIES, MICHAEL F. BENNET, TIM KAINE, TOM UDALL,
                   AMY KLOBUCHAR, JAMIE RASKIN, SHEILA JACKSON LEE, LINDA T.
                   SANCHEZ, RICHARD J. DURBIN, SHELDON WHITEHOUSE, MAZIE K.
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                   MARIA CANTWELL, PATRICK LEAHY, ZOE LOFGREN, PATTY
                   MURRAY, JAMES E. CLYBURN, CEDRIC L. RICHMOND, JERROLD
                   NADLER, TAMMY DUCKWORTH, LUIS V. GUTIERREZ, ELIZABETH
                   WARREN. (Attachments:# l Exhibit Redline - Amended Complaint)(Gorod,
                   Brianne) (Entered: 08/15/2017)
09/15/2017   .ll   MOTION to Dismiss/or Failure to State a Claim by DONALD J. TRUMP
                   (Attachments:# l Memorandum in Support,# 2. Text of Proposed Order)(Lin,
                   Jean) Modified event title on 9/18/2017 (znmw). (Entered: 09/15/2017)
09/19/2017   16    MOTION for Leave to File Brief of Scholar Seth Barrett Tillman and Judical
                   Education Project as Amici Curiae in Support of the Defendant by SETH
                   BARETT TILLAN, JUDICIAL EDUCATION PROJECT (Attachments:# l
                   Exhibit A - Brief for Scholar Seth Barrett Tillman and the Judicial Education
                   Project as Amici Curiae in Support of the Defendant,# 2. Text of Proposed
                   Order)(Ray, Robert) Modified to correct filers on 9/20/2017 (znmw). (Entered:
                   09/19/2017)
10/26/2017   l1    RESPONSE re .ll MOTION to Dismiss for Failure to State a Claim filed by
                   KAREN BASS, MICHAEL F. BENNET, RICHARD BLUMENTHAL, CORY
                   A. BOOKER, MARIA CANTWELL, BENJAMIN L. CARDIN, TOM
                   CARPER, DAYID N. CICILLINE, JAMES E. CLYBURN, STEVE COHEN,
                   JOHN CONYERS, JR, CHRISTOPHER A. COONS, CATHERINE CORTEZ
                   MASTO, JOSEPH CROWLEY, TED DEUTCH, TAMMY DUCKWORTH,
                   RICHARD J. DURBIN, AL FRANKEN, KIRSTEN E. GILLIBRAND, LUIS
                   V. GUTIERREZ, KAMALA D. HARRIS, MARTIN HEINRICH, MAZIE K.
                   HIRONO, STENY H. HOYER, SHEILA JACKSON LEE, HAKEEM
                   JEFFRIES, HENRY C. HANK JOHNSON, JR, TIM KAINE, AMY
                   KLOBUCHAR, PATRICK LEAHY, TED W. LIEU, ZOE LOFGREN,
                   EDWARD J. MARKEY, JEFF MERKLEY, CHRIS MURPHY, PATTY
                   MURRAY, JERROLD NADLER, NANCY PELOSI, JAMIE RASKIN, JACK
                   REED, CEDRIC L. RICHMOND, LINDA T. SANCHEZ, BERNARD
                   SANDERS, BRIAN SCHATZ, ERIC SWALWELL, TOM UDALL, CHRIS
                   VAN HOLLEN, ELIZABETH WARREN, SHELDON WHITEHOUSE, RON
                   WYDEN. (Gorod, Brianne) (Entered: 10/26/2017)
11/02/2017   18.   MOTION for Leave to File Brief Amici Curiae by MICHAEL BARNES,
                   LEONARD BOSWELL, BARBARA BOXER, Bob Carr, TOM COLEMAN,
                   Mickey Edwards, Lee Hamilton, Tom Harkin, GARY HART, Bob Inglis,
                   CARL LEVIN, Brad Miller, GEORGE MILLER, PHILIP SHARP, CHRIS
                   SHAYS, PETER SMITH, MARK UDALL, HENRY WAXMAN, DICK
                   ZIMMER (Attachments:# l Text of Proposed Order)(Donahue, Sean) (Entered:
                   11/02/2017)


                                                                                                   28
    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 29 of 150



11/02/2017   12      NOTICE ofAppearance by Sean Hoe Donahue on behalfofMICHAEL
                     BARNES, et al. (Donahue, Sean) (Entered: 11/02/2017)
11/02/2017   20      NOTICE ofAppearance by Thomas C. Goldstein on behalf ofDON FOX, et al.
                     (Goldstein, Thomas) (Entered: 11/02/2017)
11/02/2017   21      MOTION for Leave to File Amici Curiae Briefby DON FOX, et al.
                     (Attachments:# l Exhibit Amici Curiae BriefofFormer Government Ethics
                     Officers,# 2. Text ofProposed Order)(Goldstein, Thomas) (Entered:
                     11/02/2017)
11/02/2017   22      MOTION for Leave to File Amicus Curiae Briefby FORMER NATIONAL
                     SECURITY OFFICIALS (Attachments:# l Exhibit Amicus Curiae Brief,# 2.
                     Text ofProposed Order)(Spector, Phillip) (Entered: 11/02/2017)
11/02/2017   23      NOTICE ofAppearance by Corey William Roush on behalfofFEDERAL
                     JURISDICTION AND CONSTITUTIONAL LAW SCHOLARS (Roush,
                     Corey) (Entered: 11/02/2017)
11/02/2017   24      MOTION for Leave to File Amici Brief In Support of Plaintiffs by FEDERAL
                     JURISDICTION AND CONSTITUTIONAL LAW SCHOLARS (Attachments:
                     # l Exhibit A,# 2. Text ofProposed Order)(Roush, Corey) (Entered:
                     11/02/2017)
11/02/2017   2..5.   MOTION for Leave to File Brief of Separation of Powers Scholars as Amici
                     Curiae in Support of Plaintiffs by REBECCA L. BROWN, HAROLD H
                     BRUFF, NEIL KINKOPF, CHRISTOPHER H. SCHROEDER, PETER M.
                     SHANE, KEVIN M. STACK, PETER L. STRAUSS (Attachments:# l Exhibit,
                     # 2 Exhibit,# .l Text ofProposed Order)(Mapes, Katharine) (Entered:
                     11/02/2017)
11/02/2017   26      MOTION for Leave to File Brief of Amici Curiae by JED H. SHUGERMAN,
                     JOHN MIKHAIL, JACK RAKOVE, GAUTHUM RAO, SIMON STERN
                     (Attachments:# l Exhibit Amici Curiae Brief,# 2. Text ofProposed Order,# l
                     Certificate ofService)(Maxman, Melissa) (Entered: 11/02/2017)
11/03/2017   21      MOTION for Leave to Appear Pro Hae Vice :Attorney Name- Joshua M.
                     Blackman, :Firm- Joshua M. Blackman, :Address- 1303 San Jacinto Street,
                     Houston, Texas 77002. Phone No. - 202-294-9003. Filing fee$ 100, receipt
                     number 0090-5190329. Fee Status: Fee Paid. by SETH BARRETT TILLMAN
                     (Attachments:# l Declaration,# 2. Text ofProposed Order)(Ray, Robert)
                     (Entered: 11/03/2017)
11/21/2017   28      REPLY to opposition to motion re ll MOTION to Dismiss for Failure to State
                     a Claim and for Lack of Jurisdiction filed by DONALD J. TRUMP. (Lin, Jean)
                     (Entered: 11/21/2017)
11/26/2017   2.2     MOTION for Leave to File Amicus Curiae E-Brief with Hyper/inks by
                     FORMER NATIONAL SECURITY OFFICIALS (Attachments:# l Exhibit
                     Amicus Curiae E-BriefWith Hyperlinks,# 2 Text ofProposed Order)(Spector,
                     Phillip) (Entered: 11/26/2017)
11/28/2017   312     NOTICE OF FILING HYPERLINKED E-BRJEF by KAREN BASS,
                     MICHAEL F. BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER,
                     MARIA CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                     CICILLINE, JAMES E. CLYBURN, STEVE COHEN, JOHN CONYERS, JR,
                                                                                                  29
    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 30 of 150



                    CHRISTOPHER A. COONS, CATHERINE CORTEZ MASTO, JOSEPH
                    CROWLEY, TED DEUTCH, TAMMY DUCKWORTH, RICHARD J.
                    DURBIN, AL FRANKEN, KIRSTEN E. GILLIBRAND, LUIS V.
                    GUTIERREZ, KAMALA D. HARRIS, MARTIN HEINRICH, MAZIE K.
                    HIRONO, STENY H. HOYER, SHEILA JACKSON LEE, HAKEEM
                    JEFFRIES, HENRY C. HANK JOHNSON, JR, TIM KAINE, AMY
                    KLOBUCHAR, PATRICK LEAHY, TED W. LIEU, ZOE LOFGREN,
                    EDWARD J. MARKEY, JEFF MERKLEY, CHRIS MURPHY, PATTY
                    MURRAY, JERROLD NADLER, NANCY PELOSI, JAMIE RASKIN, JACK
                    REED, CEDRIC L. RICHMOND, LINDA T. SANCHEZ, BERNARD
                    SANDERS, BRIAN SCHATZ, ERIC SWALWELL, TOM UDALL, CHRIS
                    VAN HOLLEN, ELIZABETH WARREN, SHELDON WHITEHOUSE, RON
                    WYDEN (Gorod, Brianne) (Entered: 11/28/2017)
11/28/2017   J.l    MOTION for Leave to File Amicus Curiae Hyper/inked E-Briefby DON FOX,
                    MARILYN GLYNN, KAREN KUCIK, LAWRENCE R. REYNOLDS, AMY
                    COMSTOCK RICK, TRIP ROTHSCHILD, WALTER SHAUB, RICHARD M.
                    THOMAS, KATHLEEN WHALEN, HARVEY WILCOX, LESLIE WILCOX
                    (Attachments:# l Exhibit Amicus Curiae Hyperlinked E-Brief,# 2. Text of
                    Proposed Order)(Goldstein, Thomas) (Entered: 11/28/2017)
11/28/2017   J2     NOTICE OF FILING HYPERLINKED BRIEF OF AMICI CURIAE by JOHN
                    MIKHAIL, JACK RAKOVE, GAUTHAM RAO, JED H. SHUGERMAN,
                    SIMON STERN re 26 MOTION for Leave to File Brief ofAmici Curiae
                    (Maxman, Melissa) (Main Document 32 replaced on 11/29/2017) (znmw).
                    (Entered: 11/28/2017)
11/28/2017   .l3.   NOTICE by REBECCA L. BROWN, HAROLD H. BRUFF, NEIL KINKOPF,
                    CHRISTOPHER H. SCHROEDER, PETER M. SHANE, KEVIN M. STACK,
                    PETER L. STRAUSS (Mapes, Katharine) (Entered: 11/28/2017)
11/28/2017   34     NOTICE a/Filing Hyper/inkedE-Briefby FEDERAL JURISDICTION AND
                    CONSTITUTIONAL LAW SCHOLARS re 24 MOTION for Leave to File
                    Amici BriefIn Support of Plaintiffs (Roush, Corey) (Entered: 11/28/2017)
11/28/2017   35     NOTICE of Filing by DONALD J. TRUMP (Lin, Jean) (Entered: 11/28/2017)
11/28/2017   36     NOTICE of Filing Hyper/inked E-Briefby JUDICIAL EDUCATION
                    PROJECT, SETH BARRETT TILLMAN (Ray, Robert) (Additional
                    attachment(s) added on 11/29/2017:# l Hyperlinked Brief,# 2. Request Notice)
                    (znmw). (Entered: 11/28/2017)
11/28/2017   'J1    NOTICE by MICHAEL BARNES (Donahue, Sean) (Entered: 11/28/2017)
12/22/2017   �      NOTICE OF SUPPLEMENTAL AUTHORITY by DONALD J. TRUMP
                    (Attachments:# l Exhibit A)(Lin, Jean) (Entered: 12/22/2017)
03/06/2018          MINUTE ORDER granting 16 MOTION for Leave to File Brief of Scholar
                    Seth Barrett Tillman and Judical Education Project as Amici Curiae in Support
                    of the Defendant. Signed by Judge Emmet G. Sullivan on 3/6/2018. (lcegsl)
                    (Entered: 03/06/2018)
03/06/2018          MINUTE ORDER granting 18. MOTION for Leave to File Brief Amici Curiae
                    by MICHAEL BARNES, LEONARD BOSWELL, BARBARA BOXER, Bob
                    Carr, TOM COLEMAN, Mickey Edwards, Lee Hamilton, Tom Harkin, GARY

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                   HART, Bob Inglis, CARL LEVIN, Brad Miller, GEORGE MILLER, PHILIP
                   SHARP, CHRIS SHAYS, PETER SMITH, MARK UDALL, HENRY
                   WAXMAN, DICK ZIMMER. Signed by Judge Emmet G. Sullivan on 3//2018.
                   (lcegs1) (Entered: 03/06/2018)
03/06/2018         MINUTE ORDER granting 21 MOTION for Leave to File Amici Curiae Brief
                   by DON FOX, et al. Signed by Judge Emmet G. Sullivan on 3/6/2018. (lcegsl)
                   (Entered: 03/06/2018)
03/06/2018         MINUTE ORDER granting 22 MOTION for Leave to File Amicus Curiae Brief
                   by FORMER NATIONAL SECURITY OFFICIALS. Signed by Judge Emmet
                   G. Sullivan on 3/6/2018. (lcegsl) (Entered: 03/06/2018)
03/06/2018         MINUTE ORDER granting 2± MOTION for Leave to File Amici Briefln
                   Support of Plaintiffs by FEDERAL JURISDICTION AND
                   CONSTITUTIONAL LAW SCHOLARS. Signed by Judge Emmet G. Sullivan
                   on 3/6/2018. (lcegsl) (Entered: 03/06/2018)
03/06/2018         MINUTE ORDER granting 25 MOTION for Leave to File Brief of Separation
                   of Powers Scholars as Amici Curiae in Support of Plaintiffs by REBECCA L.
                   BROWN, HAROLD H BRUFF, NEIL KINKOPF, CHRISTOPHER H.
                   SCHROEDER, PETER M. SHANE, KEVIN M. STACK, PETER L.
                   STRAUSS. Signed by Judge Emmet G. Sullivan on 3/6/2018. (lcegsl)
                   (Entered: 03/06/2018)
03/06/2018   39    MINUTE ORDER granting 26 MOTION for Leave to File Brief of Amici
                   Curiae by JED H. SHUGERMAN, JOHN MIKHAIL, JACK RAKOVE,
                   GAUTHUM RAO, SIMON STERN.Signed by Judge Emmet G. Sullivan on
                   3/6/2018. (lcegsl) (Entered: 03/06/2018)
03/06/2018         MINUTE ORDER granting 21 MOTION for Leave to Appear Pro Hae Vice.
                   Joshua M. Blackman, Esq. is admitted pro hac vice in this proceeding. Signed
                   by Judge Emmet G. Sullivan on 3/6/2018. (lcegsl) (Entered: 03/06/2018)
03/06/2018         MINUTE ORDER granting 22. MOTION for Leave to File Amicus Curiae
                   E-Brief with Hyperlinks by FORMER NATIONAL SECURITY OFFICIALS.
                   Signed by Judge Emmet G. Sullivan on 3/6/2018. (lcegsl) (Entered:
                   03/06/2018)
03/06/2018         MINUTE ORDER granting .ll MOTION for Leave to File Amicus Curiae
                   Hyperlinked E-Brief by DON FOX, MARILYN GLYNN, KAREN KUCIK,
                   LAWRENCE R. REYNOLDS, AMY COMSTOCK RICK, TRIP
                   ROTHSCHILD, WALTER SHAUB, RICHARD M. THOMAS, KATHLEEN
                   WHALEN, HARVEY WILCOX, LESLIE WILCOX. Signed by Judge Emmet
                   G. Sullivan on 3/6/2018. (lcegsl) (Entered: 03/06/2018)
03/06/2018         MINUTE ORDER. The Court sua sponte schedules a motion hearing to hear
                   oral argument on .Ll. motion to dismiss in this proceeding. The motion hearing
                   shall take place on June 7, 2018 at 10:00 am in Courtroom 20. Signed by Judge
                   Emmet G. Sullivan on 3/6/2018. (lcegsl) (Entered: 03/06/2018)
03/06/2018         Set/Reset Hearings: Motion Hearing set for 6/7/2018 at 10:00 AM in
                   Ceremonial Courtroom before Judge Emmet G. Sullivan. (mac) (Entered:
                   03/06/2018)
03/06/2018   !Q
                                                                                                    31
    Case 1:17-cv-01154-EGS Document 98 Filed 09/05/19 Page 32 of 150



                   AMICUS BRIEF by JUDICIAL EDUCATION PROJECT, SETH BARRETT
                   TILLMAN. (it) (Entered: 03/08/2018)
03/06/2018   41    AMICUS BRIEF by MICHAEL BARNES, LEONARD BOSWELL,
                   BARBARA BOXER, BOB CARR, TOM COLEMAN, MICKEY EDWARDS,
                   LEE HAMILTON, TOM HARKIN, GARY HART, BOB INGLIS, CARL
                   LEVIN, BRAD MILLER, GEORGE MILLER, PHILIP SHARP, CHRIS
                   SHAYS, PETER SMITH, MARK UDALL, HENRY WAXMAN, DICK
                   ZIMMER. (it) (Entered: 03/08/2018)
03/06/2018   42    AMICUS BRIEF by DON FOX, MARILYN GLYNN, KAREN KUCIK,
                   LAWRENCE R. REYNOLDS, AMY COMSTOCK RICK, TRIP
                   ROTHSCHILD, WALTER SHAUB, RICHARD M. THOMAS, KATHLEEN
                   WHALEN, HARVEY WILCOX, LESLIE WILCOX . (it) (Entered:
                   03/08/2018)
03/06/2018   ±3.   AMICUS BRIEF by FORMER NATIONAL SECURITY OFFICIALS. (it)
                   (Entered: 03/08/2018)
03/06/2018   44    AMICUS BRIEF by FEDERAL JURISDICTION AND CONSTITUTIONAL
                   LAW SCHOLARS. (it) (Entered: 03/08/2018)
03/06/2018   45    AMICUS BRIEF by (Separation of Powers Scholars) REBECCA L. BROWN,
                   HAROLD H. BRUFF, NEIL KINKOPF, CHRISTOPHER H. SCHROEDER,
                   PETER M. SHANE, KEVIN M. STACK, PETER L. STRAUSS. (it) (Entered:
                   03/08/2018)
03/06/2018   !(i   AMICUS BRIEF by JOHN MIKHAIL, JACK RAKOVE, GAUTHAM RAO,
                   JED H. SHUGERMAN, SIMON STERN. (it) (Entered: 03/08/2018)
03/06/2018   84    AMICUS BRIEF by JUDICIAL EDUCATION PROJECT, SETH BARRETT
                   TILLMAN. (it) (Entered: 07/02/2019)
03/30/2018         MINUTE ORDER. The parties are directed to respond, by no later than April
                   30, 2018, to any arguments raised by amici that have not been addressed by the
                   parties in their briefs. The response shall be a consolidated response to all
                   amicus curiae briefs of no more than 45 pages. Signed by Judge Emmet G.
                   Sullivan on 3/30/2018. (lcegsl) (Entered: 03/30/2018)
03/30/2018         Set/Reset Deadlines: Response To All Amicus Curiae Briefs due by 4/30/2018
                   (mac) (Entered: 03/30/2018)
04/05/2018   il    NOTICE OF SUPPLEMENTAL AUTHORITY by KAREN BASS, MICHAEL
                   F. BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER, MARIA
                   CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                   CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                   COONS, CATHERINE CORTEZ MASTO, JOSEPH CROWLEY, TED
                   DEUTCH, TAMMY DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E.
                   GILLIBRAND, LUIS V. GUTIERREZ, KAMALA D. HARRIS, MARTIN
                   HEINRICH, MAZIE K. HIRONO, STENY H. HOYER, SHEILA JACKSON
                   LEE, HAKEEM JEFFRIES, HENRY C. HANK JOHNSON, JR, TIM KAINE,
                   AMY KLOBUCHAR, PATRICK LEAHY, TED W. LIEU, ZOE LOFGREN,
                   EDWARD J. MARKEY, JEFF MERKLEY, CHRIS MURPHY, PATTY
                   MURRAY, JERROLD NADLER, NANCY PELOSI, JAMIE RASKIN, JACK
                   REED, CEDRIC L. RICHMOND, LINDA T. SANCHEZ, BERNARD

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                   SANDERS, BRIAN SCHATZ, ERIC SWALWELL, TOM UDALL, CHRIS
                   VAN HOLLEN, ELIZABETH WARREN, SHELDON WHITEHOUSE, RON
                   WYDEN (Attachments:# 1 Exhibit A)(Gorod, Brianne) (Entered: 04/05/2018)
04/13/2018   48    MOTION to Clarify by JUDICIAL EDUCATION PROJECT, SETH
                   BARRETT TILLMAN (Attachments:# 1 Exhibit A,# 2. Exhibit B,# .l Exhibit
                   C,# 1 Exhibit D,# .i Exhibit E)(Ray, Robert) (Entered: 04/13/2018)
04/13/2018   49    CERTIFICATE OF SERVICE by JUDICIAL EDUCATION PROJECT, SETH
                   BARRETT TILLMAN re 48 MOTION to Clarify . (Ray, Robert) (Entered:
                   04/13/2018)
04/17/2018         MINUTE ORDER. In view of 48 motion to clarify, the Court clarifies that
                   amici are not invited to respond to arguments raised by other amici. Signed by
                   Judge Emmet G. Sullivan on 4/17/2018. (lcegsl) Modified event title on
                   4/19/2018 (znmw). (Entered: 04/17/2018)
04/30/2018   50    SUPPLEMENTAL MEMORANDUM to re Order, filed by KAREN BASS,
                   MICHAEL F. BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER,
                   MARIA CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                   CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                   COONS, CATHERINE CORTEZ MASTO, JOSEPH CROWLEY, TED
                   DEUTCH, TAMMY DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E.
                   GILLIBRAND, LUIS V. GUTIERREZ, KAMALA D. HARRIS, MARTIN
                   HEINRICH, MAZIE K. HIRONO, STENY H. HOYER, SHEILA JACKSON
                   LEE, HAKEEM JEFFRIES, HENRY C. HANK JOHNSON, JR, TIM KAINE,
                   AMY KLOBUCHAR, PATRICK LEAHY, TED W. LIEU, ZOE LOFGREN,
                   EDWARD J. MARKEY, JEFF MERKLEY, CHRIS MURPHY, PATTY
                   MURRAY, JERROLD NADLER, NANCY PELOSI, JAMIE RASKIN, JACK
                   REED, CEDRIC L. RICHMOND, LINDA T. SANCHEZ, BERNARD
                   SANDERS, BRIAN SCHATZ, ERIC SWALWELL, TOM UDALL, CHRIS
                   VAN HOLLEN, ELIZABETH WARREN, SHELDON WHITEHOUSE, RON
                   WYDEN. (Gorod, Brianne) (Entered: 04/30/2018)
04/30/2018   21    SUPPLEMENTAL MEMORANDUM to re li MOTION to Dismiss for
                   Failure to State a Claim and for Lack of Subject Matter Jurisidction (Pursuant
                   to the Court's March 30 Order) filed by DONALD J. TRUMP. (Lin, Jean)
                   (Entered: 04/30/2018)
05/21/2018   .il   MOTION For Leave to be Heard at Oral Argument by JUDICIAL
                   EDUCATION PROJECT, SETH BARRETT TILLMAN (Attachments:# l
                   Exhibit A,# 2 Text of Proposed Order)(Ray, Robert) (Entered: 05/21/2018)
05/22/2018         MINUTE ORDER. The Court has determined that at the June 7, 2018 motion
                   hearing in this case, it will hear argument only on the threshold question of
                   plaintiffs' standing to bring their claims. The Court is appreciative of the amicus
                   briefs submitted, but declines to invite any amicus to be heard orally. Signed by
                   Judge Emmet G. Sullivan on 5/22/2018. (lcegsl) (Entered: 05/22/2018)
05/22/2018         MINUTE ORDER denying 52 motion for leave to be heard at oral argument by
                   amicus. Signed by Judge Emmet G. Sullivan on 5/22/2018. (lcegsl) (Entered:
                   05/22/2018)
06/04/2018   53    NOTICE of Appearance by Brett A. Shumate on behalf of DONALD J.
                   TRUMP (Shumate, Brett) (Entered: 06/04/2018)

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06/07/2018         Minute Entry for proceedings held before Judge Emmet G. Sullivan: Motion
                   Hearing held on 6/7/2018 re ll MOTION to Dismiss for Failure to State a
                   Claim. (Court Reporter SCOTT WALLACE.) (mac) (Entered: 06/07/2018)
07/27/2018   54    TRANSCRIPT OF PROCEEDINGS before Judge Emmet G. Sullivan held on
                   6-7-18; Page Numbers: 1-119. Date oflssuance:6-14-18. Court
                   Reporter/Transcriber Scott Wallace, Telephone number 202-354-3196,
                   Transcripts may be ordered by submitting the <a
                   href="http://www.dcd.uscourts.gov/node/110">Transcript Order
                   Form</a><P></P><P></P>For the first 90 days after this filing date, the
                   transcript may be viewed at the courthouse at a public terminal or purchased
                   from the court reporter referenced above. After 90 days, the transcript may be
                   accessed via PACER. Other transcript formats, (multi-page, condensed, CD or
                   ASCII) may be purchased from the court reporter. <P>NOTICE RE
                   REDACTION OF TRANSCRIPTS: The parties have twenty-one days to file
                   with the court and the court reporter any request to redact personal identifiers
                   from this transcript. If no such requests are filed, the transcript will be made
                   available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on
                   our website at www.dcd.uscourts.gov.<P></P> Redaction Request due
                   8/17/2018. Redacted Transcript Deadline set for 8/27/2018. Release of
                   Transcript Restriction set for 10/25/2018.(Wallace, Scott) (Main Document 54
                   replaced on 7/31/2018) (zjf). (Entered: 07/27/2018)
07/27/2018   55    NOTICE OF SUPPLEMENTAL AUTHORITY by KAREN BASS, MICHAEL
                   F. BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER, MARIA
                   CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                   CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                   COONS, CATHERINE CORTEZ MASTO, JOSEPH CROWLEY, TED
                   DEUTCH, TAMMY DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E.
                   GILLIBRAND, LUIS V. GUTIERREZ, KAMALA D. HARRIS, MARTIN
                   HEINRICH, MAZIE K. HIRONO, STENY H. HOYER, SHEILA JACKSON
                   LEE, HAKEEM JEFFRIES, HENRY C. HANK JOHNSON, JR, TIM KAINE,
                   AMY KLOBUCHAR, PATRICK LEAHY, TED W. LIEU, ZOE LOFGREN,
                   EDWARD J. MARKEY, JEFF MERKLEY, CHRIS MURPHY, PATTY
                   MURRAY, JERROLD NADLER, NANCY PELOSI, JAMIE RASKIN, JACK
                   REED, CEDRIC L. RICHMOND, LINDA T. SANCHEZ, BERNARD
                   SANDERS, BRIAN SCHATZ, ERIC SWALWELL, TOM UDALL, CHRIS
                   VAN HOLLEN, ELIZABETH WARREN, SHELDON WHITEHOUSE, RON
                   WYDEN (Attachments:# 1 Exhibit A)(Gorod, Brianne) (Entered: 07/27/2018)
08/15/2018   �     NOTICE OF SUPPLEMENTAL AUTHORITY by DONALD J. TRUMP
                   (Attachments:# 1 Exhibit)(Lin, Jean) (Entered: 08/15/2018)
08/20/2018   57    NOTICE OF SUPPLEMENTAL AUTHORITY by KAREN BASS, MICHAEL
                   F. BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER, MARIA
                   CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                   CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                   COONS, CATHERINE CORTEZ MASTO, JOSEPH CROWLEY, TED
                   DEUTCH, TAMMY DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E.
                   GILLIBRAND, LUIS V. GUTIERREZ, KAMALA D. HARRIS, MARTIN
                   HEINRICH, MAZIE K. HIRONO, STENY H. HOYER, SHEILA JACKSON
                   LEE, HAKEEM JEFFRIES, HENRY C. HANK JOHNSON, JR, TIM KAINE,

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                         AMY KLOBUCHAR, PATRICK LEAHY, TED W. LIEU, ZOE LOFGREN,
                         EDWARD J. MARKEY, JEFF MERKLEY, CHRIS MURPHY, PATTY
                         MURRAY, JERROLD NADLER, NANCY PELOSI, JAMIE RASKIN, JACK
                         REED, CEDRIC L. RICHMOND, LINDA T. SANCHEZ, BERNARD
                         SANDERS, BRIAN SCHATZ, ERIC SWALWELL, TOM UDALL, CHRIS
                         VAN HOLLEN, ELIZABETH WARREN, SHELDON WHITEHOUSE, RON
                         WYDEN (Frazelle, Brian) (Entered: 08/20/2018)
08/20/2018               NOTICE OF ERROR re 57 NOTICE OF SUPPLEMENTAL AUTHORITY;
                         emailed to brian@theusconstitution.org, cc'd 20 associated attorneys -- The
                         PDF file you docketed contained errors: 1. Invalid attorney signature, 2. DO
                         NOT REFILE-Signature on pleadings should match Login/Password (zjf, )
                         (Entered: 08/20/2018)
09/28/2018   28.     43 ORDER denying in part and deferring in part ll Motion to Dismiss. Signed by
                        Judge Emmet G. Sullivan on 9/28/2018. (lcegsl) (Entered: 09/28/2018)
09/28/2018   �       44 MEMORANDUM OPINION. Signed by Judge Emmet G. Sullivan on
                        9/28/2018. (lcegsl) (Entered: 09/28/2018)
10/22/2018   60          MOTION for Certification for interlocatory appeal of the Court's September 28,
                         2018 Order by DONALD J. TRUMP (Attachments: # 1 Memorandum in
                         Support)(Lin, Jean) (Entered: 10/22/2018)
11/02/2018   61          Memorandum in opposition to re 60 MOTION for Certification for
                         interlocatory appeal of the Court's September 28, 2018 Order filed by KAREN
                         BASS, MICHAEL F. BENNET, RICHARD BLUMENTHAL, CORY A.
                         BOOKER, MARIA CANTWELL, BENJAMIN L. CARDIN, TOM CARPER,
                         DAVID N. CICILLINE, JAMES E. CLYBURN, STEVE COHEN,
                         CHRISTOPHER A. COONS, CATHERINE CORTEZ MASTO, JOSEPH
                         CROWLEY, TED DEUTCH, TAMMY DUCKWORTH, RICHARD J.
                         DURBIN, KIRSTEN E. GILLIBRAND, LUIS V. GUTIERREZ, KAMALA D.
                         HARRIS, MARTIN HEINRICH, MAZIE K. HIRONO, STENY H. HOYER,
                         SHEILA JACKSON LEE, HAKEEM JEFFRIES, HENRY C. HANK
                         JOHNSON, JR, TIM KAINE, AMY KLOBUCHAR, PATRICK LEAHY, TED
                         W. LIEU, ZOE LOFGREN, EDWARD J. MARKEY, JEFF MERKLEY,
                         CHRIS MURPHY, PATTY MURRAY, JERROLD NADLER, NANCY
                         PELOSI, JAMIE RASKIN, JACK REED, CEDRIC L. RICHMOND, LINDA
                         T. SANCHEZ, BERNARD SANDERS, BRIAN SCHATZ, ERIC
                         SWALWELL, TOM UDALL, CHRIS VAN HOLLEN, ELIZABETH
                         WARREN, SHELDON WHITEHOUSE, RON WYDEN. (Attachments: # l
                         Exhibit)(Gorod, Brianne) (Entered: 11/02/2018)
11/09/2018   .62         REPLY to opposition to motion re fill MOTION for Certification for
                         interlocatory appeal of the Court's September 28, 2018 Order filed by
                         DONALD J. TRUMP. (Lin, Jean) (Entered: 11/09/2018)
01/30/2019   .2.3.       NOTICE OF SUPPLEMENTAL AUTHORITY by KAREN BASS, MICHAEL
                         F. BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER, MARIA
                         CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                         CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                         COONS, CATHERINE CORTEZ MASTO, TED DEUTCH, TAMMY
                         DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E. GILLIBRAND,
                         KAMALA D. HARRIS, MARTIN HEINRICH, MAZIE K. HIRONO, STENY

                                                                                                          35
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                         H. HOYER, SHEILA JACKSON LEE, HAKEEM JEFFRIES, HENRY C.
                         HANK JOHNSON, JR, TIM KAINE, AMY KLOBUCHAR, PATRICK
                         LEAHY, TED W. LIEU, ZOE LOFGREN, EDWARD J. MARKEY, JEFF
                         MERKLEY, CHRIS MURPHY, PATTY MURRAY, JERROLD NADLER,
                         NANCY PELOSI, JAMIE RASKIN, JACK REED, CEDRIC L. RICHMOND,
                         LINDA T. SANCHEZ, BERNARD SANDERS, BRIAN SCHATZ, ERIC
                         SWALWELL, TOM UDALL, CHRIS VAN HOLLEN, ELIZABETH
                         WARREN, SHELDON WHITEHOUSE, RON WYDEN (Attachments:# l
                         Exhibit A)(Gorod, Brianne) (Entered: 01/30/2019)
02/01/2019   �           NOTICE OF SUPPLEMENTAL AUTHORITY by DONALD J. TRUMP
                         (Attachments:# l Exhibit A)(Lin, Jean) (Entered: 02/01/2019)
04/11/2019   2.5.        NOTICE OF WITHDRAWAL OF APPEARANCE as to DONALD J.
                         TRUMP. Attorney Brett A. Shumate terminated. (Shumate, Brett) (Entered:
                         04/11/2019)
04/30/2019   Q.{i   102 ORDER denying in part ll Motion to Dismiss. Signed by Judge Emmet G.
                        Sullivan on 4/30/2019. (lcegsl) (Entered: 04/30/2019)
04/30/2019   67     103 MEMORANDUM OPINION. Signed by Judge Emmet G. Sullivan on
                        4/30/2019. (leegs1) (Entered: 04/30/2019)
04/30/2019               MINUTE ORDER. In view of 66 Order and 67 Memorandum Opinion, the
                         Court HEREBY ORDERS supplemental briefing on 60 Motion for Certification
                         for Interlocutory Appeal. The President shall file a supplemental brief by no
                         later than May 14, 2019, plaintiffs shall file an opposition by no later than May
                         21, 2019, and the President shall file a reply by no later than May 28, 2019.
                         Signed by Judge Emmet G. Sullivan on 4/30/2019. (lcegsl) (Entered:
                         04/30/2019)
05/01/2019               Set/Reset Deadlines: President Supplemental Brief due by 5/14/2019. Plaintiff
                         Opposition due by 5/21/2019. President Reply due by 5/28/2019. (mac)
                         (Entered: 05/01/2019)
05/03/2019   68          Consent MOTION for Extension of Time to File Answer re 14 Amended
                         Complaint,,, and to File Rule 16.3 Report by DONALD J. TRUMP
                         (Attachments:# l Text of Proposed Order)(Lin, Jean) (Entered: 05/03/2019)
05/03/2019   .22         ENTERED IN ERROR.....Consent MOTION for Extension of Time to File
                         Rule 16.3 Report (same document as Docket No. 68) by DONALD J. TRUMP
                         (Attachments:# l Text of Proposed Order)(Lin, Jean) Modified on 5/7/2019
                         (jt). (Entered: 05/03/2019)
05/07/2019               NOTICE OF CORRECTED DOCKET ENTRY: Document No. re 69 Consent
                         MOTION for Extension of Time to File Rule 16.3 Report (same document as
                         Docket No. 68) was entered in error as a duplicate filing.(jt) (Entered:
                         05/07/2019)
05/07/2019               MINUTE ORDER granting 6-8. consent motion for extension of time to answer
                         and to file Local Civil Rule 16.3 Report. The defendant shall file his answer to
                         the amended complaint, and the parties shall file their Local Civil Rule 16.3
                         Report by no later than May 28, 2019. Signed by Judge Emmet G. Sullivan on
                         5/7/2019. (lcegsl) (Entered: 05/07/2019)
05/08/2019
                                                                                                             36
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                   Set/Reset Deadlines: Answer To The Amended Complaint And Parties To File
                   Their Local Civil Rule 16.3 Report due by 5/28/2019. (mac) (Entered:
                   05/08/2019)
05/08/2019   70    NOTICE of Appearance by Bradley P. Humphreys on behalf of DONALD J.
                   TRUMP (Humphreys, Bradley) (Entered: 05/08/2019)
05/14/2019   71    MOTION for Certification for interlocatory appeal of the Court's April 30, 2019
                   Order, MOTION to Stay Proceedings by DONALD J. TRUMP (Attachments:
                   # l Memorandum in Support,# 2. Text of Proposed Order)(Lin, Jean) (Entered:
                   05/14/2019)
05/15/2019   '12   NOTICE of Appearance by James R. Powers on behalf of DONALD J.
                   TRUMP (Powers, James) (Entered: 05/15/2019)
05/21/2019   73    MOTION for Leave to File TO FILE BRIEF OF SCHOLAR SETH BARRETT
                   TILLMAN AND JUDICIAL EDUCATION PROJECT AS A.MIC! CURIAE IN
                   SUPPORT OF THE DEFENDANTS SUPPLEMENTAL BRIEF IN SUPPORT
                   OF HIS MOTION PURSUANT TO 28 US.C. § 1292(b) FOR CERTIFICATION
                   OF THE COURTS DENIAL OF THE MOTION TO DIS.MISS AND
                   DEFENDANTS MOTION TO STAY by JUDICIAL EDUCATION PROJECT,
                   SETH BARRETT TILLMAN (Attachments:# l Exhibit A -BRIEF OF
                   SCHOLAR SETH BARRETT TILLMAN AND JUDICIAL EDUCATION
                   PROJECT AS AMICI CURIAE IN SUPPORT OF THE DEFENDANTS
                   SUPPLEMENTAL BRIEF IN SUPPORT OF HIS MOTION PURSUANT TO
                   28 U.S.C. § 1292(b) FOR CERTIFICATION OF THE COURTS DENIAL OF
                   MOTION TO DISMISS AND DEFENDANTS MOTION TO STAY,# 2. Text
                   of Proposed Order)(Ray, Robert) (Entered: 05/21/2019)
05/21/2019   74    Memorandum in opposition to re 71 MOTION for Certification for
                   interlocatory appeal of the Court's April 30, 2019 Order MOTION to Stay
                   Proceedings, 60 MOTION for Certification for interlocatory appeal of the
                   Court's September 28, 2018 Order filed by KAREN BASS, MICHAEL F.
                   BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER, MARIA
                   CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                   CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                   COONS, CATHERINE CORTEZ MASTO, TED DEUTCH, TAMMY
                   DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E. GILLIBRAND,
                   KAMALA D. HARRIS, MARTIN HEINRICH, MAZIE K. HIRONO, STENY
                   H. HOYER, SHEILA JACKSON LEE, HAKEEM JEFFRIES, HENRY C.
                   HANK JOHNSON, JR, TIM KAINE, AMY KLOBUCHAR, PATRICK
                   LEAHY, TED W. LIEU, ZOE LOFGREN, EDWARD J. MARKEY, JEFF
                   MERKLEY, CHRIS MURPHY, PATTY MURRAY, JERROLD NADLER,
                   NANCY PELOSI, JAMIE RASKIN, JACK REED, CEDRIC L. RICHMOND,
                   LINDA T. SANCHEZ, BERNARD SANDERS, BRIAN SCHATZ, ERIC
                   SWALWELL, TOM UDALL, CHRIS VAN HOLLEN, ELIZABETH
                   WARREN, SHELDON WHITEHOUSE, RON WYDEN. (Gorod, Brianne)
                   (Entered: 05/21/2019)
05/28/2019   7.2   MEET AND CONFER STATEMENT. (Attachments:# !Exhibit Proposed
                   Scheduling Order)(Gorod, Brianne) (Entered: 05/28/2019)
05/28/2019   �     ANSWER to 14 Amended Complaint,,, by DONALD J. TRUMP.(Lin, Jean)
                   (Entered: 05/28/2019)

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05/28/2019   'JJ..   REPLY to opposition to motion re 11 MOTION for Certification for
                     interlocatory appeal of the Court's April 30, 2019 Order MOTION to Stay
                     Proceedings filed by DONALD J. TRUMP. (Lin, Jean) (Entered: 05/28/2019)
06/03/2019   78      MOTION for Leave to File Surreply by KAREN BASS, MICHAEL F.
                     BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER, MARIA
                     CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                     CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                     COONS, CATHERINE CORTEZ MASTO, TED DEUTCH, TAMMY
                     DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E. GILLIBRAND,
                     KAMALA D. HARRIS, MARTIN HEINRICH, MAZIE K. HIRONO, STENY
                     H. HOYER, SHEILA JACKSON LEE, HAKEEM JEFFRIES, HENRY C.
                     HANK JOHNSON, JR, TIM KAINE, AMY KLOBUCHAR, PATRICK
                     LEAHY, TED W. LIEU, ZOE LOFGREN, EDWARD J. MARKEY, JEFF
                     MERKLEY, CHRIS MURPHY, PATTY MURRAY, JERROLD NADLER,
                     NANCY PELOSI, JAMIE RASKIN, JACK REED, CEDRIC L. RICHMOND,
                     LINDA T. SANCHEZ, BERNARD SANDERS, BRIAN SCHATZ, ERIC
                     SWALWELL, TOM UDALL, CHRIS VAN HOLLEN, ELIZABETH
                     WARREN, SHELDON WHITEHOUSE, RON WYDEN (Attachments:# l
                     Surreply, # 2 Text of Proposed Order)(Gorod, Brianne) (Entered: 06/03/2019)
06/12/2019   'J!l    MOTION for Joinder, MOTION to Enforce by JEFFREY CUTLER
                     (Attachments:# l Exhibits)Gt) (Entered: 06/17/2019)
06/20/2019   fill    Consent MOTION to Amend/Correct Complaint by KAREN BASS,
                     MICHAEL F. BENNET, RICHARD BLUMENTHAL, CORY A. BOOKER,
                     MARIA CANTWELL, BENJAMIN L. CARDIN, TOM CARPER, DAVID N.
                     CICILLINE, JAMES E. CLYBURN, STEVE COHEN, CHRISTOPHER A.
                     COONS, CATHERINE CORTEZ MASTO, TED DEUTCH, TAMMY
                     DUCKWORTH, RICHARD J. DURBIN, KIRSTEN E. GILLIBRAND,
                     KAMALA D. HARRIS, MARTIN HEINRICH, MAZIE K. HIRONO, STENY
                     H. HOYER, SHEILA JACKSON LEE, HAKEEM JEFFRIES, HENRY C.
                     HANK JOHNSON, JR, TIM KAINE, AMY KLOBUCHAR, PATRICK
                     LEAHY, TED W. LIEU, ZOE LOFGREN, EDWARD J. MARKEY, JEFF
                     MERKLEY, CHRIS MURPHY, PATTY MURRAY, JERROLD NADLER,
                     NANCY PELOSI, JAMIE RASKIN, JACK REED, CEDRIC L. RICHMOND,
                     LINDA T. SANCHEZ, BERNARD SANDERS, BRIAN SCHATZ, ERIC
                     SWALWELL, TOM UDALL, CHRIS VAN HOLLEN, ELIZABETH
                     WARREN, SHELDON WHITEHOUSE, RON WYDEN (Attachments:# l
                     Index to Exhibits, # 2 Second Amended Complaint, # .l Redline Comparison, #
                     :1 Proposed Order)(Gorod, Brianne) (Entered: 06/20/2019)
06/20/2019   fil.    NOTICE OF SUPPLEMENTAL AUTHORITY by DONALD J. TRUMP
                     (Attachments:# l Exhibit A)(Powers, James) (Entered: 06/20/2019)
06/25/2019           MINUTE ORDER granting 73 MOTION for Leave to File TO FILE BRIEF OF
                     SCHOLAR SETH BARRETT TILLMAN AND JUDICIAL EDUCATION
                     PROJECT AS AMICI CURIAE IN SUPPORT OF THE DEFENDANT'S
                     SUPPLEMENTAL BRIEF IN SUPPORT OF HIS MOTION PURSUANT TO
                     28 U.S.C. § 1292(b) FOR CERTIFICATION OF THE COURTS DENIAL OF
                     THE MOTION TO DISMISS AND DEFENDANT'S MOTION TO STAY by
                     JUDICIAL EDUCATION PROJECT, SETH BARRETT TILLMAN. Signed by
                     Judge Emmet G. Sullivan on 6/25/2019. (lcegsl) (Entered: 06/25/2019)

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06/25/2019            MINUTE ORDER granting 18. motion for leave to file surreply. Signed by
                      Judge Emmet G. Sullivan on 6/25/2019. (lcegsl) (Entered: 06/25/2019)
06/25/2019   82       VACATED PURSUANT TO COURT'S ORDER OF 8/21/2019.....ORDER
                      denying 60 Motion for Certificate ofAppealability; denying 11 Motion for
                      Certificate of Appealability; finding as moot 71 Motion to Stay. Signed by
                      Judge Emmet G. Sullivan on 6/25/2019. (lcegsl) Modified on 8/25/2019
                      (zcdw). (Entered: 06/25/2019)
06/25/2019            MINUTE ORDER. In view of75 Local Rule 16.3 Report, it is HEREBY
                      ORDERED that other parties shall be joined and the pleadings amended by no
                      later than June 26, 2019; and it is FURTHER ORDERED that fact discovery
                      shall commence on June 28, 2019 and shall conclude on September 27, 2019;
                      and it is FURTHER ORDERED that Plaintiffs shall file their motion for
                      summary judgment by no later than 30 days after the close of discovery;
                      Defendant shall file his opposition and cross-motion for summary judgment by
                      no later than 30 days after Plaintiffs motion; Plaintiffs shall file their opposition
                      and reply by no later than 21 days after Defendants motion; and Defendant shall
                      file his reply by no later than 14 days after Plaintiffs opposition. Signed by
                      Judge Emmet G. Sullivan on 6/25/2019. (lcegsl) (Entered: 06/25/2019)
06/25/2019            MINUTE ORDER granting fill Consent Motion to Amend/Correct. Signed by
                      Judge Emmet G. Sullivan on 6/25/2019. (lcegsl) (Entered: 06/25/2019)
06/25/2019   85       AMICUS BRIEF IN SUPPORT OF THE DEFENDANT'S SUPPLEMENTAL
                      BRIEF IN SUPPORT OF HIS MOTION PURSUANT TO 28 U.S.C. § 1292(b)
                      FOR CERTIFICATION OF THE COURTS DENIAL OF THE MOTION TO
                      DISMISS AND DEFENDANT'S MOTION TO STAY by JUDICIAL
                      EDUCATION PROJECT, SETH BARRETT TILLMAN. (if) (Entered:
                      07/02/2019)
06/25/2019   86       SURREPLY re 71 MOTION for Certification for interlocatory appeal of the
                      Court's April 30, 2019 Order MOTION to Stay Proceedings filed by ALL
                      PLAINTIFFS. (if) (Entered: 07/02/2019)
06/25/2019   87       SECOND AMENDED COMPLAINT against DONALD J. TRUMP filed by
                      ALL PLAINTIFFS.(jf) (Entered: 07/02/2019)
06/26/2019            Set/Reset Deadlines: Amended Pleadings due by 6/26/2019. Fact Discovery due
                      by 9/27/2019. (mac) (Entered: 06/26/2019)
06/26/2019   .8..3.   AMENDED COMPLAINT against DONALD J. TRUMP filed by NANCY
                      PELOSI, STENY H. HOYER, KAMALA D. HARRIS, BERNARD
                      SANDERS, CHRIS MURPHY, CATHERINE CORTEZ MASTO, BENJAMIN
                      L. CARDIN, KAREN BASS, JACK REED, KIRSTEN E. GILLIBRAND,
                      RON WYDEN, CHRISTOPHER A. COONS, ERIC SWALWELL, TOM
                      UDALL, JAMIE RASKIN, SHEILA JACKSON LEE, MAZIE K. HIRONO,
                      HENRY C. HANK JOHNSON, JR, MARIA CANTWELL, CEDRIC L.
                      RICHMOND, TAMMY DUCKWORTH, TOM CARPER, RICHARD
                      BLUMENTHAL, CHRIS VAN HOLLEN, JEFF MERKLEY, BRIAN
                      SCHATZ, STEVE COHEN, CORY A. BOOKER, TED W. LIEU, EDWARD
                      J. MARKEY, MARTIN HEINRICH, TED DEUTCH, HAKEEM JEFFRIES,
                      TIM KAINE, MICHAEL F. BENNET, AMY KLOBUCHAR, RICHARD J.
                      DURBIN, LINDA T. SANCHEZ, SHELDON WHITEHOUSE, DAVID N.
                      CICILLINE, ZOE LOFGREN, PATRICK LEAHY, PATTY MURRAY,
                                                                                                              39
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                     JAMES E. CLYBURN, JERROLD NADLER, ELIZABETH
                     WARREN.(Gorod, Brianne) (Entered: 06/26/2019)
07/08/2019   88      WITHDRAWN PURSUANT TO NOTICE FILED ON 7/8/2019 ..... NOTICE of
                     Petition for Writ of Mandamus by DONALD J. TRUMP (Lin, Jean); Modified
                     on 7/9/2019 (tth). (Entered: 07/08/2019)
07/08/2019   89      NOTICE of Withdrawal of Docket No. 88 by DONALD J. TRUMP re 88
                     Notice (Other) (Lin, Jean) (Entered: 07/08/2019)
07/08/2019   2.Q     NOTICE of Petition for Writ of Mandamus by DONALD J. TRUMP
                     (Attachments:# l Exhibit Petition for Writ ofMandamus)(Lin, Jean) (Entered:
                     07/08/2019)
07/19/2019           MINUTE ORDER. Upon consideration ofthe D.C. Circuit's Order in In re:
                     Donald J. Trump, No. 19-5196 (D.C. Cir. July 19, 2019) (per curiam), the
                     Court, sua sponte, temporarily stays discovery until further Order ofthis Court.
                     Signed by Judge Emmet G. Sullivan on 7/19/2019. (lcegs3) (Entered:
                     07/19/2019)
07/19/2019   92      ORDER ofUSCA ; USCA Case Number 19-5196. (zrdj) (Entered:
                     07/25/2019)
07/22/2019   91      MINUTE ORDER. In view ofthe D.C. Circuit's Order in In re: Donald J.
                     Trump, No. 19-5196 (D.C. Cir. July 19, 2019) (per curiam), the Court, sua
                     sponte, ORDERS supplemental briefmg limited to the issues raised in that
                     Order. Defendant shall file his briefby no later than July 29, 2019; Plaintiffs
                     shall file their response by no later than August 5, 2019; and Defendant shall
                     file his reply by no later than August 12, 2019. Signed by Judge Emmet G.
                     Sullivan on 7/22/2019. (lcegsl) (Entered: 07/22/2019)
07/22/2019           Set/Reset Deadlines: Defendant Briefdue by 7/29/2019. Plaintiff Response due
                     by 8/5/2019. Defendant Reply due by 8/12/2019. (mac) (Entered: 07/22/2019)
07/29/2019   �       RESPONSE TO ORDER OF THE COURT re 91 Order, and Supplemental
                     Brief in Support of Defendant's Motion for Certification of the Court's
                     September 28, 2018 and April 30, 2019 Orders Pursuant to 28 U.S.C. section
                     1292(b) and for a Stay Pending Appeal filed by DONALD J. TRUMP.
                     (Humphreys, Bradley) (Entered: 07/29/2019)
08/05/2019   94      RESPONSE TO ORDER OF THE COURT re 91 Order, PLAINTIFFS'
                     SUPPLEMENTAL BRIEF IN OPPOSITION TO DEFENDANT'S MOTION
                     FOR CERTIFICATION PURSUANT TO 28 U.S.C. § 1292(b) AND MOTION
                     FOR A STAY PENDING APPEAL filed by ALL PLAINTIFFS. (Gorod,
                     Brianne) (Entered: 08/05/2019)
08/12/2019   2..5.   RESPONSE TO ORDER OF THE COURT re 91 Order, and Supplemental
                     Reply Brief in Support of Defendant's Motion for Certification of the Court's
                     September 28, 2018 and April 30, 2019 Orders Pursuant to 28 U.S.C. section
                     1292(b) and for a Stay Pending Appeal filed by DONALD J. TRUMP. (Powers,
                     James) (Entered: 08/12/2019)
08/21/2019   �       MEMORANDUM OPINION AND ORDER VACATING .82. Memorandum
                     Opinion and Order, GRANTING fill motion for certification for interlocutory
                     appeal ofthe Court's September 28, 2018 Order, and GRANTING 11 motion
                     for certification for interlocutory appeal ofthe Court's April 30, 2019 Order and
                                                                                                         40
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                     for stay. Signed by Judge Emmet G. Sullivan on 8/21/2019. (lcegsl) (Entered:
                     08/21/2019)
09/04/2019   97   42 NOTICE OF INTERLOCUTORY APPEAL as to 67 Order, Memorandum
                     Opinion, 66 Order, 59 Memorandum & Opinion, 58 Order on Motion to
                     Dismiss by DONALD J. TRUMP. Fee Status: No Fee Paid. Parties have been
                     notified. (zrdj) (Entered: 09/05/2019)




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                 �niteh �tates d1nurt nf J\ppeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 19-8005                                                 September Term, 2019
                                                                        1 :17-cv-01154-EGS
                                                         Filed On: September 4, 2019
In re: Donald J. Trump, in his official capacity
as President of the United States of America,

              Petitioner


       BEFORE:       Millett, Pillard, and Wilkins, Circuit Judges

                                         ORDER

      Upon consideration of the petition for leave to file an interlocutory appeal and the
response thereto, it is

       ORDERED that the petition be granted. See 28 U.S.C. § 1292(b).

        The Clerk is directed to transmit a copy of this order to the district court. The
district court will file the order as a notice of appeal pursuant to Fed. R. App. P. 5. The
district court is requested to promptly certify and transmit the preliminary record to this
court, after which the case will be assigned a general docket number.

      The parties are directed to submit a proposed expedited briefing schedule within
3 days of the appeal being docketed in this court.

                                        Per Curiam


                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Lynda M. Flippin
                                                           Deputy Clerk




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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


Senator RICHARD BLUMENTHAL,
et al.,

                Plaintiffs,

          v.                     )Civil Action No. 17-1154 (EGS)
                                 )
DONALD J. TRUMP, in his official )
capacity as President of the     )
United States,                   )
                                 )
               Defendant.        )
------------------)

                                  ORDER


     For the reasons stated in the accompanying Memorandum

Opinion, the Court finds that plaintiffs have standing to sue

the President for allegedly violating the Foreign Emoluments

Clause of the United States Constitution. It is hereby

     ORDERED that the motion to dismiss is DENIED IN PART and

DEFERRED IN PART. The Court will schedule a motion hearing

should it determine one to be necessary to resolve the remaining

issues.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 28,2018




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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


Senator RICHARD BLUMENTHAL,
et al.,

                Plaintiffs,

          v.                     )Civil Action No. 17-1154 (EGS)
                                 )
DONALD J. TRUMP, in his official )
capacity as President of the     )
United States,                   )
                                 )
               Defendant.        )
-------------------)
                          MEMORANDUM OPINION

I.   Introduction

     When Members of Congress sue the President in federal court

over official action, a court must first determine whether the

dispute is a "Case" or "Controversy" under Article III of the

United States Constitution, rather than a political dispute

between the elected branches of government. A critical part of

this inquiry is whether the plaintiffs have legal standing to

bring the action. Whether legislators have standing to sue often

turns on whether they can obtain the remedy they seek from the

court from fellow legislators. When a legislative remedy is

available, courts generally dismiss the case on jurisdictional

grounds. The Supreme Court, however, has not foreclosed federal

courts from appropriately exercising jurisdiction over certain

types of disputes between the political branches. This case is



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one of those disputes. And when a case is properly before a

court because it presents an Article III "Case" or

"Controversy," it is the role of the Judiciary "to say what the

law is." Marbury v. Madison, 1 Cranch 137, 177 (1803).

     P laintiffs, approximately 201 minority Members of the 535

Members of the United States Senate and House of

Representatives, allege that Donald J. Trump in his official

capacity as P resident of the United States ("the P resident") is

violating the Foreign Emoluments Clause ("Clause"). Under this

Clause, certain federal officials, including the P resident, may

not "accept" an "emolument" from "any King, P rince or foreign

State" without "the Consent of Congress." U.S Const. art. I, §

9, cl. 8. In Count I, plaintiffs seek declaratory relief

pursuant to 28 U.S.C. § 2201 in the form of a declaratory

judgment stating that the P resident is violating the Clause when

he accepts emoluments from foreign states without first seeking

the consent of Congress. Am. Compl., ECF No. 14 ,, 85-86. In

Count II, plaintiffs seek injunctive relief pursuant to the

Court's inherent authority to grant equitable relief and

pursuant to 18 U.S.C. § 1331 in the form of a Court order

enjoining the P resident from accepting "any present, Emolument,

Office, or Title, of any kind whatever" from a foreign state

without obtaining "the Consent of Congress." Id. , 92.



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     Pend ing before the Court is the Presid ent's motion to

d ismiss. The Presid ent argues that this case should be dismissed

on four ind epend ent grounds,   1   but the threshold question is

whether plaintiffs have stand ing to bring their claims. This

opinion ad d resses only this threshold question. With respect to

the ground s for d ismissal that turn on the merits, the parties

d ispute whether the profits that the Presid ent's business

interests earn from foreign governments are covered

"emoluments." However, for the purpose of d etermining whether

plaintiffs have stand ing to sue, the Court must accept as true

the allegations that the Presid ent has accepted prohibited

foreign emoluments without seeking the consent of Congress.

     As is explained more fully below, the central question for

stand ing purposes is how to characterize the injury that occurs

when the Presid ent fails to seek the consent of Congress, as

required   by the Clause. Plaintiffs argue that each Member of

Congress suffers a particularized and concrete injury when his

or her vote is nullified by the Presid ent's d enial of the

opportunity to vote on the record about whether to approve his




1 The President seeks dismissal on these grounds: (1) lack of
subject matter jurisdiction because plaintiffs do not have
standing to bring their claims; (2) lack of a cause of action to
seek the relief requested; ( 3) failure to state a claim upon
which relief can be granted; and (4) the injunctive relief
sought is unconstitutional. Def.'s Mot. to Dismiss ("Mot. to
Dismiss"), ECF No. 15-1 at 17-18.
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acceptance of a prohibited f oreign emolument. The President

argues that this is an intra-branch dispute which does not

belong in f ederal court because the plaintif f s' remedy is to

convince a majority of their colleagues in both Houses to pass

legislation addressing the President's ability to accept

prohibited f oreign emoluments.

      Upon caref ul consideration of the President's motion to

dismiss, the opposition and reply thereto, the relevant

arguments of   amici, 2 the parties' arguments at the June 7, 2018

motion hearing, and f or the reasons explained below, the Court

f inds that the plaintif f s have standing to sue the President for

allegedly violating the Foreign Emoluments Clause. The Court

theref ore DENIES IN PART the motion to dismiss and DEFERS ruling

on the remaining arguments in the motion to dismiss.

II.   Factual Background

      Relevant to whether they have standing to bring their

claims, plaintiffs allege that the President "has a financial

interest in vast business holdings around the world that engage

in dealings with foreign governments and receive benefits from

those governments." Am. Compl., ECF No. 14        <JI   2. Plaintiffs also

allege that the President owns "'more than 500 separate

entities-hotels, golf courses, media properties, books,


2 The Court appreciates the illuminating analysis provided by the
amici.
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management companies, residential and commercial buildings

airplanes and a profusion of shell companies set up to

capitalize on licensing deals.'" Id. � 34 (citation omitted).

     As a result of his financial interests, plaintiffs allege

the President has accepted, and will accept in the future,

emoluments from foreign states. Id. Indeed, the President has

ack nowledged "that his businesses receive funds and mak e a

profit from payments by foreign governments, and that they will

continue to do so while he is President." Id. � 37. Public

reporting has also confirmed this to be the case. Id. The

President, through his personal attorney, has lik ewise asserted

that the Constitution does not require "him to seek or obtain

Congress' consent before accepting benefits arising out of

exchanges between foreign states and his businesses." Id. � 40.

The President has therefore not provided any information to

Congress about any foreign emoluments he has received. Id. � 41.

Plaintiffs allege that because the President has denied them the

opportunity to give or withhold their consent, he has injured

them in their roles as Members of Congress, id. � 5, and that

they cannot force the President to comply with the Constitution

absent a judicial order, id. � 83.

III. Standard of Review

     A motion to dismiss for lack of standing is properly

considered a challenge to the Court's subject matter

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jurisdiction and should be reviewed under Federal Rule of Civil

Procedure 12(b)(1). Haase v. Sessions, 835 F.2d 902, 906 (D.C.

Cir. 1987)("[ T]he defect of standing is a defect in subject

matter jurisdiction."). The Court must therefore consider the

defendant's motion to dismiss pursuant to Rule 12(b)(1) before

reaching a merits challenge pursuant to Rule 12(b)(6). Sinochem

Int 'l Co. v. Malay Int 'l Shipping Corp., 549 U.S. 422, 430-31

(2007). To survive a Rule 12(b)(1) motion to dismiss, the

plaintiff bears the burden of establishing jurisdiction by a

preponderance of the evidence. Moran v. U.S. Capit ol Police Bd.,

820 F. Supp. 2d 48, 53 (D.D.C. 2011) (citing Lujan v. Defenders

of Wildlife, 504 U.S. 555, 561 (1992)). "Because Rule 12(b)(1)

concerns a court's ability to hear a particular claim, the court

must scrutinize the plaintiff's allegations more closely when

considering a motion to dismiss pursuant to Rule 12(b)(1) than

it would under a motion to dismiss pursuant to Rule 12(b)(6)."

Schmidt   v. U.S. Capit ol Police Bd., 826 F. Supp. 2d 59, 65

(D.D.C. 2011). In so doing, the court must accept as true all of

the factual allegations in the complaint and draw all reasonable

inferences in favor of plaintiffs, but the court need not

"accept inferences unsupported by the facts alleged or legal

conclusions that are cast as factual allegations." Rann v. Chao,

154 F. Supp. 2d 61, 63 (D.D.C. 2001).



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IV.   Analysis

      A.   Standing

      "Article III of the Constitution limits the jurisdiction of

the federal courts to 'Cases' and 'Controversies.'" Susan B.

Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (quoting

U.S. Const. art. III, § 2). "'One element of the case-or­

controversy requirement' is that plaintiffs 'must establish that

they have standing to sue.'" Clapper v. Amnesty Int'l USA, 568

U.S. 398, 408 (2013) (quoting Raines v. Byrd, 521 U.S. 811, 818

(1997)). The standing requirement "serves to prevent the

judicial process from being used to usurp the powers of the

political branches." Id. The standing inquiry "often turns on

the nature and source of the claim asserted" and the specific

facts alleged. Warth v. Seldin, 422 U.S. 490, 500 (1975). "[T]he

law of Art. III standing is built on a single basic idea-the

idea of separation of powers." Allen v. Wright, 468 U.S. 737,

752 (1984).

      To establish standing, "a plaintiff must show (1) an

'injury in fact,' (2) a sufficient 'causal connection between

the injury and the conduct complained of,' and (3) a

'likel[ihood]' that the injury 'will be redressed by a favorable

decision.'" Susan B. Anthony List, 134 S. Ct. at 2341 (quoting

Lujan, 504 U.S. at 560-61 (1992)); see also Hollingsworth v.

Perry, 570 U.S. 700, 705 (2013) ("To have standing, a litigant

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must seek relief for an injury that affects him in a personal

and   ind ivid ual way."). These requirements help to "assure that

the legal questions presented to the court will be resolved , not

in the rarified atmosphere of a d ebating society, but in a

concrete factual context cond ucive to a realistic appreciation

of the consequences of jud icial action." Valley Forge Christian

Coll. v. Ams. United for Separation of Church         &    State, Inc., 454

U.S. 464, 472 (1982). "The [effect of the] exercise of judicial

power [is] most vivid when a fed eral court declares

unconstitutional an act of the Legislative or Executive Branch."

Id. at 473. Therefore, to ensure the "continued effectiveness of

the fed eral courts in performing that role .             . it has been

recognized as a tool of last resort." Id. at 473-74.

       "The party invoking fed eral jurisd iction bears the burden

of establishing these elements." Lujan, 504 U.S. at 561

(citations omitted ). "Since they are not mere pleading

requirements but rather an ind ispensable part of the plaintiff's

case, each element must be supported in the same way as any

other matter on which the plaintiff bears the burd en of proof,

i.e., with the manner and d egree of evid ence required at the

successive stages of the litigation." Id.

      When consid ering whether a legislator has stand ing, the

Court "must carefully inquire as to whether [plaintiffs] have

met their burd en of establishing that their claimed injury is

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personal, particularized, concrete, and otherwise judicially

cognizable." Raines, 521 U.S. at 820. The "standing inquiry [is]

especially rigorous when reaching the merits of the dispute

would force us to decide whether an action taken by one of the

other two branches of the Federal Government was

unconstitutional." Id. at 819-20.

     B.   Foreign Emoluments Clause

     The Foreign Emoluments Clause provides:

          No Title of Nobility shall be granted by the
          United States: And no Person holding any
          Office of Profit or Trust under them, shall,
          without the Consent of the Congress, accept of
          any present, Emolument, Office, or Title, of
          any kind whatever, from any King, Prince, or
          foreign State.

U.S Const. art. I, § 9, cl. 8. "[T]he language of the Emoluments

Clause is both sweeping and unqualified." 17 Op. O.L.C. 114, 121

(1993). The acceptance of an emolument barred by the Clause is

prohibited unless Congress chooses to permit an exception. Id.;

see also Letter from James Madison to David Humphreys (Jan. 5,

1803), https://founders.archives.gov/documents/Madison/02-04-02-

0275# ("the Constitution of the United States has left with

Congress the exclusive authority to permit the acceptance of

presents from foreign Governments by persons holding Offices

under the United States"). And the President may not accept any

emolument until Congress votes to give its consent.



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     The Clause was intended by the Framers to guard against

"corruption and foreign influence." 3M. Farrand, Recor ds of the

Feder al Convention of 1787, 327 (1966). Historically, Presidents

have complied with the Clause by either seeking and obtaining

congressional consent prior to accepting foreign presents or

emoluments, or by requesting an opinion from the Executive or

Legislative Branch's advisory office as to whether the Clause

applies. 3 See Br. of Federal Jurisdiction and Constitutional Law

Scholars as Amici Cur iae in Support of P ls., ECF No. 44 at 24. 4

One such example occurred in 1830 when P resident Jackson placed

"'at the disposal of Congress'" a gold medal presented to him by

the Republic of Colombia, noting that accepting presents from a

foreign government is prohibited by the Constitution. Id.

(quotingMessage of P resident Andrew Jackson to the Senate and

House of Representatives, dated January 19, 1830, 3 Compilation

of the Messages and Paper s of the Pr esidents 1029, 1030 (James

D. Richardson ed., 1897)). Similarly, when the King of Siam

presented P resident Lincoln with various gifts, he informed

Congress, which directed that the gifts "'be deposited in the


3 In deciding a motion to dismiss, "a Court may take judicial
notice of historical, political, or statistical facts, or any
other facts that are verifiable with certainty." Youkelsone v.
FDIC, 910 F. Supp. 2d 213, 221 (D.D.C. 2012) (citing Mintz v.
FDIC, 729 F. Supp. 2d 276, 278 n.2 (D.D.C. 2010)).
4 When citing electronic filings throughout this opinion, the

Court cites to the ECF header page number, not the original page
number of the filed document.
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collection of curiosities at the Department of Interior.'" Id.

at 25 (quoting Joint Resolution No. 20, A Resolution providing

for the Custody of the Letter and Gifts from the King of Siam,

Res. 20, 37th Cong., 12 Stat. 616 (1862)).

     Modern Presidents, except for President Trump, have sought

advice from the Department of Justice Office of Legal Counsel

("OLC") prior to accepting potentially covered emoluments. Id.

For example, President Kennedy requested an opinion on whether

the offer of an "honorary Irish citizenship" would fall within

the scope of the Clause. Id.     (citing 1 Op. O.L.C. Supp. at 278).

And prior to his acceptance of the Nobel Peace Prize in 2009,

President Obama requested an opinion from OLC as to whether

accepting the prize would conflict with the Clause. Id.

     Since the Clause prohibits the President from accepting a

prohibited foreign emolument unless Congress votes to consent,

the Constitution gives each individual Member of Congress a

right to vote before the President accepts. Under the

Constitution, Congress expresses its consent through the

combined votes of its individual members. U.S. Const. art. I, §

9, cl. 8. Congress "consist[s] of a Senate and House of

R epresentatives." Id. art. I, § 1. The "Consent of Congress" is

obtained when a majority of the individual members of each House

vote to consent. Id. art. I, § 3, cl. 1 ("each Senator shall

have one Vote"); id. art. I, § 5, cl. 3 (requiring, at the

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request of one-fifth of those present, that "the Yeas and Nays

of the Members of either House on any question" to be recorded).

T hat Congress acts as "the body as a whole" 5 in providing or

denying consent does not alter each Member's constitutional

right to vote before the President accepts a prohibited foreign

emolument because the body can give its consent only through a

majority vote of its individual members.

     C.   Plaintiffs Have Standing to Bring their Claims

     The President argues that the Court lacks jurisdiction over

plaintiffs' claims because plaintiffs have not met their burden

to establish a judicially cognizable injury as is required by

Article III. Def.'s Mot. to Dismiss ("Mot. to Dismiss"), ECF No.

15 at 21-28; Def.'s Reply ("Reply"), ECF No. 28 at 10-19. The

President also disputes that the alleged injury is fairly

traceable to him. Mot. to Dismiss, ECF No. 15-1 at 24; Reply,

ECF No. 28 at 8.

     Plaintiffs contend that they have standing:        (1) the injury­

in-fact they have suffered is that the President has denied them

a voting opportunity to which the Constitution entitles them;

(2) the injury is fairly traceable to the President's conduct


5 United States v. Ballin, 144 U.S. 1, 7 (1892) ("The two houses
of congress are legislative bodies representing larger
constituencies. Power is not vested in any one individual, but
in the aggregate of the members who compose the body, and its
action is not the action of any separate member or number of
members, but the action of the body as a whole.").
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because he has neither asked for their consent nor provid ed them

with any information about the prohibited foreign emoluments he

has alread y alleged ly accepted ; and    (3) the injury can be

red ressed by a favorable jud icial d ecision if the Court requires

the Presid ent to obtain congressional consent before accepting

prohibited foreign emoluments. Pls.' Opp'n, ECF No. 17 at 13.

     As d iscussed below, the Presid ent's arguments rely on a

repeated misstatement of the injury alleged and on proffers of

plainly inad equate legislative remed ies. The Court is persuaded

that plaintiffs have sustained their burd en to show that they

have stand ing to bring their claims:      (1) they have adequately

alleged a jud icially cognizable injury that is fairly traceable

to the Presid ent and can be red ressed by a favorable judicial

d ecision; and    (2) although plaintiffs' claims raise separation­

of-powers concerns, plaintiffs have no ad equate legislative

remed y and this d ispute is capable of resolution through the

jud icial process.

           1. Supreme Court and D.C. Circuit Precedent

                 a. Raines v. Byrd

     The parties rely heavily on the Supreme Court's decision in

Raines v. Byrd. See generally Mot. to Dismiss, ECF No. 15-1;

Pls.' Opp'n, ECF No. 17; Reply, ECF No. 28 (discussing Raines,

521 U.S. 811 (1997)). The President argues that plaintiffs lack

standing pursuant to Raines; plaintiffs respond that Raines does

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not foreclose their standing to bring their claims and indeed

provides support for it. The Court will therefore discuss the

case in detail.

     In Raines, six members of Congress who had voted against

the Line Item Veto Act ("Act") sued the Secretary of the

T reasury and the Director of the Office of Management and

Budget, challenging the constitutionality of the Act. Raines,

521 U.S. at 814. T he Act authorized the President to "'cancel'

certain spending and tax benefit measures after he ha[d] signed

them into law." Id. T he plaintiffs claimed that the Act injured

them in their official capacities by:      (1) "'alter[ing] the legal

and practical effect of all votes they may cast on bills'"

subject to the Act;   (2) "'divest[ing] [them] of their

constitutional role in the repeal of legislation'"; and

(3) "'alter[ing] the constitutional balance of powers between

the Legislative and Executive Branches .            '" Id. at 816

(quoting Compl.).

     At issue was whether the plaintiffs had standing to bring

their claims. T he Court began its inquiry by focusing on the

requirement in standing analysis that the injury be a personal

one: "We have consistently stressed that a plaintiff's complaint

must establish that he has a 'personal stake' in the alleged

dispute, and that the alleged injury suffered is particularized

as to him." Id. at 819 (quoting Lujan, 504 U.S. at 560-61 and

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n.1). Next, the Court noted "[w]e have also stressed that the

alleged injury must be legally and judicially cognizable. This

requires, among other things, that the plaintiff have suffered

'an invasion of a legally protected interest which is

concrete and particularized,' Lujan, 504 U .S. at 560, and that

the dispute is 'traditionally thought to be capable of

resolution through the judicial process.'" Id.         (quoting Flast v.

Cohen, 392 U .S. 83, 97 (1968)). Finally, the Court noted that

the jurisdictional standing requirement must be strictly

complied with: "our standing inquiry has been especially

rigorous when reaching the merits of the dispute would force us

to decide whether an action taken by one of the other two

branches of the Federal Government was unconstitutional." Id. at

819-20 (citations omitted). "'[T]he law of Art. III standing is

built on a single basic idea-the idea of separation of powers.'"

Id. at 820 (quoting Allen, 468 U .S. at 751). In view of these

observations, the Court concluded that it "must carefully

inquire as to whether appellees have met their burden of

establishing that their claimed injury is personal,

particularized, concrete, and otherwise judicially cognizable."

Id.

      The Court distinguished Powell v. McCormack, in which it

held that a Congressman's "constitutional challenge to his

exclusion from the House of Representatives (and his consequent

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loss of salary) presented an Artic le III c ase or controversy,"

id. at 820-21 (c iting Powell, 395 U.S. 486, 496, 512-14 (1969)),

on two grounds. First, the Raines plaintiffs had not been

singled out for unfavorable treatment from the other members of

their respec tive bodies as oc c urred in Powell; rather, "[t]heir

c laim is that the Ac t c auses a type of institutional injury (the

diminution of legislative power), whic h nec essarily damages all

Members of Congress and both Houses of Congress equally." Id. at

821. Sec ond, the Raines plaintiffs "[did] not c laim that they

have been deprived of something to whic h they are personally

entitled        " id.; rather, their

           claim of standing is based on a loss of
           political power, not loss of any private
           right, which would make the injury more
           concrete.        [T]he injury claimed by the
           Members of Congress here is not claimed in any
           private capacity but solely because they are
           Members of Congress. If one of the Members
           were to retire tomorrow, he would no longer
           have a claim; the claim would be possessed by
           his successor instead. The claimed injury thus
           runs (in a sense) with the Member's seat, a
           seat which the Member holds (it may quite
           arguably be said) as        trustee  for   his
           constituents, not as a prerogative of personal
           power.

Id.   (internal citation omitted). Thus, according to the Court,

the Raines plaintiffs' injury was an institutional one and not

sufficiently concrete and personal.

      The Court then distinguished Coleman v. Miller, "[t]he one

case in which we have upheld standing for legislators (albeit

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state leg islators) claiming an institutional injury." Id.

(discussing Coleman v. Miller, 307 U.S. 433 (1939)). In Coleman,

the vote on whether to ratify a proposed federal constitutional

amendment was tied at twenty to twenty, which meant the

amendment would not have been ratified. Id. at 822 (citing

Coleman, 307 U.S. at 436). The Lieutenant Governor, as the

presiding officer of the State Senate, cast a vote in favor of

the amendment and it was deemed ratified. Id. The twenty state

senators who had voted ag ainst the amendment sued, and

eventually the Court held that the members of the legislature

had standing because "if these leg islators (who were suing as a

bloc) were correct on the merits, then their votes not to ratify

the amendment were deprived of all validity." Id. In Raines, the

Court clarified that "our holding in Coleman stands .           . for

the proposition that leg islators whose votes would have been

sufficient to defeat (or enact) a specific leg islative Act have

standing to sue if that leg islative action g oes into effect (or

does not g o into effect), on the g round that their votes have

been completely nullified." Id. at 823. Noting that this is what

the Coleman holding stands for "at most," the Court declined to

disting uish Coleman on, inter alia, the g round that "Coleman has

no applicability to a similar suit broug ht by federal

leg islators, since the separation-of-powers concerns present in

such a suit were not present in Coleman               " Id. at 824 n.8.

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     The Court then distinguished the claims in Raines from

those in Coleman:

          [Here], [plaintiffs] have not alleged that
          they voted for a specific bill, that there
          were sufficient votes to pass the bill, and
          that the bill was nonetheless deemed defeated.
          In the vote on the Act, their votes were given
          full effect. They simply lost that vote. Nor
          can they allege that the Act will nullify
          their votes in the future in the same way that
          the votes of the Coleman legislators had been
          nullified. In the future, a majority of
          Senators and Congressmen can pass or reject
          appropriations bills; the Act has no effect on
          this process. In addition, a majority of
          Senators and Congressmen can vote to repeal
          the Act, or to exempt a given appropriations
          bill    (or   a   given   provision    in   an
          appropriations bill) from the Act; again, the
          Act has no effect on this process.

Id. at 824 (footnote omitted). Thus, according to the Court, the

Raines plaintiffs could not allege that their votes had been

nullified in the past; rather, they had lost the vote on the

Act. See id. And the Raines plaintiffs could not allege that

their votes would be nullified in the future because they had a

variety of legislative remedies at their disposal. See id.

     The Court then considered the lack of a historical practice

of lawsuits being filed "on the basis of claimed injury to

official authority or power u as a result of analogous

confrontations between the Legislative and Executive Branches of

the federal government. Id. at 826; see also infra Section

IV.3.b. The Court concluded that, under the Constitution, it is


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not the role of the Article III courts to have "'some amorphous
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general supervision of the operations of government .
Raines, 521 U.S. at 829 (quoting United States v. Richardson,
418 U.S. 166, 192 (1974) (Powell, J., concurring)).

     The Court rejected the Raines plaintiffs' b asis for

standing, ultimately holding that "these individual memb ers of

Congress do not have a sufficient 'personal stake' in this

dispute and have not alleged a sufficiently concrete injury to

have estab lished Article III standing." Id. at 830 (no citation

for internal quotation in original). In so holding, the Court

noted that "appellees have alleged no injury to themselves as

individuals (contra, Powell), the institutional injury they

allege is wholly ab stract and widely dispersed (contra,

Coleman), and their attempt to litigate this dispute at this

time and in this form is contrary to historical experience." Id.

at 829. The Court stated that it "attach[ed] some importance to

the fact that appellees have not b een authorized to represent

their respective Houses of Congress in this action, and indeed

b oth Houses actively oppose their suit." Id.       (footnote omitted).

The Court also thought it important to note that "our conclusion

[does not] deprive[] Memb ers of Congress of an adequate remedy

(since they may repeal the Act or exempt appropriations bills

from its reach) nor forecloses the Act from constitutional



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challenge (by someone who suffers judicially cognizable injury

as a result of the Act)." Id.

             b. Arizona State Legis1ature v. Arizona Independent
                Redistricting Commission

     Relying on Coleman, the Supreme Court recently reaffirmed

that legislators, albeit state legislators as an institutional

plaintiff, have standing to sue based on a vote nullification

claim. In Arizona State Legislature v. Arizona Independent

Redistricting Commission, the state legislature plaintiff

challenged a ballot measure that would have denied it the

authority to draw congressional districts. 135 S. Ct. 2652, 2659

(2015). The legislature's alleged injury was that the ballot

initiative deprived it of its legislative prerogative to

initiate redistricting. Id. at 2663. Relying on Coleman, as

clarified in Raines, the Court held that the plaintiff had

standing because "their votes have been completely nullified."

Id. at 2665 (quoting Raines, 521 U.S. at 823). As the Court

explained, "[o]ur conclusion that the Arizona Legislature has

standing fits [within Coleman]" because the ballot initiative

"together with the Arizona Constitution's ban on efforts to

undermine the purposes of an initiative" would "'completely

nullif[y]' any vote by the Legislature, now or 'in the future,'

purporting to adopt a redistricting plan." Id. at 2667 (quoting

Raines, 521 U.S. at 823-24). The Court distinguished Raines on


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the g rounds that Raines had not been broug ht by an institutional

plaintiff: "The Arizona Leg islature, in contrast, is an

institutional plaintiff asserting an institutional injury, and

it commenced this action after authorizing votes in both of its

chambers. That 'different         . circumstanc[e],' was not sub

judice in Raines." Id. at 2664 (citation omitted). The Court also

noted that the case before it "does not touch or concern the

question whether Cong ress has standing to bring a suit against

the President .     . which would raise separation of powers

concerns absent here." Id. at 2665 n.12.



                        *     *     *     *     *


     In sum, Raines teaches that when a suit is brought by an

individual Member of Congress, the member can allege either a

personal injury or an institutional injury. If the injury is

personal, standing is present when the injury arises out of

something to which the member is personally entitled, such as

the salary associated with his or her seat. As to an

institutional injury, the Court has recognized standing when a

legislator's vote has been completely nullified. The Supreme

Court has upheld legislator standing based on a vote

nullification claim in two instances. In Coleman, a bloc of

individual state "legislators whose votes would have been

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sufficient to defeat (or enact) a specific leg islative Act have

standing to sue if that leg islative action g oes into effect (or

does not g o into effect), on the g round that their votes have

been completely nullified." Raines, 521 U.S. at 823 (footnote

omitted). In Arizona State Legislature, the leg islature, as an

institutional plaintiff authorizing the lawsuit, had standing to

sue based on the alleg ed nullification of their votes "now" or

"in the future" as a result of a ballot initiative. 135 S. Ct.

at 2667. Althoug h neither of these cases implicated federal

separation-of-powers concerns, the Raines Court specifically

declined to hold that Coleman would be inapplicable "to a

similar suit broug ht by federal leg islators." Raines, 521 U.S.

at 824 n.8.

     Raines also teaches that it is not necessary for an

institutional claim to be broug ht by or on behalf of the

institution. Id. at 829 ("We attach some importance to the fact

that appellees have not been authorized to represent their

respective Houses of Cong ress in this action, and indeed both

Houses actively oppose their suit."). Indeed, in Coleman, the

claim was not broug ht on behalf of the state senate as an

institutional plaintiff, but rather by a bloc of individual

leg islators who had voted not to ratify the constitutional

amendment. 307 U.S. at 436. Finally, by not overruling         Coleman,

the Raines Court sug g ests that vote nullification is an

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institutional injury that is personal, although not in the sense

that the injury in Powell was personal, to the legislators

entitled to cast the vote that has been nullified.

     Regarding the separation-of-powers concerns implicated by

an inter-branch suit, Raines instructs the Court to consider

whether there is a lack of a historical practice of lawsuits

being filed "on the basis of claimed injury to official

authority or power" as a result of analogous confrontations

between the Legislative and Executive Branches of the federal

government. Raines, 521 U.S. at 826. Raines also instructs the

Court to consider whether there is an adequate legislative

remedy and whether another plaintiff could bring the case. Id.

             c. D.C. Circuit Precedent

     The Court of Appeals for the District of Columbia Circuit

("D.C. Circuit") has applied Raines twice, each time finding

legislator standing to be foreclosed. 6 In Chenoweth v. Clinton,

four members of Congress sued the President and another


6 Because the Court has determined that plaintiffs have standing
to bring their claims pursuant to Raines and subsequent D.C.
Circuit precedent, it need not address the parties' arguments
regarding pre-Raines D.C. Circuit authority. At oral argument,
the Court questioned plaintiffs about their reliance on pre­
Raines D.C. Circuit authority, given that Raines called into
question portions of that authority. See Chenoweth, 181 F.3d
112, 115 (D.C. Cir. 1999). In response, plaintiffs clarified
their reliance on Raines and post-Raines D.C. Circuit precedent
for the proposition that they have standing based on their vote
nullification claim. Hr'g Tr., ECF No. 54 at 20:22-24.


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Executive Branch official to enjoin the implementation of the

American Heritage Rivers Initiative ("AHRI"), a program

President Clinton created b y Executive Order. 181 F.3d 112, 112

(D.C. Cir. 1999). After President Clinton announced his

intention to create the AHRI, three of the four plaintiffs

introduced a b ill to end the program, b ut it never came to a

vote. Id. at 113. Plaintiffs then sued, alleging that the

President's creation of the program b y Executive Order "deprived

[the plaintiffs] of their constitutionally guaranteed

responsib ility of open deb ate and vote on issues and legislation

involving interstate commerce, federal lands, the expenditure of

federal monies, and implementation of the [National

Environmental Policy Act]." Id.     (citing Compl.). Applying

Raines, the Court held that the plaintiffs lacked standing

b ecause the injury they alleged was "a dilution of their

authority as legislators," which was "identical to the injury

the Court in Raines deprecated as 'widely dispersed' and

'ab stract.'" Id. at 115 (no citation for internal quotation in

original). The Court reasoned that "[i]f, as the Court held in

Raines, a statute that allegedly 'divests [congressmen] of their

constitutional role' in the legislative process does not give

them standing to sue, then neither does an Executive Order that

allegedly deprives congressmen of their 'right[] to participate

and vote on legislation in a manner defined b y the

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Constitution.'" Id.   (citation omitted). A central element of the

Court's reasoning was that "[i]t [was] uncontested that the

Congress could terminate the AHR I were a sufficient number in

each House so inclined." Id. at 116.

     In view of the Supreme Court's decision in Raines, the

Court considered whether its earlier ruling in Kennedy v.

Sampson survived. Id. at 116-17 (discussing Kennedy v. Sampson,

511 F.2d 430 (D.C. Cir. 1974)). In Kennedy, the Court held,

partially relying on the pre-Raines understanding of Coleman,

that an individual Senator had standing to challenge a

Presidential pocket veto. Kennedy, 511 F.2d at 433-35. Noting

that Raines narrowed the Coleman holding, the Court stated that

Kennedy may nonetheless remain good law:

          Even under this narrow interpretation, one
          could argue that the plaintiff in Kennedy had
          standing. The pocket veto challenged in that
          case had made ineffective a bill that both
          houses of the Congress had approved. Because
          it was the President's veto-not a lack of
          legislative support-that prevented the bill
          from becoming law (either directly or by the
          Congress voting to override the President's
          veto), those in the majority could plausibly
          describe the President's action as a comp1ete
          nu11i£ication of their votes.

Chenoweth, 181 F.3d. at 116-17 (emphasis added). The Court

distinguished the claims before it from Coleman on the ground

that plaintiffs "do not allege that the necessary majorities in

Congress voted to block the AHRI. Unlike the plaintiffs in


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Kennedy and Coleman, therefore, they cannot claim their votes

were effectively nullified by the machinations of the

Executive." Id. at 117.

     In the second post-Raines case considered, Campbell v.

Clinton, thirty-one Members of Congress sued President Clinton,

alleging that he violated the War Powers Resolution and the War

Powers Clause of the Constitution by directing the participation

of U.S. forces in Yugoslavia. 203 F.3d 19, 19 (D.C. Cir. 2010).

A month after President Clinton announced that participation,

Congress voted on four resolutions related to the conflict:

(1) a declaration of war was defeated 427 to 2;        (2) an

"authorization" of the air strikes was defeated 213 to 213;

(3) a resolution that would have required the President to end

U.S. participation in the operation was defeated; and

(4) funding for involvement in the operation was approved. Id.

at 20. Plaintiffs claimed that they fit within the "Coleman

exception to the Raines rule" by filing suit after having

"defeat[ ed] the War Powers Resolution authorization by a tie

vote." Id. at 22. The Court found neither of their claims to be

analogous to the nullification that occurred in Coleman, which

the Court understood "to mean treating a vote that did not pass

as if it had, or vice versa." Id. at 22. In Coleman, "state

officials endorsed a defeated ratification, treating it as

approved, while the President here did not claim to be acting

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pursuant to the defeated declaration of war or a statutory

authorization, but instead 'pursuant to [his] constitutional

authority to conduct U.S . foreign relations and as Commander-in­

Chief and Chief Executive.'" Id. at 22 (discussing Coleman v.

Miller, 307 U.S . 433 (1939) and quoting Letter to Congressional

Leaders Reporting on Airstrikes Against S erbian Targets in the

Federal Republic of Yugoslavia (S erbia and Montenegro), 35

Weekly Comp. Pres. Doc. 528 (Mar. 26, 1999)). The Court reasoned

that plaintiffs' argument based on the War Powers Resolution,

"although cast in terms of the nullification of a recent vote,

essentially is that the President violated the . . . War Powers

Resolution" and their argument based on the War Powers Clause

"is that the President has acted illegally-in excess of his

authority-because he waged war in a constitutional sense without

a congressional delegation." Id. Regarding the Raines Court's

use of the word "nullification," the Court stated:

          We think the key to understanding the Court's
          treatment of Coleman and its use of the word
          nullification is its implicit recognition that
          a ratification vote on a constitutional
          amendment is an unusual situation. It is not
          at all clear whether once the amendment was
          "deemed ratified," see Raines, 521 U.S. at
          822, the Kansas Senate could have done
          anything to reverse that position. We think
          that must be what the Supreme Court implied
          when it said the Raines plaintiffs could not
          allege that the "[Line Item Veto Act] would
          nullify their votes in the future," and that,
          after all, a majority of senators and
          congressmen could always repeal the Line Item

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          Veto Act. Id. at 824 (emphasis added). The
          Coleman senators, by contrast, may well have
          been powerless to rescind a ratification of a
          constitutional amendment that they claimed had
          been defeated. In other words, they had no
          legislative remedy.


Id. at 22-23 (quoting Raines, 521 U.S. at 824) (footnote

omitted). Applying Raines, the Court held that the plaintiffs

lacked standing under "the Coleman exception" because they had

"ample legislative power to have stopped prosecution of the

'war'" despite having lost the vote on the War Powers Resolution

authorization. Id. at 23 (no citation for internal quotation in

original). Therefore, despite the tie vote, the Campbell

plaintiffs had legislative remedies at their disposal, unlike

the situation in Coleman.



                        *     *     *     *     *


     In sum, D.C. Circuit precedent teaches that individual

Members of Congress do not have standing to sue the Executive

Branch when their institutional injury is such that they can

obtain their remedy in Congress. In Campbell, the Court

understood vote nullification "to mean treating a vote that did

not pass as if it had, or vice versa." Campbell, 203 F.3d at 22.

In Chenoweth, the Court suggested that notwithstanding Raines, a

single Member of Congress could have standing to sue based on a

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vote nullification claim when it was the President's action,

rather than "a lack of legislative support," that nullified the

Member's vote. Chenoweth, 181 F.3d at 117. Such a situation is

therefore a third instance of a type of vote nullification for

which a legislator could have standing. 7

          2. Plaintiffs Adequately Allege a Judicially Cognizable
             Injury

             a. Injury-in-Fact

     To establish that they have an injury-in-fact, plaintiffs

must allege that their injury is "personal, particularized,

concrete, and otherwise judicially cognizable." Raines, 521 U.S.

at 820. Regarding the requirement that the injury be "legally

and judicially cognizable," "the plaintiff [must allege to] have

suffered 'an invasion of a legally protected interest which is .




7 The closest constitutional analogy to plaintiffs' claims here
is that in Kucinich v. Bush. 236 F. Supp. 2d 1 (D.D.C. 2002). In
that case, thirty-two Members of the House of Representatives
"challenged President Bush's unilateral withdrawal from the 1972
Anti-Ballistic Missile Treaty . . . without the approval of
Congress," contending that President Bush was required to obtain
their consent before terminating a treaty. Id. at 1. Applying
Raines, Chenoweth, and Campbell, the Court held plaintiffs did
not have standing because their "claim of a 'grievous
institutional injury' where they are 'deprived of their
constitutional right .   . to participate in treaty termination'
was no different from the institutional injuries alleged in
Chenoweth, Campbell, and Raines. " Id. at 9. The Court did not
discuss whether the plaintiffs' votes had been nullified. In any
event, the Court also concluded that the plaintiffs' raised a
nonjusticiable political question. Id. The President has not
argued that the claims here involve nonjusticiable political
questions. Therefore, this persuasive authority is inapposite.
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  . concrete and particularized' Lujan, 504 U.S. at 560, and

that the dispute is 'traditionally thought to be capable of

resolution through the judicial process.'" Id. at 819 (quoting

Flast, 392 U.S. at 97).

             b. Plaintiffs Adequately Allege an Institutional
                Injury

     In the context of legislator standing, the Supreme Court

has recognized at least one type of institutional injury for

which legislators may have standing to sue: complete vote

nullification. Coleman, 307 U.S. at 438; Raines, 521 U.S. at

821-23; Ariz. State Legislature, 135 S. Ct. at 2667; Cummings v.

Murphy, No. 17-2308, slip op. at 18 (D.D.C. Aug. 14, 2018)

("[c]omplete vote nullification is clearly a type of

institutional injury sufficient to support legislator

standing"). Since an institutional injury will "necessarily

damage all Members of Congress and both Houses of Congress

equally," Raines, 521 U.S. at 821, it will not be a personal

injury in the sense that the injury in Powell was personal. If

institutional injuries were incapable of also being personal to

individual members of the institution, however, the Court in

Raines would have overruled Coleman. Id. at 819 ("We have

consistently stressed that a plaintiff's complaint must

establish that he has a 'personal stake' in the alleged dispute,

and that the alleged injury suffered is particularized as to


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him."). Instead, the Supreme Court reaffirmed Coleman in both

Raines, id. at 821, and Arizona State Legislature, 135 S. Ct. at

2665, necessarily holding that the institutional injury alleged

-vote nullification-was sufficiently personal to each of the

individual plaintiffs to satisfy the standing requirement under

Article III.

     The Clause requires the President to ask Congress before

accepting a prohibited foreign emolument. Accepting the

allegations in the Complaint as true, which the Court must at

this juncture, the President is accepting prohibited foreign

emoluments without asking and without receiving a favorable

reply from Congress. The "nature and source of the claim,"

Warth, 422 U .S. at 500, is an unusual 8 constitutional provision

which unambiguously prohibits the President from accepting any

emolument from "any King, Prince or foreign State" unless

Congress chooses to permit an exception. U .S. Const. art. I, §

9, cl. 8; 17 Op. O.L.C. 114, 121 (1993). The specific facts

alleged are that the President has accepted, and intends to

continue accepting, prohibited foreign emoluments without

seeking congressional consent. Am. Compl., ECF No. 14 �� 4, 37,

39, 40, 77, 78, 79. Furthermore, the President has not provided


8 The only similar provision is the Article II requirement that
the President obtain the advice and consent of Congress prior to
taking covered executive branch action. U.S. Const. art. II, §
2, cl. 2.
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any information to Congress about any foreign emol uments he has

received. Id. �� 41, 80. The President is depriving plaintiffs

of the opportunity to give or withhol d their consent, thereby

injuring them "in their rol es as members of Congress." Id. � 5.

Specifical l y, the President has neither sought plaintiffs'

consent prior to accepting prohibited foreign emol uments, nor

provided any information to Congress about them, thereby

preventing pl aintiffs from "exercis[ing] their constitutional

prerogative to authorize or reject the specific emol uments he is

accepting." Id. � 41. Pl aintiffs adequatel y al l ege that the

President has compl etel y nul l ified their votes in the past

because he has accepted prohibited foreign emol uments as though

Congress had provided its consent. And he wil l completely

nul l ify their votes in the future for the same reason, as

pl aintiffs al l ege that he intends to continue this practice. The

President's al l eged acceptance of prohibited foreign emoluments

as though Congress provided consent is indistinguishabl e from

"treating a vote that did not pass as if it had, or vice versa."

Campbell, 203 F.3d at 22. And, as soon as the President accepts

a prohibited foreign emol ument without obtaining congressional

consent, his acceptance is irreversibl e. Id. at 22-23.

Accordingl y, pl aintiffs adequatel y al l ege that the President has

compl etel y nul l ified their votes.



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     Althoug h plaintiffs do not sue on behalf of Cong ress, but

rather in their individual official capacities as Members of

Cong ress, their ability to bring this suit is not foreclosed by

Supreme Court and D.C. Circuit precedent. The Raines Court did

not hold that it would be necessary for an institutional claim

to be broug ht by or on behalf of the institution. Raines, 521

U.S. at 829. Rather, the fact that the case had not been

authorized by the institution was a relevant consideration, but

not dispositive, in determining that the Raines plaintiffs

lacked standing . Id. Moreover, the claim in Coleman was not

broug ht on behalf of the state senate as an institutional

plaintiff, but rather by a bloc of individual members who had

voted not to ratify the constitutional amendment. Coleman, 307

U.S. at 438. The Supreme Court disting uished Raines from Arizona

State Legislature because the latter was broug ht by the

leg islature as an institution, Ariz. State Legislature, 135 S.

Ct. at 2664, but in finding the leg islature to have standing,

the Supreme Court did not hold that an institutional claim may

be broug ht only by the institution. See generally id.

Furthermore, notwithstanding    Raines, a sing le Member of Congress

could have standing to sue based on a vote nullification claim

when it was the President's action, rather than "a lack of

leg islative support," that nullified the Member's vote.

Chenoweth, 181 F.3d at 117.

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                i. The President Misstates the Injury

     The President acknowledges that "when a legislative vote is

deemed defeated by executive action," the legislator has

standing to sue unless there is a legislative remedy. Mot. to

Dismiss, ECF No. 15-1 at 17. Although he disputes that

plaintiffs' votes have been "defeated by executive action," his

argument relies on a misstatement of the alleged injury. The

President contends that plaintiffs cannot plausibly allege that

he has prevented votes from being taken on the emoluments bills

pending before Congress, 9 or that he has prevented Congress from

otherwise voting on the emoluments issue. Id. at 24, 26. He also

emphasizes that Congress may still choose to vote on the pending

bills or on bills introduced in the future. Id. at 26. However,

the votes contemplated by the President are not votes to

consent, or not, in response to the President's request for

consent prior to his acceptance of a prohibited foreign

emolument. Rather, these are votes on the issue of emoluments.

Injury to their power to 1egis1ate on the issue 0£ emo1uments is

not the injury plaintiffs allege. See generally Am. Compl., ECF

No. 14. To be clear, plaintiffs' alleged injury is caused by the


9 See S. Con. Res. 8, 115th Cong. (2017) (among other things,
declaring the President's dealings through his companies with
foreign governments to be potential violations of the emoluments
clause); H.R.J. Res. 16, 115th Cong. (2017) (denying
congressional consent for the President to accept any foreign
emolument during his Presidency).
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President's alleged refusal to give them the opportunity to

exercise their constitutional right to vote on whether to

consent prior to his acceptance of prohibited foreign

emoluments. It is irrelevant that Congress can express its

consent through legislation on the issue of emoluments or that

it has done so in the past on limited occasions. 10 In the absence

of such legislation, the President deprives plaintiffs of the

opportunity to vote every time he accepts an emolument from "any

King, Prince, or foreign State" without the consent of Congress.

U .S. Const. art. I, § 9, cl. 8. 11

                ii. The President Reads the Precedent too
                    Narrowly

     According to the President, a Court may conclude that

plaintiffs have standing for a vote nullification claim only

when they can "allege that 'the necessary majorities in the

Congress voted' to withhold consent to the President's alleged


10 See Foreign Gifts and Decorations Act of 1966, 5 U.S.C. §
7342.
11 Similarly, the President argues that unlike the situation in

Coleman, there is nothing that is "unusual" or "irreversible"
here because Congress may choose to vote on "the emoluments
issue" in the future. Mot. to Dismiss, ECF No. 15-1 at 26;
Reply, ECF No. 28 at 14. Again, the President's argument relies
on the same misstatement of the alleged injury. Moreover, each
time the President accepts prohibited foreign emoluments without
the consent of Congress, that acceptance without consent is
irreversible. Finally, although not "unusual" in the sense that
word was used in Coleman, the President's failure to comply with
the Clause is highly unusual given that prior Presidents have
ensured that their actions were consistent with the Clause. See
supra Section IV.B.
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a ccepta nce of prohibited foreign emoluments." Mot. to Dismiss,

ECF No. 15-1 a t 25 (quoting Chenoweth, 181 F.3d a t 117). As an

initia l ma tter, a ga in the President ha s missta ted the injury.

Moreover, the Court disa grees with this na rrow rea ding of

Coleman. Although the Raines Court na rrowed the Coleman holding,

the Court neither held nor implied tha t the only type of vote

nullifica tion cla im for which a legisla tor would ha ve standing

would be "legisla tors whose votes would ha ve been sufficient to

defea t (or ena ct) a specific legisla tive Act         . if that

legisla tive a ction goes into effect (or does not go into

effect), on the ground tha t their votes ha ve been completely

nullified." Raines, 521 U.S. a t 823. Indeed, following Raines,

the Supreme Court recognized tha t the Arizona Sta te Legislature

a s a n institutiona l pla intiff ha d sta nding to bring a vote

nullifica tion cla im. See Ariz. State Legislature, 135 S. Ct. at

2667. The legisla ture there did not a llege tha t it ha d the

"necessa ry ma jorities" to ta ke a ction; ra ther the cla imed injury

wa s tha t the ba llot initia tive deprived the pla intiff of a

legisla tive "preroga tive." Id. a t 2663. The D.C. Circuit has

empha sized tha t the Coleman exception is a     "na rrow rule,"

Chenoweth, 181 F.3d a t 116; see Campbell, 203 F.3d a t 22-23, and

ha s interpreted the Coleman exception "to mea n trea ting a vote

tha t did not pa ss a s if it ha d, or vice versa ," Campbell, 203

F.3d a t 22. As the Court ha s expla ined, supra Section IV.C.2.b,

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here the President has allegedly ac c epted prohibited foreign

emoluments as though Congress has provided its c onsent, whic h is

indistinguishable from "treating a vote that did not pass as if

it had, or vic e versa." 12 Id.

     The President insists that upholding standing here would

require a "drastic extension of Coleman," whic h the Supreme

Court in Raines rejec ted. Mot. to Dismiss, ECF No. 15-1 at 25.

The Court disagrees. Raines would have required a drastic

extension of Coleman bec ause the nature of the vote

nullific ation in Coleman was different from the "abstract

dilution of legislative power" alleged in Raines. Raines, 521

U.S. at 826. And c ritic ally, the Raines plaintiffs had adequate

legislative remedies at their disposal. Id. at 824. Here, by

c ontrast, the President's c omplete nullific ation of plaintiffs'

votes is entirely different from the "abstrac t dilution of

legislative power" alleged in Raines. Id. at 826. And as will be

explained in detail, plaintiffs have no adequate legislative

remedies. See infra Sec tion IV.C.4.




12For the same reason, the Court rejects the President's
argument that plaintiffs' reliance on the vote nullification
theory articulated in Coleman is misplaced to the extent they
claim their injury encompasses being deprived of the option of
not voting because none of the precedent recognizes such an
injury. Reply, ECF No. 28 at 17.
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             c. Plaintiffs' Alleged Injury is Personal,
                Particularized and Concrete

     Plaintiffs allege that the President has accepted, and

intends to continue accepting, prohibited foreign emoluments

without seeking congressional consent, thereby depriving them of

the opportunity to vote on whether to consent to his acceptance

of emoluments before he accepts them. Am. Compl., ECF No. 14 ��

3-4. Plaintiffs' injury is to a "legally protected interest"

because the Clause prohibits the President from accepting "any"

emolument from "any King, Prince, or foreign State" without the

consent of Congress. U.S Const. art. I, § 9, cl. 8. Consent is

obtained through the aggregate of the specific votes that each

individual Member of Congress is entitled to take. Id. art. I, §

1; art. I, § 3, cl. 1; art. I, § 5, cl. 3. Although this injury

is dispersed among all Members of Congress, as will necessarily

be the case when an institutional injury is alleged, this does

not render the injury less concrete or particularized. See

Raines, 521 U.S. at 821 (stating an institutional injury will

"necessarily damage all Members of Congress and both Houses of

Congress equally"); Ariz. State Legislature, 135 S. Ct. at 2664

(Plaintiff "is an institutional plaintiff asserting an

institutional injury"). Rather, each time the President

allegedly accepts a foreign emolument without seeking

congressional consent, plaintiffs suffer a concrete and


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particularized injury-the deprivation of the right to vote on

whether to consent to the President's acceptance of the

prohibited foreign emolument-before he accepts it. And although

the injury is an institutional one, the injury is personal to

legislators entitled to cast the vote that was nullified. See

Raines, 521 U.S. at 823 (narrowing but not overruling the

holding in Coleman); Ariz. State Legislature, 135 S. Ct. at

2664-65 (holding that the legislature has standing to sue);

supra Section IV.C.2.b. Accordingly, plaintiffs adequately

allege that they "have suffered 'an invasion of a legally

protected interest which is .           [personal,] concrete and

particularized.'" Raines, 521 U.S. at 819 (quoting Lujan, 504

U.S. at 560).

     T he President argues that the injury alleged here is

insufficiently concrete to give the plaintiffs a "personal stake

in the dispute" because the injury "damages all Members of

Congress and both Houses of Congress equally." Reply, ECF No. 28

at 10 (quoting Raines, 521 U.S. at 821, 830). Furthermore,

according to the President, the alleged injury cannot support

Article III standing because it is felt equally by all Members

of Congress "solely because they are Members of Congress," as

distinct from the personal injury alleged in Powell. Reply, ECF

No. 28 at 11 (quoting Raines, 521 U.S. at 821). T he Court

disagrees. T he Raines Court recognized two types of injuries

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that could support legislator standing:       (1) a personal injury

such as that typified in Powell; and (2) an institutional

injury-vote nullification-such as that in Coleman. Raines, 521

U .S. at 829-30. An institutional injury will "necessarily damage

all Members of Congress and both Houses of Congress equally" and

will be felt equally by Members of Congress "solely because they

are Members of Congress." Id. at 821. And as explained, supra at

30-31, by reaffirming Coleman in Raines and Arizona State

Legislature, the Supreme Court necessarily held that the

institutional injury alleged was sufficiently personal to each

of the plaintiffs to satisfy the standing requirement under

Article III.

                i. Plaintiffs' Alleged Injury is Distinguishable
                   from the Injuries Alleged in the Precedent

     The President argues that plaintiffs' claims are squarely

foreclosed by Raines. The Court disagrees. As an initial matter,

the President reads Raines to establish "a foundational

principle that the denial of institutional legislative

prerogative is not a judicially cognizable injury." Mot. to

Dismiss, ECF No. 15-1 at 16. This broad principle, however, is

not supported by Raines. Raines establishes that legislators may

have standing based on the nullification of their votes, which

is an institutional, as opposed to a personal, injury. Raines,

521 U.S. at 821-23. To establish the broad principle asserted by


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the President, the Raines Court would have needed to overrule

Coleman. Not only did the Raines Court not overrule Coleman, but

the Court also relied on Coleman to uphold standing in Arizona

State Legislature, in which the alleged injury was deprivation

of a legislative prerogative. Ariz. State Legislature, 135 S.

Ct. at 2663.

     The President argues that the injury alleged here amounts

only to a "dilution of institutional legislative power." Mot. to

Dismiss, ECF No. 15-1 at 22 (quoting Raines, 521 U.S. at 820).

Moreover, according to the President, there is little difference

between the claim in Raines and the claim here because the

members in Raines argued that the challenged Act "deprived them

of 'their constitutional role in the repeal of legislation'"

which "does not differ materially from Plaintiffs' claim that

they have been denied their constitutional role in deciding

whether to consent to the President's acceptance of allegedly

prohibited foreign emoluments," Reply, ECF No. 28 at 10-11

(quoting Raines, 521 U.S. at 816). In so arguing, the President

insists that plaintiffs' claimed injury is indistinguishable

from the claimed injury in Chenoweth. Mot. to Dismiss, ECF No.

15-1 at 23-24. The Court disagrees. The injury alleged here is

distinguishable from those alleged in Raines and Chenoweth. In

Raines, plaintiffs sued after being on the losing side of the

vote that enacted the Line Item V eto Act, alleging that their

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injury was the diminution of legislative power caused b y the

Act. Raines, 521 U.S. at 814. In Chenoweth, plaintiffs sued

after their b ill seeking to end a program created b y the

President b y Executive Order failed to b e b rought to a vote,

alleging that their injury was that Memb ers of Congress had been

deprived of their right to vote on the Presidentially-created

program. Chenoweth, 181 F.3d at 112. In each case, plaintiffs

either lost the vote in Congress or did not have the political

influence to b ring their b ill to a vote, and then sought relief

in the courts. Here, b y contrast, plaintiffs' alleged injury is

caused b y the President's alleged acceptance of prohibited

foreign emoluments b efore seeking and ob taining congressional

consent, not b y any action taken or not taken b y their

congressional colleagues. See Chenoweth, 181 F.3d at 117 ("it

was the President's veto-not a lack of legislative support-that

prevented the b ill from b ecoming a law"); infra Section

IV.C.3.a. The President's repeated misstatement of the injury

does not change the nature of plaintiffs' alleged injury.

Finally, the President's alleged acceptance of a prohibited

foreign emolument b efore ob taining congressional consent does

not "dilute" plaintiffs' legislative power b ecause they do not

allege injury to their ab ility to legislate on the issue of

emoluments.



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          3. Separation-of-Powers Considerations

             a. Plaintiffs Lack Adequate Legislative Remedies

     The Court does agree with the President that, "when

legislators possess 'political tools with which to remedy their

purported injury,' they may not seek the aid of the Judiciary."

Mot. to Dismiss, ECF No. 15-1 at 26 (quoting Campbell, 203 F.3d

at 23-24). But here, plaintiffs lack such tools.

     In addition to Congress bringing the bills currently

pending to a vote, see supra Section IV.C.2.b.i, the President

suggests that the following types of legislation would provide

plaintiffs with a legislative remedy: (1) voting on whether what

plaintiffs allege "constitute[s] violations of the Foreign

Emoluments Clause by the President and whether Congress should

provide its consent," Mot. to Dismiss, ECF No. 15-1 at 2;

(2) "vat[ing] on a private bill [ 13 1 consenting to the receipt of

what it construed to be emoluments received from foreign

governments or a joint resolution expressing its disagreement

with such receipt," id. at 24; and/or (3) "vot[ing] on a joint




13A private bill is legislation that addresses a matter of
narrow interest, which after being passed in identical form by
the House and Senate, is submitted to the President for
signature. United States Senate, Bills and Resolutions,
Legislation, Laws and Acts, available at
https://www.senate.gov/pagelayout/legislative/d_three sections w
ith teasers/bills.htm.
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resolution [14l that provides what Congress perceives to be the

proper definition of an emolument and prohibits any and all

emoluments, including ones unknown to Congress," Reply, ECF No.

28 at 18. According to this argument, plaintiffs have ample

legislative remedies at their disposal; they just don't have the

votes.

     The President's purported legislative remedies are clearly

inadequate within the meaning of Raines. Raines, 521 U.S. at 829

(legislative remedy must be an "adequate" remedy). In Raines,

Chenoweth, and Campbell, adequate legislative remedies were

available to redress the plaintiffs' grievances. In Raines, "a

majority of Senators and Congressmen c[ ould] pass or reject

appropriations bills; the Act has no effect on this process.

Moreover, a majority of Senators and Congressmen c[ ould] vote to

repeal the Act, or to exempt a given appropriations bill (or a

given provision in an appropriations bill) from the Act; again,

the Act has no effect on this process." Id. at 824. In

Chenoweth, "[ i]t [ was] uncontested that the Congress could



14A joint resolution, with one exception, is legislation that
requires the approval of both the House and Senate and is
submitted to the President for signature. The exception is when
the joint resolution proposes a constitutional amendment. United
States Senate, Bills and Resolutions, Legislation, Laws and
Acts, available at
https://www.senate.gov/pagelayout/legislative/d_three sections w
ith teasers/bills.htm.


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terminate the AHRI were a sufficient number in each House so

inclined." Chenoweth, 181 F.3d at 116. And in Campbell,

"Congress certainly could have passed a law forbidding the use

of U.S. forces in the Y ugoslav campaign." Campbell, 203 F.3d at

      15
23.

           Here, by contrast, legislation on the emoluments issue does

not provide an adequate remedy. First, in asking this Court to

accept the proposition that legislation on the emoluments issue

would be an adequate remedy, the President asks this Court to

ignore this constitutional Clause. The Court may not do so. See

Marbury, l Cranch at 174 ("It cannot be presumed that any clause
in the constitution is intended to be without effect ....") . The

Clause is unambiguous: acceptance is prohibited without

"Consent." U.S Const. art. I, § 9, cl. 8. The Clause therefore

places the burden on the President to convince a majority of

Members of Congress to consent. The legislation suggested by the

President flips this burden, placing the burden on Members of

Congress to convince a majority of their colleagues to enact the

suggested legislation. This is not what the Clause requires.




15The President disputes that the precedent requires "political
remedies [to] put the plaintiff members back in the same
position as if the Executive had not caused the alleged injury
in the first place." Reply, ECF No. 28 at 17. This is beside the
point because in each case, there was an adequate legislative
remedy, whereas here there is none.
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     Secon d, the Presiden t does n ot explain why such

legislation , assumin g he sign ed it, would preven t him from

acceptin g prohibited foreign emolumen ts. His failure to explain

is especially problematic given that the Con stitution itself has

n ot preven ted him from allegedly acceptin g them. Third, the

Presiden t does n ot explain how the proposed legislation would be

adequate in view of the allegation that the Presiden t has not

provided an y in formation to Con gress about the prohibited

foreign emolumen ts he has received, an d that he does n ot intend

to chan ge this practice. Am. Compl., ECF No. 14 11 40, 41.

Legislatin g after Con gress happen s to learn about his acceptance

of a prohibited foreign emolumen t through n ews reports is

clearly an in adequate remedy. Fourth, legislation disagreeing

with the Presiden t's acceptan ce of prohibited foreign emoluments

does n ot provide a remedy for him already havin g allegedly

accepted them without seekin g an d obtain in g con sen t. Finally,

legislation would n either preven t the Presiden t from accepting

future prohibited foreign emolumen ts, n or force him to return

those he has already accepted.

     Furthermore, an d in con trast to the situation in       Chenoweth

an d Campbell, Con gress' appropriation s power can n ot be used to

obtain a legislative remedy, such as refusin g to appropriate

fun ds for an   Executive Bran ch program or for participation in a

war, because there are n o federal appropriation s associated with

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the President's receipt of prohibited f oreign emoluments. This

is another aspect of the Clause that makes it unusual. The

President suggests that among plaintif f s' legislative remedies

is the use of Congress' appropriations power to retaliate

against him f or his alleged acceptance of prohibited foreign

emoluments by "tak[ing] action on matters not directly related

to emoluments." Reply, ECF No. 28 at 18. Courts have treated

Congress' use of its appropriations power as a legislative

remedy in situations in which f ailing to provide f unding could

actually resolve the dispute. See, e.g., Campbell, 203 F.3d at

23 ("Congress always retains appropriations authority and could

have cut of f f unds f or the American role in the conflict.").

Here, however, Congress lacks a "broad range of legislative

authority it can use to stop" the President f rom f ailing to seek

consent bef ore accepting prohibited f oreign emoluments.

Campbell, 203 F.3d at 24 (noting that where "Congress has a

broad range of legislative authority it can use to stop a

President's" action, Congress cannot mount a challenge to that

action pursuant to Raines).

     Finally, the availability of the extreme measure of

impeachment, see Campbell, 203 F.3d at 23 (noting that "there

always remains the possibility of impeachment should a President

act in disregard of Congress' authority"), to enf orce the

President's compliance with the Clause is not an adequate remedy

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within the meaning of Raines. Cf. Nat'l Treasury Emp. Union v.

Nixon, 492 F.2d 587, 615 (D.C. Cir. 1974) ("the Constitution

should not be construed so as to paint this nation into a corner

which leaves available only the use of the impeachment process

to enforce the performance of a perfunctory duty by the

President").

               b. Capable of Resolution Through the Judicial
                  Process

     Raines also instructs the Court to consider whether "the

dispute is 'traditionally thought to be capable of resolution

through the judicial process.'" Raines, 521 U.S. at 819 (quoting

Flast, 392 U.S. at 97). The President argues that it is not

because "every[ 16l confrontation between one or both Houses of

Congress and the Executive Branch has been resolved through the

political process rather than through suits brought by

legislators." Reply, ECF No. 28 at 10 (citing Raines, 521 U.S.

at 826). Plaintiffs respond that the Raines Court discussed the

novelty of litigation between the legislative and executive


16Again, the President has overstated the proposition. What the
Raines Court said was "in analogous confrontations between one
or both Houses of Congress and the Executive Branch, no suit was
brought on the basis of claimed injury to official authority or
power." Raines, 521 U.S. at 826 (emphasis added). In Kennedy v.
Sampson, the D.C. Circuit held that Senator Kennedy had standing
to bring the suit and the Court issued a declaratory judgment
ruling that the President's failure to take action on the bill
at issue did not result in a pocket veto, but instead the bill
became law. 511 F.2d at 442. Such suits are therefore not
nonexistent.
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bra nches, noting tha t it "a ppea r[ed]" to a rgue a ga inst the

pla intiffs, but did not ela bora te further. Pls.' Opp'n, ECF No.

17 a t 20.

     The Raines Court's exa mples of a na logous confrontations

between Congress a nd the Executive Bra nch a re distinguishable

from the situa tion here. In Raines, the Court discussed at

length the fa ct tha t no President sued to cha llenge the

constitutiona lity of the Tenure of Office Act. Raines, 521 U.S.

a t 826. Tha t Act, which required the consent of the Sena te for

the President to remove a n officia l whose a ppointment to the

Executive Bra nch required Sena te confirma tion, wa s pa ssed in

1867 a nd repea led in 1887. Id. The Raines Court sta ted tha t if

federa l courts ha d become involved, "they would ha ve been

improperly a nd unnecessa rily plunged into the bitter political

ba ttle being wa ged between the President a nd Congress" over the

Act. Id. a t 827. Here, there is no "bitter politica l battle"

between the President a nd Congress over the constitutiona lity of

a n Act pa ssed, a nd ultima tely repea led, by Congress that

impinged on the President's a ppointments a uthority. Id.

     Two of the other three exa mples cited by the Raines Court

involved constitutiona l cha llenges to legisla tion that

impermissibly a ltered the power of the Legisla tive or Executive

Bra nch, but where the cla im wa s not brought by one branch

a ga inst the other. See INS v. Chadha, 462 U.S. 919, 959

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(1983)(holding the one House congressional veto provision in

Section 244(1)(2) of the Immigration and Nationality Act to be

unconstitutional); Buckley v. Valeo , 424 U.S. 1, 140 (1976)

(holding the provisions of the then-existing Federal Election

Campaign Act of 1971 that "vest[ed]     in the [Federal Election]

Commission primary responsibility for conducting civil

litigation in the courts of the United States for vindicating

public rights, violate[d]    Art. II, § 2, cl., 2, of the

Constitution."). These cases are distinguishable because here,

plaintiffs do not allege that their injury has been caused by a

similar type of legislation passed by Congress and signed into

law by the President. Furthermore, there is no legislative

remedy. In the final example, the Supreme Court held that a bill

that was presented to the President less than ten days before a

congressional session was adjourned did not become law when the

President "neither signed the bill nor returned it to the

Senate" in a challenge brought by certain Native American

Tribes. Okano gan, Metho w, San Po elis (o r San Po il), Nespelem,

Co lville, and Lake Indian Tribes o r Bands o f the State of

Washingto n v. United States, 279 U.S. 655, 673, 691-92 (1929).

This case is distinguishable for the same reasons-at issue there

was the legal status of a bill that had been passed by both

Houses of Congress and presented to the President less than ten

days before the adjournment of the congressional session. The

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decision to do so had been made by Congress and could be

remedied by Congress.

     Similarly, this is not a situation in which plaintiffs

disagree with the manner in which the President is administering

or enforcing the law. See United States v. Windsor, 570 U.S.

744, 789 (2013) (Scalia, J. dissenting) (Ours is not a "system

in which Congress and the Executive can pop immediately into

court, in their institutional capacity, whenever the President

  . implements a law in a manner that is not to Congress'

liking."). Neither is it the situation in Raines where the Court

rejected the plaintiffs' ability to sue the President over the

exercise of a statutory provision they believed to be

unconstitutional. Raines, 521 U .S. at 830. Furthermore, although

historical practice militates against Members of Congress

turning to the Courts to resolve a dispute for which there is a

legislative resolution, as explained supra Section IV.C.3.a,

there is no adequate legislative remedy here.

     This case does not raise the concern that the Court, in

exercising jurisdiction over plaintiffs' claims, would be

engaging in some kind of "amorphous general supervision of the

operations of government." Id. at 826 (quoting Richardson, 418

U .S. at 194 (Powell, J., concurring)). Rather, this dispute

raises concrete legal questions that are within the purview of

the federal courts to adjudicate:       (1) what is an emolument;

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(2) what does it mean to accept an emolument; and (3) whether

the P resident has violated the Foreign Emoluments Clause. The

P resident contends that "Congress is far better equipped than

the courts to assess whether particular arrangements violate the

Foreign Emoluments Clause, and if so, how best to address the

violation." Reply, ECF No. 28 at 18. While Congress clearly has

the power to legislate on the issue of emoluments, "it is 'the

duty of the judicial department'-in a separation-of-powers case

as in any other-'to say what the law is.'" N.L.R.B. v. Canning,

134 S. Ct. 2550, 2560 (2014) (quoting Marbury, 1 Cranch at 177).

Therefore, it is the role of the Judiciary to "say what the law

is" regarding the meaning of the Foreign Emoluments Clause and

the P resident's compliance with it. Cf. United States v. Nixon,

418 U.S. 683, 705 (1974) ("We therefore reaffirm that it is the

province and duty of this Court 'to say what the law is' with

respect to the claim of privilege asserted in this case.")

(quoting Marbury, 1 Cranch at 177). The P resident does not

dispute the role of the courts in interpreting the Constitution,

but rejects the proposition that judicial review is appropriate

here because "Congress continues to possess effective tools that

would serve as checks on the Executive." Def.'s Suppl. Br. in

Support of his Mot. to Dismiss and in Response to the Brs. of

Amici Curiae ("Def.'s Suppl. Br."), ECF No. 51 at 26-27.

Nevertheless, as explained supra Section IV.C.3.a, there are no

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ad equate legislative remed ies here.

     Furthermore, unlike in Raines, the d ispute here is neither

an "interbranch d ispute about calibrating the legislative and

executive powers [nor] is it an intrabranch d ispute between

segments of Congress itself," either of which would counsel

against jud icial involvement based on separation-of-powers

principles. Raines, 521 U.S. at 833 (Souter, J., concurring)

Rather, this d ispute is about the Presid ent's alleged refusal to

seek consent prior to his alleged acceptance of prohibited

foreign emoluments that he receives as a result of his personal

financial interests. The Presid ent has strenuously attempted to

frame the d ispute as "an intrabranch d ispute between segments of

Congress itself," see Raines, 521 U.S. at 833 (Souter, J.,

concurring), but as the Court has thoroughly explained , supra

Section IV.3.A, this characterization is incorrect.

     Accord ingly, although this case implicates separation-of­

powers concerns, find ing stand ing here "keep[s] the Judiciary's

power within its proper constitutional sphere." Raines, 521 U.S.

at 820. As the Court has explained , plaintiffs' claim of

stand ing is not based on a "loss of political power," see id. at

821, as was the case in Raines, because the injury alleged is

not an injury to their power to legislate on the issue of

emoluments. And since plaintiffs have no ad equate legislative

remed y, they appropriately seek relief in fed eral court. See

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Valley Forge Christian Coll., 454 U.S. at 473-74 ("exercis[ing]

       judicial power has been recognized as a tool of last

resort").

            4. The Ability of Another Plaintiff to Bring this Case

     Raines instructs the Court to consider whether another

plaintiff could bring the case. Raines, 521 U.S. at 829 (noting

that the Court's holding did not foreclose a constitutional

challenge by someone with standing). At oral argument, the Court

asked counsel for the President a hypothetical question:

Whether, if this case had been brought by Congress as an

institutional plaintiff, counsel would agree that it would have

standing. Hr'g Tr., ECF No. 54 at 71:2-6. The government refused

to concede that it would. Id. at 71:7-25, 77:5-20. At the same

time, counsel stated, "[j]ust because these plaintiffs don't

have standing, it doesn't mean another plaintiff in a proper

case might not have standing." Id. at 76:2-3. When pressed by

the Court about who that plaintiff would be, counsel conceded:

"I have a hard time thinking through which plaintiff would be a

proper plaintiff to enforce the Emoluments Clause." Id. at 76:8-

10. That no plaintiff would have standing to challenge the

President's alleged violation of the Clause is certainly

consistent with the President's argument that "when an official

fails to first seek congressional consent before accepting

emoluments prohibited by the Foreign Emoluments Clause, it only

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means that the official has violated the Clause, not that each

Member of Congress automatically acquires a judicially

cognizable personal stake to challenge the violation." Def.'s

Suppl. Br., ECF No. 51 at 11. The faulty premise underlying the

President's argument, however, is that there is a legislative

remedy for violating the Clause.        Hr'g Tr., ECF No. 54 at 79:12-

80:18.

     The Court is aware of one existing 17 challenge to the

President's receipt of prohibited foreign emoluments. However,

that challenge seeks to remedy entirely different injuries: The

District of Columbia alleges injuries to its quasi-sovereign

interest and its proprietary interest, and the State of Maryland

alleges injuries to its sovereign interests, quasi-sovereign

interest and its proprietary interest. See District of Columbia

v. Trump, 291 F. Supp. 3d 725, 735 (D. Md. 2018).

     Accordingly, if these plaintiffs do not have standing to

bring their claims to address their alleged injury, it is

unlikely that another plaintiff would, rendering the Clause

unenforceable against the President except via impeachment. As

explained, supra at 45, impeachment is an inadequate remedy

within the meaning of Raines.


17Another challenge was dismissed for lack of standing. See
Citizens for Responsibility and Ethics in Washington v. Trump,
276 F. Supp. 3d 174 (S.D.N.Y. 2017), appeal docketed, No. 18-474
(2d Cir. 2018).
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          5. Traceability and Redressability

     "A plaintiff must allege a personal injury fairly traceable

to the defendant's allegedly unlawful conduct and likely to be

redressed by the requested relief." Allen, 468 U.S. at 751.

The President contends that "[p]laintiffs' alleged injury is not

traceable to the President: The President has not prevented

Congress from voting on whether he may accept emoluments, and

Plaintiffs remain free to convince their congressional

colleagues to redress their alleged injury." Reply, ECF No. 28

at 8. The Court disagrees. Again, the President has misstated

the alleged injury. Moreover, this matter is before the Court on

a motion to dismiss and the Court must take as true the facts

that are alleged in the complaint. Plaintiffs' well-pleaded

complaint alleges that the President has accepted prohibited

foreign emoluments without first seeking the consent of

Congress. Arn. Compl., ECF No. 14 �� 4-5. The alleged injury is

therefore directly traceable to the President's alleged failure

to seek Congressional consent.

     Plaintiffs seek declaratory relief in the form of a

declaratory judgment stating that the President is violating the

Clause when he accepts emoluments from foreign states without

first seeking the consent of Congress, and injunctive relief in

the form of an order from the Court enjoining the President from

accepting "any present, Emolument, Office, or Title, of any kind

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whatever" from a foreign state without obtaining "the Consent of

Congress." Id., ECF No. 14 �� 84-92. The President c ontends that

the injunc tive relief sought by plaintiffs is unconstitutional,

Mot. to Dismiss, ECF No. 15-1 at 56-58; Reply, ECF No. 28 at 31-

34, but does not c ontest that injunc tive relief, were it

available, would redress plaintiffs' injury, see generally Mot.

to Dismiss, ECF No. 15-1; Reply, ECF No. 28. Whether injunctive

relief is available here is a merits determination that the

Court need not reac h at this junc ture, and the Court cannot

assume, for the purposes of determining whether plaintiffs have

standing, that injunc tive relief would be unconstitutional.

Bec ause the President's alleged violation of the Clause c ould be

redressed by the dec laratory and injunc tive relief sought,

plaintiffs have satisfied the redressability c omponent of the

standing inquiry.

V.   Conclusion

     Ac c ordingly, the Court finds that plaintiffs have standing

to sue the President for allegedly violating the Foreign

Emoluments Clause. The Court therefore DENIES IN PART the motion




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to dismiss and DEFERS ruling on the remaining arguments in the

motion to dismiss. An appropriate Order accompanies this

Memorandum Opinion.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 28, 2018




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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,       )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)


                                 ORDER


     For the reasons stated in the accompanying Memorandum

Opinion, the Court finds that: (1) plaintiffs have stated a

claim against the President for allegedly violating the Foreign

Emoluments Clause; (2) plaintiffs have a cause of action to seek

injunctive relief against the President; and (3) the injunctive

relief sought is constitutional. It is hereby

     ORDERED that the motion to dismiss is DENIED IN PART as to

the portions of the motion to dismiss that were deferred in the

Court’s September 28, 2018 Order.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          April 30, 2019
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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,       )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)

                           MEMORANDUM OPINION

I.   Introduction

     In its previous Opinion, the Court held that plaintiffs,

approximately 201 Members of the 535 Members of the United

States Senate and House of Representatives, had standing to sue

defendant Donald J. Trump in his official capacity as President

of the United States (“the President”) for alleged violations of

the Foreign Emoluments Clause (“the Clause”). See Blumenthal v.

Trump, 335 F. Supp. 3d 45, 72 (D.D.C. 2018) (“Blumenthal I”).

The President has moved to dismiss the Amended Complaint for

failure to state a claim because, inter alia, he contends that

“Emolument” should be narrowly construed to mean “profit arising

from an official’s services rendered pursuant to an office or

employ.” Def.’s Mot. to Dismiss (“Mot. to Dismiss”), ECF No. 15-
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1 at 38. 1 The President’s definition, however, disregards the

ordinary meaning of the term as set forth in the vast majority

of Founding-era dictionaries; is inconsistent with the text,

structure, historical interpretation, adoption, and purpose of

the Clause; and is contrary to Executive Branch practice over

the course of many years.

     Pursuant to the Clause, certain federal officials,

including the President, shall not “accept” an “Emolument” from

“any King, Prince, or foreign State” without “the Consent of the

Congress.” U.S Const. art. I, § 9, cl. 8. In Count I, plaintiffs

seek declaratory relief pursuant to 28 U.S.C. § 2201 in the form

of a declaratory judgment stating that the President is

violating the Clause when he accepts Emoluments from foreign

states without first seeking the consent of Congress. Am.

Compl., ECF No. 14 ¶¶ 85-86. In Count II, plaintiffs seek

injunctive relief pursuant to the Court’s inherent authority to

grant equitable relief and pursuant to 28 U.S.C. § 1331 in the

form of a Court order enjoining the President from accepting

“any present, Emolument, Office, or Title, of any kind whatever”

from a foreign state without obtaining “the Consent of the

Congress.” Id. ¶ 92.




1 When citing electronic filings throughout this Memorandum
Opinion, the Court cites to the ECF header page number, not the
original page number of the filed document.
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      In holding that plaintiffs had standing to sue the

President in Blumenthal I, the Court deferred ruling on the

remaining arguments in the President’s motion to dismiss:

(1) failure to state a claim upon which relief can be granted;

(2) lack of a cause of action to seek the relief requested; and

(3) the injunctive relief sought is unconstitutional. Mot. to

Dismiss, ECF No. 15-1 at 17-18.

      Upon careful consideration of the President’s motion to

dismiss, the opposition and reply thereto, the relevant

arguments of amici, 2 and for the reasons explained below, the

Court finds that: (1) plaintiffs have stated a claim against the

President for allegedly violating the Foreign Emoluments Clause;

(2) plaintiffs have a cause of action to seek injunctive relief

against the President; and (3) the injunctive relief sought is

constitutional. The Court therefore DENIES the portions of the

motion to dismiss that were deferred in the Court’s prior Order.

II.   Factual Background

      Plaintiffs allege that the President “has a financial

interest in vast business holdings around the world that engage

in dealings with foreign governments and receive benefits from

those governments.” Am. Compl., ECF No. 14 ¶ 2. In particular,

the President owns “more than 500 separate entities–hotels, golf


2 The Court appreciates the illuminating analysis provided by the
amici.
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courses, media properties, books, management companies,

residential and commercial buildings, . . . airplanes and a

profusion of shell companies set up to capitalize on licensing

deals.” Id. ¶ 34 (internal quotation mark omitted). Since being

elected President, he has “not divested or otherwise given up

his ownership interest in his worldwide business holdings.” Id.

¶ 36.

        As a result of his financial interests, plaintiffs allege

the President has accepted, and will accept in the future,

Emoluments from foreign states. Id. ¶ 37. Indeed, the President

has acknowledged “that his businesses receive funds and make a

profit from payments by foreign governments, and that they will

continue to do so while he is President.” Id. Public reporting

has also confirmed this to be the case. Id.

        Plaintiffs allege that “[t]hese various benefits from

foreign governments—payments, loans, permits, exemptions, policy

changes, and intellectual property rights—constitute prohibited

‘Emolument[s]’ and/or ‘present[s]’ under the Foreign Emoluments

Clause . . . .” Id. ¶ 38 (citation omitted). Specifically, the

President has allegedly accepted valuable intellectual property

rights from the Chinese government without seeking and obtaining

the consent of Congress. Id. ¶¶ 44-50. The President has also

allegedly accepted payments for hotel rooms and events from

foreign diplomats and from foreign lobbying groups paid for by

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foreign governments without seeking and obtaining the consent of

Congress. Id. ¶¶ 52-57. The President has allegedly accepted

payments from foreign governments derived from real estate

holdings, id. ¶¶ 58-62, as well as licensing fees paid by

foreign governments for “The Apprentice,” id. ¶¶ 63-65, all

without seeking and obtaining the consent of Congress, id. ¶¶

59, 62, 65. Finally, the President has allegedly accepted

regulatory benefits from foreign governments without seeking and

obtaining the consent of Congress. Id. ¶¶ 66-67.

III. Standard of Review

     “A motion to dismiss under Federal Rule of Civil Procedure

12(b)(6) “tests the legal sufficiency of a complaint.” Browning

v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). A complaint must

contain “‘a short and plain statement of the claim showing that

the pleader is entitled to relief,’ in order to ‘give the

defendant fair notice of what the . . . claim is and the grounds

upon which it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007) (alteration in original) (quoting Conley v. Gibson,

355 U.S. 41, 47 (1957)). While detailed factual allegations are

not necessary, a plaintiff must plead enough facts “to raise a

right to relief above the speculative level.” Id.

     When ruling on a Rule 12(b)(6) motion, the Court may

consider “the facts alleged in the complaint, documents attached

as exhibits or incorporated by reference in the complaint, and

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matters about which the Court may take judicial notice.”

Gustave–Schmidt v. Chao, 226 F. Supp. 2d 191, 196 (D.D.C. 2002).

The Court must construe the complaint liberally in plaintiffs’

favor and grant plaintiff the benefit of all reasonable

inferences deriving from the complaint. Kowal v. MCI Commc’ns

Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994). The Court need not

accept inferences that are “unsupported by the facts set out in

the complaint.” Id. “Nor must the [C]ourt accept legal

conclusions cast in the form of factual allegations.” Id.

“[O]nly a complaint that states a plausible claim for relief

survives a motion to dismiss.” Ashcroft v. Iqbal, 556 U.S. 662,

679 (2009).

IV.   Analysis

      A.    Constitutional Interpretation

      “When interpreting a constitutional provision, [the Court]

must look to the natural meaning of the text as it would have

been understood at the time of the ratification of the

Constitution.” Canning v. N.L.R.B., 705 F.3d 490, 500 (D.C. Cir.

2013) (citing District of Columbia v. Heller, 554 U.S. 570

(2008)). “In interpreting the text [the Court is] guided by the

principle that ‘[t]he Constitution was written to be understood

by the voters; its words and phrases were used in their normal

and ordinary as distinguished from technical meaning.’” Heller,

554 U.S. at 576 (quoting United States v. Sprague, 282 U.S. 716,

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731 (1931)). “Normal meaning may of course include an idiomatic

meaning, but it excludes secret or technical meanings that would

not have been known to ordinary citizens in the founding

generation.” Id. at 576-77. In determining the normal and

ordinary meaning, the Court is to consider founding-era

dictionaries and other contemporaneous sources. See, e.g.,

N.L.R.B. v. Canning, 573 U.S. 513, 527 (2014); Heller, 554 U.S.

at 581-86. When the text is ambiguous, the Court is to consider

the purpose of the clause and the historical interpretations and

applications of the clause. Canning, 573 U.S. at 528-29; see

also Heller, 554 U.S. at 592 (“This meaning is strongly

confirmed by the historical background of the [provision].”).

The Court is also to “treat[] [government] practice as an

important interpretive factor even when the nature or longevity

of that practice is subject to dispute, and even when that

practice began after the founding era.” Canning, 573 U.S. at

525, 530-32 (considering opinions of the Office of Legal Counsel

(“OLC”) and the Comptroller General in determining the meaning

of the Recess Appointments Clause).




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     B.   “Emolument” Is Broadly Defined as Any Profit, Gain, or
          Advantage 3

     The Foreign Emoluments Clause provides:

          No Title of Nobility shall be granted by the
          United States: And no Person holding any
          Office of Profit or Trust under them, shall,
          without the Consent of the Congress, accept of
          any present, Emolument, Office, or Title, of
          any kind whatever, from any King, Prince, or
          foreign State.

U.S. Const. art. I, § 9, cl. 8.

          1. The Ordinary Meaning, Text, Structure, Adoption, and
             Historical Interpretation of the Clause;
             Constitutional Purpose; and Consistent Executive
             Branch Practice Support a Broad Interpretation of
             “Emolument”

                a. Ordinary Meaning of “Emolument”

     The parties dispute whether the profits that the

President’s business interests earn from foreign governments are

“Emoluments” covered by the Clause. The President contends that

the Clause “is not a blanket prohibition on commercial

transactions with foreign governments by businesses in which the


3 The parties do not dispute that the Clause applies to the
President. See generally Mot. to Dismiss, ECF No. 15-1; Pls.’
Opp’n, ECF No. 17; Def.’s Reply (“Reply”), ECF No. 28. The Court
therefore declines to reach the question despite the argument to
the contrary of one amicus brief and based on Judge Peter J.
Messitte’s persuasive analysis of that argument and conclusion
that the Clause does indeed apply to the President in the only
other judicial opinion construing the Clause. See District of
Columbia v. Trump, 315 F. Supp. 3d 875, 882-87 (D. Md. 2018)
(“Trump”); see also Br. for Scholar Seth Barrett Tillman and
Judicial Education Project as Amici Curiae in Supp. of the Def.,
ECF No. 16-1.

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official has a financial interest,” but rather “applies only to

the receipt of compensation for services rendered by an official

in an official capacity or in an employment (or equivalent)

relationship with a foreign government, and to the receipt of

honor and gifts by an office-holder from a foreign government.”

Mot. to Dismiss, ECF No. 15-1 at 33-34. In support of his

position, the President explains that at the time of the

Nation’s founding, an “‘[E]molument’ was a common characteristic

of a federal office . . . comprehensively describ[ing] ‘every

species of compensation or pecuniary profit derived from a

discharge of the duties of the office.’” Id. at 34 (alteration

in original) (first citing United States v. Hartwell, 73 U.S.

385, 393 (1867); and then quoting Hoyt v. United States, 51 U.S.

109, 135 (1850). 4 According to the President, this was because

most federal officials did not receive salaries as is the case

today, but rather, were compensated by fees in exchange for

their services. Id. Therefore, he argues, this “common usage” of

the word at the time of the founding compels interpreting the

term to mean “profit arising from an office or employ.” Id. at




4 The President’s added emphasis on the phrase and reliance on
this case are misleading given that the Court was not construing
the meaning of the term “Emolument” generally, but rather a
statutory provision concerning “the annual [E]moluments of any
[customs] collector.” Hoyt, 51 U.S. at 135. Accordingly, the
Emolument would necessarily derive from the discharge of the
duties of the office.
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35 (quoting James Barclay, A Complete & Universal English

Dictionary on a New Plan (1774)(“Barclay’s Dictionary”)). 5 To

illustrate, the President provides two examples of what would

constitute Emoluments under his definition: (1) “a federal

official would receive an Emolument if he or she was paid by a

foreign government to take certain official actions”; and

(2) “an Emolument would [] be received if an official became an

employee or entered an employment-like relationship with the

foreign government, such as if a federal government lawyer

provided legal advice and services to a paying foreign power.”

Id. According to the President, “[t]his interpretation is

consistent with the nature of the other prohibited categories in

the Foreign Emoluments Clause: present, office, and title, which

are all things personally conferred or bestowed on a U.S.

official holding an ‘Office of Profit or Trust.’” Id.

     Plaintiffs rely on contemporaneous dictionaries, general-

purpose writings, contemporaneous state constitutions, and legal

decisions to support their argument that at the time the

Constitution was written, “‘[E]molument’ was a commonly used




5 Plaintiffs point out that Barclay’s dictionary defines “employ”
not as “employment” but as “a person’s trade, business” and “a
public office” and therefore this source supports defining an
Emolument to include “profit arising from . . . a person’s
trade, business.” Pls.’ Opp’n, ECF No. 17 at 42. Plaintiffs
contend that this definition does not therefore support the
President’s position. Id. at 42-43.
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term that often referred to profit or gain in general.” Pls.’

Opp’n, ECF No. 17 at 39 (citing The Oxford English Dictionary

(2d ed. 1989) (referring to eighteenth century texts); Samuel

Johnson, A Dictionary of the English Language (1755); John

Mikhail, The Definition of “Emolument” in English Language &

Legal Dictionaries, 15-23-1806, at 8 (July 9, 2017) (working

paper),

https://papers.ssrn.com/so13/papers.cfm?abstract_id=2995693

(explaining that [E]molument was defined as “‘profit,’

‘advantage,’ ‘gain,’ or ‘benefit’ . . . in every known English

language dictionary” published in the seventeenth and eighteenth

centuries, that this was the exclusive definition provided in

over 92% of these dictionaries, and that the President’s

preferred definition appears in less than 8% of these

dictionaries, but that the broader definition also appears in

these latter dictionaries)). Plaintiffs also emphasize, again

relying on contemporaneous documents, that the term “was

frequently used to mean the profits accruing from private

financial transactions.” Id. at 40.

     Plaintiffs maintain that interpreting the term to

“requir[e] an employment-like relationship[] is based on a

flawed reading of Founding-era dictionaries . . . [and]

requiring the provision of specific services in an official

capacity” lacks legal support. Id. at 41. Moreover, they argue

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that even if the Court were to adopt the narrow definition that

appears in the Oxford English Dictionary–“[p]rofit or gain

arising from station, office, or employment; dues, reward;

remuneration, salary”–“the gain arising from President Trump’s

status as the head of a worldwide business empire” falls within

this definition. Id. Furthermore, according to plaintiffs,

“[t]he narrower definition the President cites also embraces

profit or gain ‘arising from [his] office,’ as when foreign

governments seek his favor by granting him lucrative trademarks

or selecting his hotels” because these “benefits ‘arise from’

the office he holds, because (the Plaintiffs allege) they are

being given to him because he is the President.” Id. (citing Am.

Compl., ECF No. 14 ¶¶ 48, 54).

     The President contends that the number of sources citing

the two competing definitions is not relevant because the

meaning of the term in the Clause depends on the constitutional

context, the history of the Clause, and founding-era practices.

Reply, ECF No. 28 at 22. The President also asserts that

plaintiffs’ reliance on Professor Mikhail’s article is misplaced

because another law review article has criticized it for making

inaccurate assumptions. Id. at 22-23. The President argues that

Professor Mikhail’s article and the sources it references

actually support his position because they “demonstrate that the

President’s definition is closely related to the etymology of

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[E]molument, which is profit derived from labor, or more

specifically, from grinding corn.” Id. at 23. The President also

notes that the Oxford English Dictionary lists his definition of

“emolument” first, and before plaintiffs’ broader definition,

indicating that the President’s definition predates that of the

plaintiffs. Id. at 24.

     Amici Legal Historians soundly reject the President’s

“narrow definition of ‘Emolument’ [as] inaccurate,

unrepresentative, and misleading”:

          Little or no evidence indicates that the two
          obscure sources—Barclay (1774) and Trusler
          (1766)—on which [the President] relies for
          [his]   “office-    and   employment-specific”
          definition of     “[E]molument” were     owned,
          possessed, or used by the founders, let alone
          had any impact on them, or on those who debated
          and ratified the Constitution. For example,
          neither of these sources is mentioned in the
          more than 178,000 searchable documents in the
          Founders Online database, which makes publicly
          available the papers of the six most prominent
          founders. Nor do these volumes appear in other
          pertinent databases, such as Journals of the
          Continental Congress, Letters of Delegates to
          Congress,    Farrand’s     Records,    Elliot’s
          Debates, or the Documentary History of the
          Ratification of the Constitution. By contrast,
          all of the dictionaries that the founding
          generation did possess and use regularly
          define “[E]molument” in the broad manner
          favoring     the     plaintiffs:      “profit,”
          “advantage,” or “benefit.”

          Second, a careful review of English language
          dictionaries from 1604 to 1806 shows that
          every definition of “[E]molument” published
          during this period relies on one or more of
          the elements of the broad definition [the

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            President] rejects in [his] brief: “profit,”
            “advantage,” “gain,” or “benefit.” . . .
            Finally, Trusler’s volume is not a standard
            dictionary, but rather a thesaurus, which
            presumes    that   “gain,”    “profit,”    and
            “[E]molument” are synonyms; moreover, its
            explanation of “[E]molument”      was   copied
            directly from a French thesaurus, hence it is
            not even reliably grounded in English usage.
            The impression [the President] creates in
            [his] brief by contrasting four historical
            definitions of “[E]molument”—two broad and two
            narrow—is, therefore, highly misleading.

Br. of Amici Curiae by Certain Legal Historians on Behalf of

Pls. (“Br. of Legal Historians”), ECF No. 46 at 12-13 (footnotes

omitted).

     The President does not dispute that the broader definition

existed at the time the Constitution was ratified, Mot. to

Dismiss, ECF No. 15-1 at 37, and plaintiffs acknowledge that a

narrower definition existed at the time, Pls.’ Opp’n, ECF No. 17

at 41. Plaintiffs’ main contention is that because the evidence

demonstrates that the broader definition was more pervasive, it

was what was intended in the Clause. The President responds that

the narrower definition is the “better one” to use given the

context and history of the Clause.

The Court is persuaded that the weight of the evidence in

“founding-era dictionaries and other contemporaneous sources”

supports the broad meaning of the term advocated by plaintiffs

and supported by the Legal Historians. Trump, 315 F. Supp. 3d at

882 (citing Canning, 573 U.S. at 527). The fact that there is

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evidence from founding-era sources that both the broad

definition advocated by plaintiffs, as well as a narrower

definition associating “Emolument” with employment, existed at

the ratification of the Constitution, however, suggests some

ambiguity in the term. Accordingly, the Court considers the

surrounding text, structure, adoption, historical

interpretation, and purpose of the Clause, as well as Executive

Branch practice to determine the meaning of “Emolument.” See

Canning, 573 U.S. at 528-29 (when the constitutional text is

ambiguous, the court is to consider the purpose of the clause

and the historical interpretations and applications of the

clause).

                b. Text and Structure of the Clause, and Other
                   Uses in the Constitution

     The President acknowledges that the broader definition of

“Emolument” advocated by plaintiffs “resembles a broader

definition that also existed at the time of the founding” but

points to the legal interpretive principle that a word with

different meanings should be interpreted by reference to the

context. Mot. to Dismiss, ECF No. 15-1 at 37-38. Accordingly,

“when read harmoniously with the rest of the Clause, [Emolument]

has the natural meaning of the narrower definition of profit

arising from an official’s services rendered pursuant to an

office or employ.” Id. at 38. The President also asserts that


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plaintiffs’ broad definition of “Emolument” would subsume the

term “present” in the Clause and render it redundant, noting

that plaintiffs use the terms “Emolument” and “present”

interchangeably. Id. at 38-39 (citing Holmes v. Jennison, 39

U.S. 540, 570-71 (1840) (“In expounding the Constitution of the

United States, every word must have its due force, and

appropriate meaning; for it is evident from the whole

instrument, that no word was unnecessarily used, or needlessly

added.”)).

     The President contends that the other two instances in

which “Emolument” is used in the Constitution provide further

support for his narrow definition because “[e]ach is associated

with an office and refers to compensation for services rendered

in the capacity as the holder of that office.” Id. at 36 (citing

U.S. Const. art. II, § 1, cl. 7 (“The President, shall, at

stated Times, receive for his services, a Compensation . . . and

he shall not receive within that Period any other Emolument from

the United States, or any of them.”); U.S. Const. art. I, § 6,

cl. 2 (“No Senator or Representative shall, during the Time for

which he was elected, be appointed to any civil Office under the

Authority of the United States, which shall have been created,

or the Emoluments whereof shall have been encreased during such

time. . . .”)).



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     Plaintiffs argue that even if the President’s narrow

definition of “Emolument” existed, the Clause does not use the

word in such a narrow sense, because to do so would render the

phrase “of any kind whatever” surplusage. Pls.’ Opp’n, ECF No.

17 at 43. Plaintiffs assert that the purpose of this phrase “is

to rule out interpretations [of ‘Emoluments’] that would allow

some ‘kinds’ of emolument to be accepted.” Id. at 44. Plaintiffs

point to the Incompatibility Clause to support their argument

that the reach of the Clause is broad. Id. The Incompatibility

Clause provides that no member of Congress “shall, during the

Time for which he was elected, be appointed to any civil Office

. . . the Emoluments whereof shall have been encreased during

such time.” U.S. Const. art. I, § 6, cl.2. Plaintiffs point out

that this Clause applies only to Emoluments bestowed by the

federal government upon civil office holders, whereas the

Foreign Emoluments Clause contains no such prohibition. Pls.’

Opp’n, ECF No. 17 at 44. Plaintiffs also argue that the reason

the Clause permits exceptions—with the consent of Congress—is

precisely because its reach is so broad. Id.

     In response to plaintiffs’ argument that the phrase “of any

kind whatever” compels their preferred definition, the President

argues that this phrase “emphasizes the Clause’s reach—every

kind of [E]molument, present, office, or title—and is not a

basis to choose which definition” was intended in the Clause.

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Reply, ECF No. 28 at 25. In response to plaintiffs’ argument

that the President’s definition renders “of any kind whatever”

to be surplusage because of the word “any,” the President posits

that there is no redundancy in his interpretation because “[t]he

more plausible role of this first use of the word ‘any’ in the

Clause is numeric—that no prohibited Emoluments may be received

by a covered official without the consent of Congress, whereas

the phrase ‘of any kind whatever’ operates to ensure that every

type of the identified compensation is also prohibited.” Id. at

26.

      Finally, the President disputes that use of the term

“Emoluments” in the Incompatibility Clause bolsters plaintiffs’

interpretation of the term because “the fact that a reference to

an office is not included in the Foreign Emoluments Clause is

simply due to the fact that the Foreign Emoluments Clause has a

broader reach—it regulates not only compensation or benefits

arising from holding federal office but also any employment-like

relationship between a foreign government and a covered

official.” Id. The President notes that the term “Emolument” is

used only one other time in the Constitution—in the Domestic

Emoluments Clause which provides that “[t]he President shall, at

stated Times, receive for his Services, a Compensation . . . and

he shall not receive within that Period any other Emolument from

the United States, or any of them.” Id. at 27 (quoting U.S.

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Const. art. II, § 1, cl.7). The President concludes that it

would not make sense for the term to have different meanings in

the Constitution and that “all three clauses in which the term

appears are tied to holding office and regulat[ing] the conduct

of office-holders.” Id.

     The Court is persuaded that the text and structure of the

Clause, together with the other uses of the term in the

Constitution, support plaintiffs’ definition of “Emolument”

rather than that of the President. The Clause bans, without

congressional approval, “any present, Emolument, Office, or

Title, of any kind whatever, from any King, Prince, or foreign

State.” U.S Const. art. I, § 9, cl. 8 (emphasis added). The

President’s argument that the phrase “of any kind whatever”

should be understood to modify “Emoluments” defined narrowly

rather than being “a basis to choose which definition” was meant

in the Clause, Reply, ECF No. 28 at 25, is unpersuasive and

inconsistent with his own argument. The President himself argues

that a word with different meanings should be interpreted by

reference to the context. Mot. to Dismiss, ECF No. 15-1 at 38.

“[T]he meaning of a term may be enlarged or restrained by

reference to the object of the whole clause in which it is

used.” Virginia v. Tennessee, 148 U.S. 503, 519 (1893). Here, it

is uncontested that the broad meaning and a narrower meaning

tied to employment existed at the time the Constitution was

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ratified, and this expansive modifier, which as plaintiffs point

out is used nowhere else in the Constitution, logically serves

to ensure that the acceptance of any foreign Emolument, however

defined, is prohibited without congressional consent. See also

Trump, 315 F. Supp. 3d at 888 (“If there were any doubt as to

the limits of the Foreign Clause, the Framers used the word

‘any’ twice, ensuring a broad and expansive reach.”).

     The President’s argument that the use of “Emolument” in the

Incompatibility Clause and the Domestic Emoluments Clause

supports his narrow definition is similarly unconvincing. In the

former, “Emolument” specifically refers to an office, indicating

that when the Founders intended for an Emolument to refer to an

official’s salary or payment associated with their office, they

said so explicitly. See U.S. Const. art. I, § 6, cl. 2. In the

latter, the Emoluments that are prohibited are those that would

be received “from the United States or any of them.” U.S. Const.

art. II, § 1, cl. 7. Thus, rather than “Emolument” having

different meanings the three times it is used in the

Constitution, more logically, the broader meaning is modified in

each Clause according to the purpose of the Clause. See

Virginia, 148 U.S. at 519; see also Trump, 315 F. Supp. 3d at

888 (“If ‘[E]molument’ were always to be read as a synonym for

salary or payment for official services rendered, th[e] modifier

in the Incompatibility Clause would have been unnecessary.”).

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     Also unconvincing is the President’s argument that adopting

plaintiffs’ definition of “Emolument” to mean “profit,” “gain,”

or “advantage” would render the term “present” redundant. The

President points out that a “present” was defined as it is

today: “[s]omething bestowed upon another without price or

exchange; the act of giving.” Mot. to Dismiss, ECF No. 15-1 at

39 (quoting Barclay’s Dictionary). As Judge Messitte observed,

defining an “Emolument” as a “profit,” “gain,” or “advantage”

“ensure[s] that the Clause covered all types of financial

transactions—solicited or unsolicited, reciprocated or

unreciprocated, official or private”—even if “Emolument” is

sometimes used synonymously with “present.” Trump, 315 F. Supp.

3d at 889.

     Furthermore, Judge Messitte points out that the President’s

narrow definition “would seem to create its own concerning

redundancies within the Constitution.” Id. As the President

explained, a practical example of his definition would be when

“a federal official would receive an [E]molument if he or she

was paid by a foreign government to take certain official

actions.” Mot. to Dismiss, ECF No. 15-1 at 35. Judge Messitte

persuasively states that this example

             is tantamount to defining the transaction as
             nothing less than one of federal bribery, a
             crime which prohibits a federal public
             official   from,  directly   or   indirectly,
             receiving or accepting “anything of value” in

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          return   for   “being    influenced   in   the
          performance of any official act.” 18 U.S.C. §
          201(b)(2). Given that Article II, Section 4 of
          the Constitution already addresses the crime
          of bribery, making it an impeachable offense,
          there would have been little need to include
          two additional and distinct Emoluments Clauses
          prohibiting the acceptance of money from
          foreign or state governments for official
          services rendered. Moreover, it seems highly
          unlikely that the Framers would have intended
          bribery to be both an impeachable offense and,
          at the same time, an activity Congress could
          consent to when a foreign government donor is
          involved. The President makes no attempt to
          come to terms with this anomaly .

Trump, 315 F. Supp. 3d at 889 (footnote omitted). Finally, there

is no question that the receipt of Emoluments is tied to the

office of President and regulating his conduct as President, but

that does not compel defining “Emolument” as narrowly as the

President advocates.

                c. Adoption and Historical Interpretation of the
                   Clause

     The President argues that “[t]he adoption and historical

 interpretation of the . . . Clause are consistent with the

 office- and employment-specific construction of the term

 ‘Emolument.’” Mot. to Dismiss, ECF No. 15-1 at 40. In support,

 the President observes that “the history of the Clause’s

 adoption [is] devoid of any concern about an official’s private

 commercial businesses.” Id. at 42. Plaintiffs describe this as

 a “dog that didn’t bark” argument, stating that even if this is

 true, “it [] tells us nothing. Discussion of the Clause was not

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extensive because the Clause was not controversial.” Pls.’

Opp’n, ECF No. 17 at 44. Furthermore, according to plaintiffs,

“the agrarian economy of the eighteenth century, the

comparatively limited role of government, and the primitive

travel technology available would have made private commerce

with foreign states an unlikely conduit for foreign influence

at the time.” Id. at 44-45.

    Citing examples of early Presidents exporting agricultural

products to foreign countries, the President argues that

historical evidence supports his position that the Clause was

not intended “to reach commercial transactions that a President

(or other federal official) may engage in as an ordinary

citizen through his business enterprises.” Mot. to Dismiss, ECF

No. 15-1 at 43-44. Plaintiffs point out that none of the

examples are of commercial transactions with a foreign

government, thus the President can “claim only that they might

have conducted such business.” Pls.’ Opp’n, ECF No. 17 at 45.

The President responds that while the records are limited and

inconclusive, because “there is no question that private

business pursuits by federal officials, including by early

Presidents, were common at the time of the Nation’s founding[,]

[i]t is reasonable to infer that at least some of their

transactions may have been with foreign or domestic government

actors, including foreign state-chartered trading companies.”

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Reply, ECF No. 28 at 29. The President relies heavily on one

historical incident—President George Washington’s purchase of

land from the federal government in the then-Territory of

Columbia—to argue that if plaintiffs’ definition of

“Emoluments” applies, President Washington would have violated

the Domestic Emoluments Clause, pointing out that the

precedents President Washington set are considered

authoritative. Mot. to Dismiss, ECF No. 15-1 at 45-46.

    Finally, the President argues that a proposed

constitutional amendment that would have applied the

prohibitions in the Clause to all private citizens undermines

the broad definition, asserting that it is “implausible that

this amendment was intended or understood as providing for the

revocation of the citizenship of anyone engaging in commerce

with foreign governments or their instrumentalities . . . [and]

. . . inconceivable that Congress and nearly three-fourths of

the States intended to strip the citizenship of, for example,

those hotel owners whose customers included visiting foreign

diplomats using government funds.” Id. at 47. Amici Legal

Historians point out, however, that “[i]n 1810, Americans

conceived precisely of this problem” given the historical

context. Br. of Legal Historians, ECF No. 32 at 33. Plaintiffs

also point out that the President’s argument is self-defeating

because, for example, “a household servant temporarily hired by

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a visiting foreign diplomat . . . would be ‘in an employment-

like relationship’ with the diplomat.” Pls.’ Opp’n, ECF No. 17

at 45 (citing Mot. to Dismiss, ECF No. 15-1 at 22).

The Court is persuaded that the adoption of the Clause and its

historical interpretation support plaintiffs’ definition rather

than that of the President. It is well-established that there

was little discussion of the Clause by the Framers because it

was noncontroversial. See Br. of Legal Historians, ECF No. 46

at 24. Furthermore, the Court declines to make the inference

advocated by the President—that it is reasonable to infer that

some of the early Presidents’ private business pursuits would

have been with foreign state-chartered trading companies—

because the President has provided no evidence to justify

making such an inference. See generally Mot. to Dismiss, ECF

No. 15-1; Reply, ECF No. 28. On a motion to dismiss, it is the

plaintiff, not the defendant, who receives the benefit of all

reasonable inferences deriving from the complaint. See Kowal,

16 F.3d at 1276. Similarly, the Court declines to infer that

the President’s narrow definition should be adopted based on

President Washington’s purchase of public land, potentially in

violation of the Domestic Emoluments Clause, given this was a

single incident as compared with the great weight of the

historical interpretation of the Clause. See also Trump, 315 F.

Supp. 3d at 903-904 (noting that the facts regarding this

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 transaction are “seriously incomplete”). Finally, the Court is

 not persuaded that the President’s reliance on a proposed

 constitutional amendment that never became law, and for which

 he is unable to cite any floor debates that would illuminate

 the intent of the amendment, should be accorded any weight in

 determining the meaning of “Emolument.”

                d. Purpose of the Clause

      The President pays little attention to interpreting the

meaning of “Emolument” by reference to the purpose of the

Clause, briefly acknowledging that “[a]lthough the Clause was

intended to combat corruption and foreign influence, the text,

original understanding, and historical practice provide no

support for Plaintiffs’ inferential leap from the Clause’s

purpose to a blanket prohibition on receiving ‘any monetary or

nonmonetary benefit’ regardless of context.” Mot. to Dismiss,

ECF No. 15-1 at 53. The President also notes that the Framers

“gave no indication that they intended to require officeholders

to divest their private commercial businesses in order to assume

federal office.” Id. The President argues that plaintiffs’

definition would result in “absurd consequences” because, among

other things, royalties from foreign book sales, United States

Treasury bonds, and stock holdings could be considered

prohibited foreign Emoluments. Id. at 53-56.



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     Plaintiffs argue that even if the term is considered

ambiguous, any ambiguity should be resolved against the

President because his proposed definition “would defeat the

Clause’s purpose—throwing open the doors to the corruption of

any officeholder wealthy enough to own businesses and reducing

the Clause to a mere bribery law, not a prophylactic safeguard

against the possibility of corruption.” Pls.’ Opp’n, ECF No. 17

at 45. Plaintiffs cite contemporaneous documents to support

their argument that the purpose of the Clause was “to exclude

corruption and foreign influence,” id. at 46 (quoting 3 Elliot’s

Debates 465 (Randolph)), prompted by the need to guard against

“the influence which foreign powers may attempt to exercise in

our affairs,” id. (quoting Tench Coxe, An Examination of the

Constitution for the United States of America, No. 4 (Oct. 21,

1787), and to “lock up every door to foreign influence,” id.

(quoting 5 Annals of Cong. 1584 (1978) (Claiborne)). Plaintiffs

also cite contemporary OLC memoranda which consistently give the

Clause a broad scope. Id. at 46-47.

     Amici Former Government Ethics Officers, former government

officials tasked with interpreting the Clause, dispute that

“absurd consequences” would result from adopting plaintiffs’

broad definition of “Emolument” because “the government applies

a totality-of-the-circumstances approach to Emoluments Clause

questions, with a bias in favor of breadth, and a keen eye to

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the anti-corruption purpose of the clause[].” Br. of Former

Gov’t Ethics Officers as Amici Curiae Supporting Pls.’ Opp’n to

Def.’s Mot. to Dismiss (“Br. of Former Gov’t Ethics Officers”),

ECF No. 42 at 10. So, for example, amici dispute that royalties

from foreign book sales would be subject to the Clause unless “a

foreign government attempts to influence a President by

purchasing copies of his book, or if a competent authority finds

a real potential for such influence.” Id. at 15. As to

restricting the ability to hold Treasury bonds or stock

holdings, amici state that “these payments are unlikely to raise

concerns because it is highly doubtful that holding publicly

traded securities would create the potential for others to

exercise undue influence over the holder.” Id. at 14.

In view of the overwhelming evidence pointing to over two

hundred years of understanding the scope of the Clause to be

broad to achieve its purpose of guarding against even the

possibility of “corruption and foreign influence,” 3 Records of

the Federal Convention of 1787, at 327 (Max Farrand ed., 1966),

the Court is persuaded that adopting plaintiffs’ broad

definition of “Emolument” ensures that the Clause fulfills this

purpose. See also Canning, 573 U.S. at 528 (“[W]e believe the

[Recess Appointments] Clause’s purpose demands the broader

interpretation” in light of the ambiguity of the constitutional

text.). In view of the arguments of amici to the contrary, the

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Court is also not persuaded that “absurd consequences” would

result from this broad definition in view of the consistent

Executive Branch practice of applying a totality-of-the-

circumstances approach to applying the Clause. For the same

reason, it is clear that adopting the plaintiffs’ definition

would not result in a “blanket prohibition” that disregards

context.

                e. Executive Branch Practice

     As the Court explained in Blumenthal I, “[h]istorically,

Presidents have complied with the Clause by either seeking and

obtaining congressional consent prior to accepting foreign

presents or Emoluments, or by requesting an opinion from the

Executive or Legislative Branch’s advisory office as to whether

the Clause applies.” Blumenthal I, 335 F. Supp. 3d at 53 (citing

Br. of Federal Jurisdiction and Constitutional Law Scholars as

Amicus Curiae in Supp. of Pls., ECF No. 44 at 24 (“Br. of

Federal Jurisdiction and Constitutional Law Scholars”)). “Modern

Presidents, except for President Trump, have sought advice from

OLC prior to accepting potentially covered Emoluments.” Id. at

53-54 (citing Br. of Federal Jurisdiction and Constitutional Law

Scholars, ECF No. 44 at 25). The Comptroller General of the

United States is also charged with interpreting the application

of the Clause. Mot. to Dismiss, ECF No. 15-1 at 49.



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     The President points to interpretations from these

authorities as support for his preferred definition of

“Emolument” because “[i]n every published OLC or Comptroller

General opinion in which proposed conduct was determined to

involve prohibited [E]moluments, the determination involved an

employment relationship (or a relationship akin to an employment

relationship) with the foreign government.” Id. Plaintiffs

respond that the reason for this is simple: “OLC and the

Comptroller General render decisions in response to requests

from federal officers. Most such officers are not real estate

magnates, but rather people who earn money by providing their

individual labor or expertise.” Pls.’ Opp’n, ECF No. 17 at 49.

     Amici Former Government Ethics Officers explain that the

OLC, Comptroller General, and Department of Defense apply the

following principles when determining whether the Clause applies

to the situation at issue. Br. of Former Gov’t Ethics Officers,

ECF No. 42 at 7-8. First, because the “‘expansive language and

underlying purpose . . . strongly suggest that [the Clause] be

given broad scope’ . . . analyses have therefore usually started

from the presumption that the clause applies . . . [because] . .

. ‘[t]hose who hold offices under the United States must give

the government their unclouded judgment and their uncompromised

loyalty.’” Id. at 8-9 (internal citations and quotations

omitted). Second, and as explained above, the government uses a

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“totality-of-the-circumstances approach” in determining whether

the Clause applies to the situation and “has never come close to

adopting anything like the rigid, narrow rule advanced by the

[President].” Id. at 10-11. As an example, “the government has

reached varying conclusions as to whether particular payments

come from a ‘foreign state’ depending on how much control

foreign governments exercise over those payments.” Id. at 10.

Amici also point out that “the government has never determined

that the clause permits a public officeholder to maintain an

interest in a business that stands to benefit by virtue of that

person holding public office.” Id. at 11. Amici explain that

officials pay “close attention to whether the arrangement

creates even a potential for improper foreign government

influence over a person in an office of public trust. When such

a potential exists—even if the probability is quite low—the

government has found that such arrangements violate the Foreign

Emoluments Clause.” Id.

     Given that there is only one other judicial opinion

interpreting the Clause, the Court looks to OLC and Comptroller

General opinions as sources of authority for how “Emolument” is

defined and how the Clause is interpreted and applied. Canning,

573 U.S. at 525 (noting that “the longstanding ‘practice of the

government’ can inform our determination of ‘what the law is’”

and that “this Court has treated practice as an important

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interpretive factor even when the nature or longevity of that

practice is subject to dispute, and even when that practice

began after the founding era”) (citations omitted). OLC opinions

have consistently cited the broad purpose of the Clause and

broad understanding of “Emolument” advocated by plaintiffs to

guard against even the potential for improper foreign government

influence. E.g., Application of Emoluments Clause to Part-Time

Consultant for the Nuclear Regulatory Commission, 10 Op. O.L.C.

96, 98 (1986) (The Clause’s “expansive language and underlying

purpose . . . strongly suggest that it be given broad scope.”);

Applicability of the Emoluments Clause to Non-Government Members

of ACUS, 17 Op. O.L.C. 114, 121 (1993) (“The language of the

Emoluments Clause is both sweeping and unqualified.”);

Memorandum from Norbert A. Schlei, Assistant Att’y Gen., Office

of Legal Counsel, to    Andrew F. Oehmann, Office of the Att’y

Gen., Re: Invitation by Italian Government to Officials of the

Immigration and Naturalization Service & a Member of the White

House Staff 2 (Oct. 16, 1962),

https://www.justice.gov/olc/page/file/935741/download (noting

“the sweeping nature of the constitutional prohibition and the

fact that in the past it has been strictly construed, being

directed against every possible kind of influence by foreign

governments over officers of the United States”). Accordingly,

adopting the President’s narrow definition of “Emolument” would

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be entirely inconsistent with Executive Branch practice defining

“Emolument” and determining whether the Clause applies.

        Significantly, the President has not cited an OLC or

Comptroller General opinion that supports his position. See

generally Mot. to Dismiss, ECF No. 15-1; Reply, ECF No. 28. To

the contrary, he can only assert that his position “is not

inconsistent with the conclusions of any published OLC or

Comptroller General opinions.” Def.’s Suppl. Br. in Supp. of his

Mot. to Dismiss and in Resp. to the Brs. of Amici Curiae, ECF

No. 51 at 23-24. However, one opinion directly contradicts his

narrow reading of the Clause, and another undermines his narrow

definition of “Emolument.”

        In 1993, OLC issued an opinion stating that non-

governmental lawyers who were members of the Administrative

Conference of the United States (“ACUS”) could not receive

partnership distributions from their respective firms where the

distribution would include fees from foreign government clients

even though the lawyers “did not personally represent a foreign

government, and indeed had no personal contact with that client

of the firm.” Applicability of the Emoluments Clause to Non-

Government Members of ACUS, 17 Op. O.L.C. at 119. OLC reasoned

that:

             Because the amount the Conference member would
             receive from the partnership’s profits would
             be a function of the amount paid to the firm

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          by the foreign government, the partnership
          would in effect be a conduit for that
          government. Thus, some portion of the member’s
          income could fairly be attributed to a foreign
          government. We believe that acceptance of that
          portion of the member’s partnership share
          would constitute a prohibited [E]molument.

Id. 6 Judge Messitte noted that “[t]his language directly

contradicts the President’s suggestion that there can be no

violation of the Foreign [Emoluments] Clause if the federal

official is receiving benefits in a private capacity.” Trump,

315 F. Supp. 3d at 902. And as amici observe, this Opinion

“devastates the [President’s] primary argument for a narrow

reading of the clause because it shows that even an attenuated

economic interest in ordinary commercial transactions that

generate value for both sides can violate the [Foreign]

Emoluments Clause if that business nevertheless creates the

potential for undue influence over public officials.” Br. of

Former Gov’t Ethics Officers, ECF No. 42 at 21. The Court

agrees.

     Nor does the Comptroller General opinion concluding that

President Ronald Reagan’s receipt of California pension benefits

did not violate the Domestic Emoluments Clause provide support




6 OLC later determined that non-governmental members of ACUS were
not subject to the Clause, but did not its modify determination
that the distribution was an Emolument. Applicability of the
Emoluments Clause to Nongovernmental Members of ACUS, 2010 WL
2516024 (June 3, 2010).
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for the President’s definition of “Emolument.” The Comptroller

General determined that “the term ‘[E]molument’ cannot be

considered to extend to benefits that have been earned or to

which entitlement arose before his occupancy of that office, and

that clearly have no connection, either direct or indirect, with

the Presidency . . . [because they]. . . cannot be construed as

being in any manner received in consequence of his possession of

the Presidency.” Hon. George J. Mitchell, U.S. Senate, B-207467,

1983 WL 27823, at *3 (Comp. Gen. Jan. 18, 1983). Those

retirement benefits are entirely distinguishable from the

situation here, where it is alleged that, among other things,

foreign diplomats stay at the President’s Washington D.C. hotel

“to curry favor with [him] because of his position as President

of the United States,” Am. Compl., ECF No. 14 ¶ 54; and that

“his businesses receive funds and make a profit from payments by

foreign governments, and that they will continue to do so while

he is President,” id. ¶ 37; see also Trump, 315 F. Supp. 3d at

903 (observing that “profits received from foreign or domestic

governments that patronize the Trump International Hotel for the

express purpose of potentially currying favor with a sitting

President present a stark contrast to the fully vested

retirement benefits that then-Governor Reagan earned from the

State of California which the State of California was not free

to withdraw.”).

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     Finally, the President finds support for his preferred

definition in statutory provisions that exempt certain

employment relationships between government officials and

foreign officials from the scope of the Clause, asserting that

“[h]ad Congress understood the Clause to reach more broadly than

compensation arising from personal services rendered to a

foreign government, it surely would have exempted a wider range

of activities.” Mot. to Dismiss, ECF no. 15-1 at 52. The Court

is not persuaded that the President’s reliance on statutory

provisions that were never enacted should be accorded any weight

in determining the scope of the Clause.

     Consistent Executive Branch practice, which “has never come

close to adopting anything like the rigid, narrow rule advanced

by the [President],” Br. of Former Gov’t Ethics Officers, ECF

No. 42 at 10-11, clearly supports plaintiffs’ broad definition

of “Emolument” rather than that of the President. Accordingly,

“Emolument” is broadly defined as any profit, gain, or

advantage. See also Trump, 315 F. Supp. 3d at 905 (finding that

the term Emolument “extends to any profit, gain, or advantage,

of more than de minimis value, received by [the President],

directly or indirectly, from foreign . . . governments”).




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     C.   Plaintiffs Have Stated a Claim Under the Foreign
          Emoluments Clause

     With “Emolument” defined broadly as any profit, gain, or

advantage, it is clear that the Amended Complaint states a

plausible claim against the President for violations of the

Clause. Plaintiffs have alleged that the President has accepted

a variety of Emoluments from foreign governments—intellectual

property rights, payments for hotel rooms and events, payments

derived from real estate holdings, licensing fees for “The

Apprentice,” and regulatory benefits—without seeking and

obtaining the consent of Congress. Am. Compl., ECF No. 14, ¶¶

44-67. Accepting the allegations in the Amended Complaint as

true, which the Court must at this juncture, plaintiffs’

allegations state a plausible claim for relief, and survive the

President’s motion to dismiss. Iqbal, 556 U.S. at 679.

     D.   Plaintiffs Have a Cause of Action to Seek Injunctive
          Relief and the Injunctive Relief Sought Is
          Constitutional

          1. Plaintiffs Have a Cause of Action to Seek
             Injunctive Relief

     The President, analogizing the Foreign Emoluments Clause to

the Supremacy Clause, argues that the Clause “is not a source of

federal rights such that the Court may imply a cause of action

under the Clause.” Mot. to Dismiss, ECF No. 15-1 at 29. As he

must, however, the President acknowledges that equitable relief

is available “to enjoin unconstitutional actions by public

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officials,” but emphasizes that such relief is only available in

“a proper case,” id. (citing Armstrong v. Exceptional Child

Ctr., Inc., 135 S. Ct. 1378, 1384 (2015)), as “an act of

equitable discretion by the district court,” id. (citing eBay,

Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006). The

President argues that this is not “a proper case” for the Court

to exercise its equitable discretion for three reasons. Id. at

30-32. First, “[p]laintiffs are not preemptively asserting a

defense to a potential enforcement action against them by the

Government, which is the paradigmatic situation where implied

equitable claims against the Government have been recognized.”

Id. at 30. “Second, equity ‘may not be used to create new

substantive rights’ . . . and the . . . Clause does not create

any personal or judicially enforceable rights.” Id. at 31. As

part of this point, the President argues that plaintiffs cannot

show that their injury falls within the zone of interests

protected by the Clause because only Congress as a whole, and

not its individual members, fall within the zone of interests

protected by the Clause. Id. Third, plaintiffs “can obtain

relief only by suing the President himself, which (if not

legally foreclosed) is at a minimum grounds for extreme

equitable restraint.” Id. at 32 (citation omitted). The

President concludes by reiterating his argument that plaintiffs’

remedy lies with Congress rather than the Courts. Id.

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      Plaintiffs respond that they have an implied cause of

action to seek injunctive relief based on long-standing Supreme

Court precedent ensuring the “‘ability to sue to enjoin

unconstitutional actions’ by government officials.” Pls.’ Opp’n,

ECF No. 17 at 50-51 (quoting Armstrong, 135 S. Ct. at 1385-86).

According to plaintiffs, an implied private right of action

exists “when a plaintiff is injured by a constitutional

violation, including a ‘separation of powers’ violation,” unless

there is a reason to treat the claim differently from any other

constitutional claim. Id. (citing Free Enter. Fund v.

P.C.A.O.B., 561 U.S. 477, 491 n.2 (2010)). Plaintiffs argue that

there is no reason to treat the claim here differently, and they

reject the President’s analogy to the Supremacy Clause. Id. at

51.

      Plaintiffs reject the President’s contention that the

“zone-of-interests” test applies to constitutional claims in

light of Lexmark Int’l, Inc. v. Static Control Components, Inc.,

134 S. Ct. 1377, 1386 (2014), but state that even if it does,

they easily satisfy it. Pls.’ Opp’n, ECF No. 17 at 52.

Plaintiffs argue that “[t]he interest they seek to vindicate is

at the heart of the Clause, which employs separation of powers

to combat foreign corruption.” Id. Plaintiffs observe that the

President concedes that Congress as a whole would satisfy any

zone-of-interests test, but that he offers no reason why

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individual Members of Congress have a different zone of

interests. Id.

     The Court is not persuaded that it should find no implied

cause of action in the Foreign Emoluments Clause on the ground

that the Supremacy Clause does not create a cause of action. In

holding there is no implied cause of action in the Supremacy

Clause, the Supreme Court stated that it “does not create a

cause of action. It instructs courts what to do when state and

federal law clash . . .” Armstrong, 135 S. Ct. at 1383. That

“instruction” stands in sharp contrast to the Clause, which

prohibits the acceptance of any foreign Emoluments of any kind

whatever without the consent of Congress. Furthermore, the

President points to no authority holding that the Appointments

Clause, which arguably is analogous to the Foreign Emoluments

Clause, does not create an implied right of action. See

generally Mot. to Dismiss, ECF No. 15-1; Reply, ECF No. 28.

     The Court is persuaded that this is a proper case in which

to exercise its equitable discretion to enjoin allegedly

unconstitutional action by the President. See Armstrong, 135 S.

Ct. at 1384 (“[W]e have long held that federal courts may in

some circumstances grant injunctive relief . . . with respect to

violations of federal law by federal officials.”) (citations

omitted). As plaintiffs point out, there is no reason for the

exercise of equitable discretion to be limited to defend a

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potential enforcement action and the President has cited no

authority to the contrary. Pls.’ Opp’n, ECF No. 17 at 54.

Rather, “it is established practice for this Court to sustain

the jurisdiction of federal courts to issue injunctions to

protect rights safeguarded by the Constitution” unless there is

a reason not to do so. Free Enter. Fund, 561 U.S. at 491 n.2

(citation omitted); Nixon v. Fitzgerald, 457 U.S. 731, 753-54

(1982) (“It is settled law that the separation-of-powers

doctrine does not bar every exercise of jurisdiction over the

President of the United States.”). Here, accepting the

allegations in the Amended Complaint as true, which the Court

must at this juncture, the President is accepting prohibited

foreign emoluments without seeking congressional consent,

thereby defeating the purpose of the Clause to guard against

even the possibility of “corruption and foreign influence.” 3

Records of the Federal Convention of 1787, at 327 (Max Farrand

ed., 1966). Exercising the Court’s equitable discretion here is

therefore “not in derogation of the separation of powers, but to

maintain their proper balance.” Nixon, 457 U.S. at 754.

     “[T]he plaintiff’s complaint [must] fall within ‘the zone

of interests’ to be protected or regulated by the statue or

constitutional guarantee in question.” Valley Forge Christian

Coll. v. Ams. United for Separation of Church & State, Inc., 454

U.S. 464, 475 (1982) (quoting Warth v. Seldin, 422 U.S. 490, 499

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(1975)). “We doubt, however, that it is possible to formulate a

single [zone of interests] inquiry that governs all statutory

and constitutional claims.” Clarke v. Sec. Indus. Ass’n, 479

U.S. 388, 400 n.16 (1987). Assuming the zone-of-interests test

applies here, the Court is persuaded that individual Members of

Congress satisfy that test. The President has conceded that

Congress as a body would satisfy the zone-of-interests test,

Mot. to Dismiss, ECF No. 15-1 at 31, but asserts in his reply

that “[p]laintiffs’ claim that they have been deprived of

legislative prerogatives as Members of Congress is at most

‘marginally related’ to the Foreign Emoluments Clause’s purpose

of guarding against foreign influence,” Reply, ECF No. 28 at 20

(citing Clarke, 479 U.S. at 394, 399). The Court disagrees. The

only way the Clause can achieve its purpose is for the President

to seek and obtain the consent of Congress before he accepts

foreign Emoluments. The Amended Complaint alleges that

plaintiffs’ injury is that they have been deprived of the right

to vote to consent to the President’s receipt of foreign

Emoluments before he accepts them. Am. Compl., ECF No. 14 ¶ 82.

Plaintiffs’ injury is therefore hardly “marginally related” to

the purpose of the Clause, but is directly related to the only

way the Clause can achieve its purpose. See Riegle v. Fed. Open

Mkt Comm., 656 F.2d 873, 879 (D.C. Cir. 1981) (“[T]he interest

which Riegle claims was injured by defendants’ action (his right

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to advise and consent to the appointment of officers of the

executive branch) is within the zone of interests protected by

the Appointments Clause of the Constitution.” (citation

omitted)). 7 And as the Court explained at length in its previous

Opinion, here there is no adequate legislative remedy.

Blumenthal I, 335 F. Supp. 3d at 66-68.

     The Court rejects the President’s suggestion that “extreme

equitable restraint” is appropriate here because plaintiffs can

only obtain relief from the President. Mot. to Dismiss, ECF No.

15-1 at 32. Rather, the fact that plaintiffs can only obtain

relief from the President is precisely the reason the Court

should exercise its equitable discretion here. See District of

Columbia v. Trump, 291 F. Supp. 3d 725, 752 (2018) (observing

that “it would be exalting form over substance if the

President’s acts were held to be beyond the reach of judicial

scrutiny when he himself is the defendant, but held within

judicial control when he and/or the Congress has delegated the

performance of duties to federal officials subordinate to the

President and one or more of them can be named as a defendant”


7 The Court of Appeals for the District of Columbia Circuit
(“D.C. Circuit”) expressly disapproved of “Riegle’s intimation
in dicta that the standing of private plaintiffs to bring
particular action affects the propriety of our entertaining the
same challenge when brought by a legislator.” Melcher v. Fed.
Open Mkt Comm., 836 F.2d. 561, 565 (D.C. Cir. 1987). However,
the Court did not address the zone-of-interests analysis in
Riegle. See generally id.
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(quoting Nat’l Treasury Emps. Union v. Nixon, 492 F.2d 587, 613

(D.C. Cir. 1974)); see also Br. of Separation of Powers Scholars

as Amici Curiae in Supp. of Pls. (“Br. of Separation of Powers

Scholars”), ECF No. 45 at 15-16 (explaining that the cases cited

by the President do not require dismissal of this lawsuit

because: (1) in Mississippi v. Johnson, 71 U.S. 475 (1866), the

Supreme Court dismissed the case and Mississippi then brought

suit against Secretary of War and two other defendants

challenging the same Acts; and (2) in Franklin v. Massachusetts,

505 U.S. 788 (1992) (plurality opinion), the injury could be

redressed by the Secretary of Commerce. Rather, when there is no

other remedy, courts have allowed suits against the President to

proceed).

     The Court is mindful that “the separation-of-powers

doctrine requires that a branch not impair another in the

performance of its constitutional duties.” Loving v. United

States, 517 U.S. 748, 757 (1996) (citing Mistretta v. United

States, 488 U.S. 361, 397-408 (1989)). However, as amici

Separation of Powers Scholars point out, there is no such risk

here as the President has not identified what duties would be

impaired, which is distinct from Mississippi v. Johnson, where

“the relief sought by the plaintiff against the President would

have interfered directly with the President’s ability to take

care that the Reconstruction Acts were faithfully executed.” Br.

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of Separation of Powers Scholars, ECF No. 45 at 17-18 (citing

Johnson, 71 U.S. at 499). Amici also note that “far from

distracting the President from his official duties, ‘any

Presidential time spent dealing with, or action taken in

response to’ a case clarifying the scope of the Foreign

Emoluments Clause is actually ‘part of a President’s official

duties.’” Id. at 19 (quoting Clinton v. Jones, 520 U.S. 681, 718

(1997) (Breyer, J., concurring in the judgment)). The Court

agrees. The parties dispute the meaning of “Emolument” but not

that the Clause applies to the President. Accordingly,

adjudicating this case ensures that the President fulfills his

duty to “take Care that the Laws be faithfully executed,” U.S.

Const. art. II, § 3, and consistent with his oath of office to

“preserve, protect and defend the Constitution of the United

States,” U.S. Const. art. II, § 1, cl. 8.

          2. The Injunctive Relief Sought Is Constitutional

     The President argues that the remedy plaintiffs seek is

unconstitutional because an injunction against him in his

official capacity would effectively “impose a condition on [his]

ability to serve as President and to perform the duties he is

duly elected to perform,” Mot. to Dismiss, ECF No. 15-1 at 56,

thereby “implicating core ‘executive and political’ duties,”

Reply, ECF No. 28 at 32 (quoting Johnson, 71 U.S. at 499).

Plaintiffs respond that the relief sought is not barred because

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complying with the Clause is akin to performing a ministerial

duty rather than an official one, and there is no prohibition on

injunctive relief for the performance of a ministerial duty by

the President. Pls.’ Opp’n, ECF No. 17 at 52-54. The President

complains that if plaintiffs’ interpretation of the Clause is

correct, an injunction requiring his “compliance with the Clause

would impose significant burdens” on him. Reply, ECF No. 28 at

32. The President also disputes that compliance with the Clause

can be characterized as ministerial because of the “judgment”

and “planning” needed to ensure compliance, but that even if it

was so properly characterized, “this Court should still exercise

utmost restraint in deciding whether to enjoin a sitting

President.” Id.

     The Court agrees that restraint is appropriate. However,

Supreme Court and D.C. Circuit precedent do not foreclose

injunctive relief against the President under certain

circumstances. A “grant of injunctive relief against the

President himself is extraordinary, and should . . . raise []

judicial eyebrows.” Franklin, 505 U.S. at 802. That said, the

Supreme Court “left open the question whether the President

might be subject to a judicial injunction requiring the

performance of a purely ‘ministerial’ duty.” Id. (citing

Johnson, 71 U.S. at 498–99). “A ministerial duty is one that

admits of no discretion, so that the official in question has no

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authority to determine whether to perform the duty.” Swan v.

Clinton, 100 F.3d 973, 977 (D.C. Cir. 1996) (citing Johnson, 71

U.S. at 498 (“[A] ministerial duty . . . is one in respect to

which nothing is left to discretion.”)). “[A] ministerial duty

can exist even ‘where the interpretation of the controlling

statute is in doubt,’ provided that ‘the statute, once

interpreted, creates a peremptory obligation for the officer to

act.’” Id. at 978 (quoting 13th Reg’l Corp. v. Dep’t of the

Interior, 654 F.2d 758, 760 (D.C. Cir. 1980)).

      “The language of the Emoluments Clause is both sweeping

and unqualified.” 17 Op. O.L.C. at 121. The acceptance of an

Emolument barred by the Clause is prohibited unless Congress

chooses to permit an exception. Id. Given the “sweeping and

unqualified” Constitutional mandate, the President has “no

discretion . . . no authority to determine whether to perform

the duty” to not accept any Emolument until Congress gives its

consent. Swan, 100 F.3d at 977. Accordingly, seeking

congressional consent prior to accepting prohibited foreign

emoluments is a ministerial duty. Id. The President’s argument

regarding the “judgment” and “planning” needed to ensure

compliance with the Clause is beside the point. It may take

judgment and planning to comply with the Clause, but he has no

discretion as to whether or not to comply with it in the first

instance. See id. The President complains about the “significant

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burdens” an injunction requiring him to comply with the Clause

would impose. Reply, ECF No. 28 at 32. However, as discussed

supra Section IV.D.1, the correct inquiry is not whether

injunctive relief requiring the President to comply with the

Constitution would burden him, but rather whether allowing this

case to go forward would interfere with his ability to ensure

that the laws be faithfully executed. See Clinton, 520 U.S. at

718 (Breyer, J., concurring in the judgment). Accordingly, the

injunctive relief sought in this case is constitutional.

V.   Conclusion

      For the reasons discussed above, the Court finds that:

(1) plaintiffs have stated a claim against the President for

allegedly violating the Foreign Emoluments Clause;

(2) plaintiffs have a cause of action to seek injunctive relief

against the President; and (3) the injunctive relief sought is

constitutional. The Court therefore DENIES the portions of the

motion to dismiss that were deferred in the Court’s prior Order.

An appropriate Order accompanies this Memorandum Opinion.

SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           April 30, 2019




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